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                 Exhibit 15
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· · · · · · · · · · · STATE OF CONNECTICUT
· · · · · · · · · · · · · SUPERIOR COURT
· · · · · · · · · · ·COMPLEX LITIGATION DOCKET
· · · · · · · · · · · · ·HELD AT WATERBURY
· · · · · · · · · · · · · · VOLUME III
· · ·- - - - - - - - - - - - - - - - - -X
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· · ·ERICA LAFFERTY, et al.,
· · · · · · · · · · · · · · PLAINTIFFS,

· · · · · · · · ·vs.· · · · · · · · · ·X06-UWY-CV18-6046436-S

· · ·ALEX EMRIC JONES, et al.,
· · · · · · · · · · · · · · DEFENDANTS.
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· · ·- - - - - - - - - - - - - - - - - -X
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· · ·WILLIAM SHERLACH,
· · · · · · · · · · · · · · PLAINTIFF,

· · · · · · · · ·vs.· · · · · · · · · ·X06-UWY-CV18-6046437-S

· · ·ALEX EMRIC JONES, et al.,
· · · · · · · · · · · · · · DEFENDANTS.
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· · ·WILLIAM SHERLACH, et al.,
· · · · · · · · · · · · · · PLAINTIFFS,

· · · · · · · · ·vs.· · · · · · · · · ·X06-UWY-CV18-6046438-S

· · ·ALEX EMRIC JONES, et al.,
· · · · · · · · · · · · · · DEFENDANTS.
· · ·- - - - - - - - - - - - - - - - - -X

· · · · · · V I D E O T A P E D· ·D E P O S I T I O N

· · · · · · · · ·The videotaped deposition of BRITTANY PAZ

· · ·was taken pursuant to notice at the offices of Koskoff

· · ·Koskoff & Bieder, PC, 350 Fairfield Avenue, Bridgeport,

· · ·Connecticut, before Viktoria V. Stockmal, RMR, CRR,

· · ·license #00251, a Notary Public in and for the State of

· · ·Connecticut, on Monday, June 27, 2022, at 10:11 a.m.


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·1· ·A P P E A R A N C E S:                                      ·1· · · · · · · · · THE COURT REPORTER:· Are you going to want
·2· · · · ·ATTORNEYS FOR THE PLAINTIFFS:
·3· · · · ·KOSKOFF KOSKOFF & BIEDER, PC                          ·2· · · · · · ·me to re-swear the witness?
· · · · · ·350 Fairfield Avenue                                  ·3· · · · · · · · · MR. CERAME:· I think we should.
·4· · · · ·Bridgeport, CT 06604
· · · · · ·Tel:· 203-336-4421                                    ·4· · · · · · · · · THE COURT REPORTER:· Let me make sure I
·5· · · · ·E-mail:· asterling@koskoff.com                        ·5· · · · · · ·have everybody who is present.· If everybody
· · · · · · · · · · cmattei@koskoff.com
·6· · · · · · · · · mblumenthal@koskoff.com                      ·6· · · · · · ·could identify yourselves.
·7· · · · ·CHRISTOPHER M. MATTEI, ESQ.                           ·7· · · · · · · · · MR. MATTEI:· Chris Mattei on behalf of the
· · · · · ·ALINOR STERLING, ESQ. (Appearing remotely)
·8· · · · ·PRITIKA SESHADRI                                      ·8· · · · · · ·plaintiffs.· On the Zoom, I am joined by my
·9                                                               ·9· · · · · · ·colleague, Alinor Sterling, also on behalf of
· · · · · ·ATTORNEYS FOR THE DEFENDANTS:
10                                                               10· · · · · · ·the plaintiffs.· She will be observing today.
· · · · · ·FOR ALEX EMRIC JONES, INFOWARS, LLC, FREE SPEECH      11· · · · · · ·And then the other individual you see on the
11· · · · ·SYSTEMS, LLC, INFOWARS HEALTH, LLC and PRISON
· · · · · ·PLANET TV, LLC:                                       12· · · · · · ·Zoom, Pritika Seshadri, is my assistant.
12                                                               13· · · · · · · · · MR. CERAME:· This is Mario Cerame. I
· · · · · ·PATTIS & SMITH, LLC
13· · · · ·383 Orange Street, First Floor                        14· · · · · · ·represent Genesis Communication Network
· · · · · ·New Haven, CT 06511                                   15· · · · · · ·Incorporated, a co-defendant to Alex Jones and
14· · · · ·Tel:· 203-393-3017
· · · · · ·E-mail:· npattis@pattisandsmith.com                   16· · · · · · ·the other co-defendants.
15                                                               17· · · · · · · · · MR. REILAND:· In the room, Attorney
· · · · · ·ZACHARY REILAND, ESQ.
16                                                               18· · · · · · ·Zachary Reiland for the Jones defendants with
17· · · · ·FOR GENESIS COMMUNICATIONS NETWORK, INC.:             19· · · · · · ·Ms. Paz.
18· · · · ·BRIGNOLE,BUSH, & LEWIS, LLC
· · · · · ·73 Wadsworth Street                                   20· · · · · · · · · THE COURT REPORTER:· Thank you.
19· · · · ·Hartford, CT 06106                                    21· · · · · · · · · Transcript orders?
· · · · · ·Tel:· 860-527-9973
20· · · · ·E-mail:· mcerame@brignole.com                         22· · · · · · · · · MR. MATTEI:· We just do an e-Tran.
21· · · · ·MARIO KENNETH CERAME, ESQ. (Appearing remotely)       23· · · · · · · · · MR. CERAME:· We didn't order one at this
22
23· · · · ·ALSO PRESENT:                                         24· · · · · · ·time.
24· · · · · · · ·Joseph Raguso, Videographer                     25· · · · · · · · · MR. REILAND:· E-Tran is fine.
25

                                                   Page 550                                                         Page 552
·1· · · · · · · · · · S T I P U L A T I O N S                    ·1· · · · · · · · · THE VIDEOGRAPHER:· We are now on the
·2                                                               ·2· · · · · · ·record.
·3· · · · · · · IT IS HEREBY STIPULATED AND AGREED TO            ·3· · · · · · · · · Participants should be aware that this
·4· ·by and among counsel for the respective parties hereto      ·4· · · · · · ·proceeding is being recorded and as such, all
·5· ·that all technicalities as to the proof of the official     ·5· · · · · · ·conversations held will be recorded unless
·6· ·character of the authority before whom the deposition is    ·6· · · · · · ·there's a request and agreement to go off the
·7· ·to be taken are waived.                                     ·7· · · · · · ·record.· This is the video recorded deposition
·8                                                               ·8· · · · · · ·of Brittany Paz being taken by counsel.
·9· · · · · ·IT IS FURTHER STIPULATED AND AGREED TO              ·9· · · · · · · · · Today's Monday June 27th, 2022, the time
10· ·by and among counsel for the respective parties hereto      10· · · · · · ·now is 10:11 a.m. in the eastern time zone.· We
11· ·that any objections to the sufficiency of the notice are    11· · · · · · ·are here in the matter of Erica Lafferty versus
12· ·waived.                                                     12· · · · · · ·Alex Jones.
13                                                               13· · · · · · · · · My name is Joe Raguso, videographer with
14· · · · · ·IT IS FURTHER STIPULATED AND AGREED TO              14· · · · · · ·U.S. Legal, located at 90 Broad Street, New
15· ·by and among counsel for the respective parties hereto      15· · · · · · ·York, New York.· I am not related to any
16· ·that all objections, except as to form and privilege, are   16· · · · · · ·parties in this action nor am I financially
17· ·reserved to the time of trial.                              17· · · · · · ·interested in the outcome.
18                                                               18· · · · · · · · · At this time, will the reporter, Viktoria
19· · · · · ·IT IS FURTHER STIPULATED AND AGREED TO              19· · · · · · ·Stockmal on behalf of Legal Support, please
20· ·by and among counsel for the respective parties hereto      20· · · · · · ·swear in the witness.
21· ·that the reading and the signing of the deposition by the   21· · · · · · · · · THE COURT REPORTER:· Will counsel
22· ·deponent are NOT waived.                                    22· · · · · · ·stipulate that I can swear the witness
23                                                               23· · · · · · ·remotely?
24                                                               24· · · · · · · · · MR. MATTEI:· Yes, counsel for the
25                                                               25· · · · · · ·plaintiff agrees to the remote administration


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·1· · · · · · ·of the oath and that this deposition will be      ·1· · · · A· · Sure.· After the last day of deposition, I went
·2· · · · · · ·conducted pursuant to that.                       ·2· ·through the deposition notice that was going to be for
·3· · · · · · · · · MR. CERAME:· Zach, you go.                   ·3· ·today, but I think the day got moved because Mr. Jones
·4· · · · · · · · · MR. REILAND:· Attorney Zachary Reiland,      ·4· ·took a date; and then I thought that I needed to speak to
·5· · · · · · ·present in the deposition room for the Jones      ·5· ·some more people on the rest of the questions; so, I
·6· · · · · · ·defendants, agrees to the same, the witness may   ·6· ·spoke to Blake Roddy, who is in charge of the marketing
·7· · · · · · ·be sworn in.                                      ·7· ·and advertising for Free Speech and I also had a couple
·8· · · · · · · · · MR. CERAME:· Attorney Mario Cerame.· We      ·8· ·conversations with Bob Roe and Mark Schwartz, I think.
·9· · · · · · ·stipulate to the same thing that both other       ·9· ·They are the accountants that work with Free Speech about
10· · · · · · ·counsel have.                                     10· ·the financial aspects of it, and I took some notes about
11                                                               11· ·my conversations with them.
12· ·B R I T T A N Y· ·P A Z                                     12· · · · Q· · So, in the first section here it looks like
13· ·Business address:· 4 Research Drive, Suite 402, Shelton     13· ·you've headed it Advertising and then you indicate --
14· ·Connecticut, 06484,                                         14· ·there's a notation, Blake Roddy interview, March 4, 2022.
15· · · · · · · · · · · · Called as a witness, having been       15· ·Am I to understand that for those first two paragraphs
16· · · · · · · · ·first duly sworn and/or affirmed by           16· ·there before you get to Marketing Services, that that
17· · · · · · · · ·Viktoria V. Stockmal, a Notary Public in      17· ·information was obtained from Mr. Roddy during an
18· · · · · · · · ·and for the State of Connecticut, was         18· ·interview of him?
19· · · · · · · · ·examined and testified as follows:            19· · · · A· · Right.· I spoke to him on the phone and I think
20· · · · · · · · · THE COURT REPORTER:· I failed to ask.        20· ·these are the notes that I took during that phone
21· · · · · · ·Usual stipulations?                               21· ·conversation.
22· · · · · · · · · MR. MATTEI:· Yes.· Yes, the usual            22· · · · Q· · Did you take those -- did you type those notes
23· · · · · · ·stipulations apply.· In this case that is meant   23· ·at the time or were those handwritten notes that you
24· · · · · · ·that the witness has reserved her right to read   24· ·transcribed?
25· · · · · · ·and sign the deposition and that the parties      25· · · · A· · Honestly, I don't remember if I typed them

                                                   Page 554                                                         Page 556
·1· · · · · · ·are reserving all objections except those as to   ·1· ·directly.· I might have typed them directly because I was
·2· · · · · · ·form until the time of trail.                     ·2· ·in front of my computer at the time, so I don't know if I
·3· · · · · · · · · MR. REILAND:· And yes for the Jones          ·3· ·hand wrote anything.
·4· · · · · · ·defendants in the room.                           ·4· · · · Q· · The Marketing Services since 2017, was that
·5· · · · · · · · · MR. CERAME:· Yes, for Attorney Cerame.       ·5· ·also information you obtained from Mr. Roddy during that
·6· ·EXAMINATION BY MR. MATTEI:                                  ·6· ·interview?
·7· · · · Q· · Good morning, Ms. Paz.                            ·7· · · · A· · Post -- I think post-2018, because he wasn't in
·8· · · · A· · Good morning.                                     ·8· ·that position prior to that.· So, I don't know -- I don't
·9· · · · Q· · Welcome back.· We were last here for your         ·9· ·think he could really give me any information pre-2018
10· ·deposition on, I believe --                                 10· ·when he was in that position, which is what my notes
11· · · · A· · Back in March.                                    11· ·indicate is that other people were doing that.
12· · · · Q· · -- March 16th.· And so, before we start today,    12· · · · Q· · I just want to confirm for now that the
13· ·I observed that you had a set of typewritten notes before   13· ·itemized list, one, two, three here, that's all
14· ·you.· You've handed me a copy of those and these will be    14· ·information you obtained from Mr. Roddy; right?
15· ·marked as the next exhibit in sequence.· I don't know if    15· · · · A· · Yes.
16· ·we know what that will be right now or if we can just do    16· · · · Q· · What you are saying is that information
17· ·that at the break.                                          17· ·pertains to post-2017 business activity; correct?
18· · · · · · · · · MS. SESHADRI:· 126.                          18· · · · A· · Right.· That's what it says there.
19· · · · · · · · · · · · (Plaintiff's Exhibit 126 was           19· · · · Q· · And then, you have here a header that says
20· · · · · · · · ·marked for identification:· Typewritten       20· ·Blake Roddy Deposition; what does that indicate?
21· · · · · · · · ·notes.)                                       21· · · · A· · That after I had spoken to Blake, I reviewed
22· ·BY MR. MATTEI:                                              22· ·his deposition.
23· · · · Q· · This will be Exhibit 126.                         23· · · · Q· · That was the deposition that he gave in this
24· · · · · · ·Ms. Paz, why don't you just explain to me what    24· ·case; correct?
25· ·these notes are?                                            25· · · · A· · Yes, I believe it was in this case, Connecticut


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·1· ·cases.                                                      ·1· ·17th?
·2· · · · Q· · So, everything down until the part that says      ·2· · · · Q· · Okay.
·3· ·Notes dash, that was all information that you obtained      ·3· · · · · · ·And that's a Zoom call involving you, a
·4· ·either by virtue of your interview with Mr. Roddy or your   ·4· ·gentleman named Mark Schwartz and Attorney Pattis?
·5· ·review of his deposition; correct?                          ·5· · · · A· · It was Attorney Reiland.
·6· · · · A· · Yes.                                              ·6· · · · Q· · Thank you.
·7· · · · Q· · Then you get to notes at the bottom which         ·7· · · · · · ·Anybody else participate in that?
·8· ·starts with "to notes" and I'm assuming this refers to      ·8· · · · A· · No, it was just the three of us.
·9· ·the documents that were produced last week purporting to    ·9· · · · Q· · What's your understanding of who Mr. Schwartz
10· ·be some sort of debt instrument between Free Speech         10· ·is?
11· ·Systems and PQPR; correct?                                  11· · · · A· · I believe he's an accountant working for Free
12· · · · A· · That is correct, yes.                             12· ·Speech.
13· · · · Q· · Where did you obtain the information reflected    13· · · · Q· · Okay.
14· ·here at the very bottom?                                    14· · · · · · ·Where did you get that information?
15· · · · A· · These are based on a couple conversations I       15· · · · A· · Attorney Pattis indicated he was the best
16· ·had.· I had a video conversation with Mark Schwartz and     16· ·person to speak to regarding the financial questions that
17· ·counsel.· I also had, I believe, one video conference       17· ·were going to be in this deposition; so, that is who I
18· ·with Bob Roe and maybe two phone calls basically            18· ·contacted.
19· ·explaining the spreadsheets that I believe were produced    19· · · · Q· · Okay.
20· ·as well as the notes.                                       20· · · · · · ·The financial questions, you're referring
21· · · · Q· · When did your conversation with Mr. Schwartz      21· ·specifically to the relationship between PQPR and Free
22· ·and counsel take place?                                     22· ·Speech Systems?
23· · · · A· · Within the last couple weeks after we scheduled   23· · · · A· · The questions that were noticed in the
24· ·this date.· So, within the last couple weeks.               24· ·deposition, those questions.
25· · · · Q· · Was it last week?                                 25· · · · Q· · What specific financial issues did you believe

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·1· · · · A· · It might have been the week before.               ·1· ·he was going to be able to provide you information --
·2· · · · Q· · Okay.                                             ·2· · · · A· · He was going to be able to explain to me, for
·3· · · · · · ·Is that your best recollection that it was        ·3· ·example, one of the noticed questions was about
·4· ·probably a week before?                                     ·4· ·advertising.· Who advertises, paid advertising to Free
·5· · · · A· · Yeah, I don't remember the exact date of when     ·5· ·Speech who -- and how we get paid for advertising.· So,
·6· ·the conversation happened, but it was after this date was   ·6· ·he was able to pull information from our general ledger
·7· ·scheduled and we knew that this date was happening.         ·7· ·and create some spreadsheets and then he explained those
·8· · · · Q· · Well, this date's been scheduled for quite a      ·8· ·to me.· For example, one of the questions was questions
·9· ·while, so I just want to make sure I understand what your   ·9· ·about Mr. Jones' compensation, he created a spreadsheet,
10· ·best recollection is of when your conversation with         10· ·we had a conversation about the information that was in
11· ·Mr. Schwartz and counsel may have taken place.              11· ·there so I can cogently testify to it today.· That kind
12· · · · A· · Well, I wasn't --                                 12· ·of thing.
13· · · · Q· · Let me just finish.                               13· · · · Q· · You're referring to Mark Schwartz as having
14· · · · A· · Oh, sure.                                         14· ·been the individual who --
15· · · · Q· · So, you indicated earlier that you thought it     15· · · · A· · I had --
16· ·was within the last couple of weeks.· So, today is June     16· · · · Q· · Just let me finish my question.
17· ·27th.· Do you believe it was during the week beginning      17· · · · A· · Okay, sure.
18· ·June -- Sunday, June 12th?                                  18· · · · Q· · You collected that information and was in the
19· · · · A· · May I look at my calendar?                        19· ·best position to talk about those issues on behalf of
20· · · · Q· · Yeah, please.· Would that be a calendar entry?    20· ·Free Speech Systems?
21· · · · A· · I might have put it in my calendar because it     21· · · · A· · I had also spoken to Mr. Roe about that
22· ·was a Zoom call, so it might be in my calendar.             22· ·previously.
23· · · · Q· · That would be great.                              23· · · · Q· · I'm just specifically though talking about
24· · · · A· · Just give me one second.                          24· ·Mr. Schwartz and the meeting you had with him on June
25· · · · · · ·So, I have it on my calendar as Friday, June      25· ·17th and what you were informed about his status with the


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·1· ·company, why he was in the position to give you             ·1· ·I'm not sure, so he was able to explain them to me.
·2· ·information concerning those issues.· I just want to make   ·2· · · · Q· · Mr. Schwartz was?
·3· ·clear that you're speaking specifically about               ·3· · · · A· · Yes.
·4· ·Mr. Schwartz there being the one who collected              ·4· · · · Q· · And one of the spreadsheets Mr. Schwartz was
·5· ·spreadsheets concerning Mr. Jones's compensation and        ·5· ·able to explain to you pertained to the information
·6· ·spreadsheets and information concerning advertising         ·6· ·described in item 4, third-party advertising services;
·7· ·activity of Free Speech Systems; is that correct?           ·7· ·correct?
·8· · · · A· · I don't know how to answer that question. I       ·8· · · · A· · Yes.
·9· ·don't know if he created those spreadsheets.· All I know    ·9· · · · Q· · Okay.· Continue.
10· ·is he was able to explain the spreadsheets to me.           10· · · · A· · Then for No. 5, any third parties who had paid
11· · · · Q· · Those spreadsheets being the ones related to      11· ·Free Speech for advertising and our marketing service.
12· ·Free Speech Systems' advertising and to Mr. Jones's         12· · · · Q· · Mr. Schwartz described and explained those --
13· ·compensation?                                               13· ·the information contained in those spreadsheets?
14· · · · A· · If you would like to pull up the deposition       14· · · · A· · Yes.
15· ·notice, I could indicate exactly which numbers I spoke to   15· · · · · · ·Then for No. 8, the compensation to Mr. Jones,
16· ·him about.                                                  16· ·David Jones and Kelly Jones?
17· · · · Q· · No, no, I'm asking you about the spreadsheets     17· · · · Q· · Mr. Schwartz explained that data to you?
18· ·you were just voluntarily testifying about.· So, I don't    18· · · · A· · Yes.· We discussed that one.
19· ·want to present you -- I'm asking --                        19· · · · · · ·We also discussed No. 9 which is the closed
20· · · · A· · Well, you asked me a question.                    20· ·caption transcription services.
21· · · · Q· · Just let me finish, Ms. Paz.                      21· · · · Q· · Mr. Schwartz -- Mr. Schwartz was able to
22· · · · A· · Sure.                                             22· ·provide you with information concerning Free Speech
23· · · · Q· · We have to do question and answer.· It's going    23· ·System's closed captioning services?
24· ·to go a lot quicker if you just let me finish my question   24· · · · A· · Yes.· So, I asked him -- that wasn't originally
25· ·and then you answer; okay?                                  25· ·included in the information, but he was able to go

                                                   Page 562                                                         Page 564
·1· · · · · · ·Specifically, the spreadsheets that you were      ·1· ·through the general ledger and search for the information
·2· ·referring to that Mr. Schwartz described for you and was    ·2· ·and then provide that.· So, he may have created that
·3· ·able to explain, you referred to them as being              ·3· ·spreadsheet because I asked him directly for it.
·4· ·spreadsheets relating to Mr. Jones's compensation and       ·4· · · · Q· · You asked Mr. Schwartz directly for what now?
·5· ·advertising; is that correct?                               ·5· ·A spreadsheet describing expenses made for closed
·6· · · · A· · Yes.· Among others.                               ·6· ·captioning transcription services?
·7· · · · Q· · Okay, great.                                      ·7· · · · A· · Right.
·8· · · · · · ·What other issues did he explain to you?          ·8· · · · Q· · He was able to provide that for you?
·9· · · · A· · If you would pull up the deposition notice, I     ·9· · · · A· · Right.· Well, it was -- it's not difficult.
10· ·could tell you exactly which ones.                          10· ·You go through the general ledger and just search for
11· · · · Q· · Why don't we pull up the re-notice for today.     11· ·that account.· So, it has a specific account associated
12· · · · · · ·Do you have that in front of you, Ms. Paz?        12· ·with it and then he just printed off all of the
13· · · · A· · Yes.                                              13· ·transactions for that time period.
14· · · · Q· · So, you would like us just to advance to the      14· · · · Q· · Okay.
15· ·topic section?                                              15· · · · A· · We did discuss item 10, the transactions
16· · · · A· · Yes, that would be great.                         16· ·between the two companies, Free Speech and PQPR.· And if
17· · · · · · ·If you could scroll down just a little bit        17· ·you could scroll down -- I just want to make sure I have
18· ·more.· Wait, wait, wait.· Too far, too far.                 18· ·everything.· I think that's it.
19· · · · · · ·So, if you scroll up to No. 4.· So, one of        19· · · · Q· · And so, Mr. Schwartz was described to you as an
20· ·those spreadsheets was the identities of any third          20· ·accountant working for Free Speech Systems?
21· ·parties who provide with you marketing service.· So, they   21· · · · A· · Yes, I don't know exactly what his relationship
22· ·were able to -- when I say "they," I mean, Mark Schwartz    22· ·is to Free Speech.· It may be a consulting relationship,
23· ·and Mr. Roe.· I'm not sure --                               23· ·I'm not sure.· But I was given his information and told
24· · · · Q· · I'm asking you specifically about Mr. Schwartz?   24· ·to contact him.
25· · · · A· · I don't know who created those spreadsheets,      25· · · · Q· · But I just want to make sure that what you


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·1· ·understand is that he is an accountant who is -- has some   ·1· ·documents with him.· But I did discuss the debt with him.
·2· ·relationship with Free Speech Systems, it sounds like you   ·2· · · · Q· · Understood.
·3· ·believe in a consulting capacity?                           ·3· · · · · · ·How did you first receive these two
·4· · · · A· · I don't know what capacity he's employed by       ·4· ·documents?
·5· ·Free Speech, but that was the name of the person I was      ·5· · · · A· · I asked for them and they were e-mailed to me.
·6· ·told to contact, so I did.                                  ·6· · · · Q· · When were they e-mailed to you?
·7· · · · Q· · And so, let me then just confirm that what you    ·7· · · · A· · In the last week.
·8· ·were informed was that he was an accountant?                ·8· · · · Q· · Who e-mailed them to you?
·9· · · · A· · I believe he's an accountant, yes.                ·9· · · · A· · I think Mr. Roe e-mailed them to me.
10· · · · Q· · Based on information that Attorney Pattis         10· · · · · · · · · MR. MATTEI:· I don't believe that we have
11· ·provided to you?                                            11· · · · · · ·that e-mail, Zach.· I don't think it was
12· · · · A· · Yes.                                              12· · · · · · ·included in what you provided last week.
13· · · · Q· · Do you have any understanding of Mr. Schwartz's   13· · · · · · · · · MR. REILAND:· That was probably sent after
14· ·involvement in Mr. Jones's recent bankruptcy petition on    14· · · · · · ·that disclosure was gathered together, so we'll
15· ·behalf of three companies that he controls?                 15· · · · · · ·start a new one.
16· · · · A· · No, I don't.                                      16· ·BY MR. MATTEI:
17· · · · Q· · Were you aware that he was involved in that at    17· · · · Q· · So, you asked to see them and you asked --
18· ·all?                                                        18· · · · A· · I asked for them, yes.
19· · · · A· · No, I'm not.                                      19· · · · Q· · You believe Mr. Roe sent them to you last week?
20· · · · Q· · Did he -- okay.                                   20· · · · A· · Yes.
21· · · · · · ·How long was that meeting with Mr. Schwartz?      21· · · · Q· · Mr. Roe sent them to you last week --
22· · · · A· · I would say it was about an hour.                 22· · · · A· · Well, within the last week.· I'm not sure.
23· · · · Q· · Let's pull up the two notes that were produced    23· ·Within the last week.
24· ·to us last week.                                            24· · · · Q· · So, when did you discuss them with
25· · · · · · ·These are -- what are these numbered?             25· ·Mr. Schwartz?

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·1· · · · · · · · · MS. SESHADRI:· 117 and 118.                  ·1· · · · A· · I had a phone call with Mr. Schwartz after the
·2· ·BY MR. MATTEI:                                              ·2· ·Zoom meeting.
·3· · · · Q· · Ms. Paz, do you have before you a document        ·3· · · · Q· · Okay.
·4· ·captioned Promissory Note, dated August 13, 2020?           ·4· · · · · · ·So, in addition to your Zoom meeting, you had a
·5· · · · A· · Yes.                                              ·5· ·phone call with him and that was last week?
·6· · · · Q· · Have you seen this document before?               ·6· · · · A· · Well, yes.· It had to be last week because
·7· · · · A· · Yes.                                              ·7· ·today is Monday; so, yes.
·8· · · · Q· · Did you discuss this document with                ·8· · · · Q· · The purpose of that phone call specifically was
·9· ·Mr. Schwartz?                                               ·9· ·to discuss these two documents?
10· · · · A· · Yes.· We did discuss the two notes and their      10· · · · A· · Yes, discuss the notes and any other questions
11· ·relationship to the payments that Free Speech makes to      11· ·I had that were lingering, which weren't many.· It was a
12· ·PQPR.                                                       12· ·short phone call.
13· · · · Q· · Let's look at 18, too, if you can just identify   13· · · · Q· · But you were aware during your initial
14· ·that, Ms. Paz.· This is another document captioned as a     14· ·conversation with Mr. Schwartz on the 17th of the
15· ·Promissory Note, dated November 10, 2021.· Have you seen    15· ·existence of these notes which is what prompted you to
16· ·this document before?                                       16· ·then ask him for them?
17· · · · A· · Yes.                                              17· · · · A· · Right.
18· · · · Q· · Did you discuss this with Mr. Schwartz?           18· · · · Q· · We'll go over these in substance a little bit
19· · · · A· · Yes.                                              19· ·later.
20· · · · Q· · Did you discuss both these document with          20· · · · · · ·So, your notes at the very bottom, I take it
21· ·Mr. Roe as well?                                            21· ·those notes are taken from your conversation with
22· · · · A· · Yes.· I had had communications with Mr. Roe       22· ·Mr. Schwartz concerning the actual documents; correct?
23· ·about the promissory -- the debt from Free Speech to        23· · · · A· · Right.· So, these notes I didn't have the
24· ·PQPR.· I hadn't seen these, though, when I had those        24· ·actual document yet, we were talking about it in our Zoom
25· ·conversations with him, so I didn't discuss the actual      25· ·call.· So, these were the notes from the Zoom call.


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·1· · · · Q· · I see.                                            ·1· ·testimony?
·2· · · · · · ·And then do you have any notes that you took      ·2· · · · A· · No.
·3· ·from your telephonic conversation with him last week?       ·3· · · · Q· · And you haven't reviewed Rob Dew's deposition
·4· · · · A· · No, I didn't write anything down.· It was a       ·4· ·testimony?
·5· ·very short conversation.· It wasn't that long.· Maybe,      ·5· · · · A· · No.
·6· ·ten minutes.                                                ·6· · · · Q· · Has anybody summarized or described Mr. Jones's
·7· · · · Q· · Okay.                                             ·7· ·testimony to you in any way?
·8· · · · · · ·And your testimony is that you believe that you   ·8· · · · A· · His most recent deposition?
·9· ·took these notes as kind of a running Word document.· You   ·9· · · · Q· · He --
10· ·had the notes from Mr. Roddy and then you continued to      10· · · · A· · The one he was here in March for?
11· ·fill in the document --                                     11· · · · Q· · He was here in March, he sat for two days in
12· · · · A· · Right.                                            12· ·March and then he appeared virtually two weeks ago.
13· · · · Q· · -- with your notes from Mr. Schwartz; correct?    13· · · · A· · Okay.
14· · · · A· · That's correct, yes.                              14· · · · · · ·I don't have copies of those, no.
15· · · · Q· · The only notes you took during your Zoom call     15· · · · Q· · But my question was whether anybody had
16· ·with Mr. Schwartz are those at the bottom; correct?         16· ·summarized his testimony to you?
17· · · · A· · I believe so, yes.· I don't have any -- I don't   17· · · · A· · No.
18· ·think I have any handwritten notes.                         18· · · · Q· · Okay.
19· · · · Q· · Okay.                                             19· · · · · · ·So, as far as -- you have no basis of
20· · · · · · ·Other than speaking with Mr. Roddy, reviewing     20· ·information for understanding what he testified about in
21· ·Mr. Roddy's deposition and having a series of Zoom or       21· ·the Connecticut case; correct?
22· ·telephone calls with both Mr. Roe and Mr. Schwartz, did     22· · · · A· · No, I haven't read them.
23· ·you do anything else to prepare for your deposition         23· · · · Q· · I know you haven't read them, but I just want
24· ·today?                                                      24· ·to --
25· · · · A· · I don't believe so.· I might have tried to        25· · · · A· · No, no.· No one talked to me about them either,

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·1· ·refresh my recollection from some of the previous           ·1· ·so, no.
·2· ·depositions, but aside from that, no.                       ·2· · · · Q· · Thank you.
·3· · · · Q· · Okay.                                             ·3· · · · · · ·When we were last here, you testified that you
·4· · · · · · ·Well, do you believe that you reviewed            ·4· ·had been paid $30,000 for all of your work as Free Speech
·5· ·deposition transcripts, other than Mr. Roddy's, in          ·5· ·Systems' corporate representative both in Texas and in
·6· ·advance of your deposition today?                           ·6· ·Connecticut.· Have you received any compensation since we
·7· · · · A· · I know I went -- over the weekend, I wanted to    ·7· ·last met for your deposition?
·8· ·refresh my recollection from Mr. Daniel's deposition.       ·8· · · · A· · Have I received anything, no, but I do
·9· ·Other than that, I don't think I read anything else other   ·9· ·anticipate receiving an additional flat rate.
10· ·than these notes.                                           10· · · · Q· · Okay.
11· · · · Q· · You reviewed Mr. Daniel's deposition this         11· · · · · · ·And how did that -- and how much do you
12· ·weekend?                                                    12· ·anticipate receiving in addition to the $30,000 you've
13· · · · A· · Yes, yes.                                         13· ·already been paid?
14· · · · Q· · Do you know he had basically two segments of      14· · · · A· · The agreement was, because we needed to have
15· ·his deposition?· Do you know if you read his first, his     15· ·these additional days of deposition, I don't think that
16· ·second, both?                                               16· ·was contemplated that I would receive a flat $7,500 fee.
17· · · · A· · It wasn't -- so, I know that he was also          17· · · · Q· · And that's specifically for your testimony
18· ·deposed in Texas.· I don't have a copy of that.· So, I      18· ·today?
19· ·think I only have a copy of his Connecticut deposition.     19· · · · A· · Right.
20· ·So, I re-read that.                                         20· · · · Q· · You don't anticipate giving any other
21· · · · Q· · That's what I'm referring to.· He sat twice in    21· ·deposition testimony either here or in Texas; correct?
22· ·Connecticut?                                                22· · · · A· · Unless you need another day, but I don't think
23· · · · A· · Oh, I see.· No, no.· I only have one portion of   23· ·so.
24· ·it.· I don't think I have a second portion.                 24· · · · Q· · I think we will be finished today.
25· · · · Q· · You didn't review Alex Jones's deposition         25· · · · A· · Okay.


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·1· · · · Q· · Although I can't speak for Attorney Cerame, I     ·1· · · · Q· · You're aware that storable food is sold on
·2· ·think we will be finished today?                            ·2· ·websites owned by Free Speech Systems?
·3· · · · A· · Yes, for however long this takes.                 ·3· · · · A· · I don't know.
·4· · · · Q· · May I ask, do you anticipate being available to   ·4· · · · Q· · You testified a moment ago that PQPR sells
·5· ·testify at trial in any of the Texas cases?                 ·5· ·products on Free Speech Systems' websites.· Which
·6· · · · A· · If it's required, then yes.                       ·6· ·websites?
·7· · · · Q· · That's something you would be willing to do?      ·7· · · · A· · I believe that they're sold on InfoWars.com.
·8· · · · A· · If it's required, yes.· I think I have to.        ·8· ·There are ads that link to -- link back to the PQPR
·9· · · · Q· · Okay.                                             ·9· ·website from InfoWars.· It may also link from Prison
10· · · · · · ·The same would be true if called to testify in    10· ·Planet.· So we have ads that link back to the PQPR
11· ·Connecticut in the trial here; right?                       11· ·website so that people can purchase from that site.
12· · · · A· · Sure.                                             12· · · · Q· · When you say "we have ads," what ads are you
13· · · · Q· · You expect you would probably negotiate           13· ·talking about?· You're talking about Free Speech Systems
14· ·additional compensation for that work?                      14· ·runs ads on InfoWars.com?
15· · · · A· · I don't know.· We hadn't talked about it, in      15· · · · A· · No, PQPR has these ads, but we, as in our
16· ·all honesty.                                                16· ·website, InfoWars, hosts these ads that link back to
17· · · · Q· · You have not yet been paid the $7,500 you are     17· ·PQPR's website to purchase the products.
18· ·anticipating being paid for today.                          18· · · · Q· · Okay.
19· · · · A· · Right.· I don't have it yet.· But I did invoice   19· · · · · · ·So, Free Speech Systems' testimony is that PQPR
20· ·it.                                                         20· ·places advertisements on InfoWars.com; correct?
21· · · · Q· · You invoiced it by e-mail?                        21· · · · A· · I believe so, yes.
22· · · · A· · Yes, I did.                                       22· · · · Q· · Free Speech Systems owns InfoWars.com; correct?
23· · · · Q· · And am I correct that you still don't have any    23· · · · A· · Free Speech owns InfoWars.com, yes.
24· ·sort of written agreement or retainer with Attorney         24· · · · Q· · And the advertisements, I think you were just
25· ·Pattis or Free Speech Systems?                              25· ·describing, link back to a different website other than

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·1· · · · A· · No, I don't think I signed a retainer             ·1· ·InfoWars.com; correct?
·2· ·agreement.                                                  ·2· · · · A· · It links to the PQPR's website so that the
·3· · · · Q· · Let's bring up the PQPR Free Speech Systems'      ·3· ·purchases can be made through PQPR.
·4· ·transaction spreadsheet, please.                            ·4· · · · Q· · Which website is that?
·5· · · · · · ·I'm going to bring it up just so we have it;      ·5· · · · A· · I'm sorry, I don't know the name of the
·6· ·but let me ask you first:· You're obviously familiar with   ·6· ·website.· I'm not sure.
·7· ·the company PQPR Holdings Limited LLC; correct?             ·7· · · · Q· · Okay.
·8· · · · A· · Yes, I'm aware of it.                             ·8· · · · · · ·Is it Free Speech Systems' testimony that PQPR
·9· · · · Q· · What's your understanding of that company's       ·9· ·owns the websites on which PQPR products are sold?
10· ·purpose?                                                    10· · · · A· · I don't know who owns the websites.
11· · · · A· · That company exists to purchase product which     11· · · · Q· · Okay.
12· ·is then sold on the Free Speech website.· It also houses    12· · · · · · ·So, I'll represent to you that infowarsshop.com
13· ·the product.· So, it basically -- it is -- it sells         13· ·is a website.· Do you know whether Free Speech Systems
14· ·product is its purpose.                                     14· ·owns it?
15· · · · Q· · And the products it sells are nutritional         15· · · · A· · I'm not sure, to be honest.
16· ·supplements; correct?                                       16· · · · · · ·So, PQPR --
17· · · · A· · Yes, amongst others.                              17· · · · Q· · Wait a second.· There's no question pending.
18· · · · Q· · Storable food?                                    18· · · · · · ·Infowarsshop.com is a website.· Do you know if
19· · · · A· · I'm not sure about the storable food.· I don't    19· ·Free Speech Systems owns it?
20· ·know, is the answer.                                        20· · · · A· · I'm not sure.
21· · · · Q· · Merchandise?                                      21· · · · Q· · Are you aware the website freeworldoutlet.com?
22· · · · A· · Yes.                                              22· · · · A· · No.
23· · · · Q· · Did you ask anybody whether or not storable       23· · · · Q· · So, Free Speech Systems isn't prepared to
24· ·food is among the products sold by PQPR?                    24· ·testify today concerning any relationship it may have
25· · · · A· · No.                                               25· ·with the website freeworldoutlet.com; right?


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·1· · · · A· · Right.                                            ·1· ·are handled through PQPR and Free Speech is given credits
·2· · · · Q· · And Free Speech Systems isn't prepared to         ·2· ·for certain things, such as advertising and stuff on Free
·3· ·testify today concerning any relationship it has with the   ·3· ·Speech websites; but ultimately, PQPR is handling those
·4· ·website preparetoday.com; correct?                          ·4· ·transactions.
·5· · · · A· · Correct.· I don't know that website.              ·5· · · · Q· · That's not what I asked.
·6· · · · Q· · And Free Speech Systems is not prepared to        ·6· · · · · · ·And I'm going to ask you what you mean by
·7· ·testify today concerning any relationship it has with the   ·7· ·handling transactions, but what I asked what was for the
·8· ·website preparewithalex.com; correct?                       ·8· ·period 2012 to 2020, on the websites infowarsstore.com
·9· · · · A· · Right.· I don't know that website.                ·9· ·and infowarsshop.com, where did the proceeds for those
10· · · · Q· · Is Free Speech Systems -- well, although Free     10· ·sales go?
11· ·Speech Systems cannot testify as to whether it owns         11· · · · A· · So, the proceeds from the sales are handled
12· ·infowarsstore.com, infowarsshop.com, Free Speech Systems    12· ·through PQPR.· So, PQPR would have -- I'm sorry, I guess
13· ·is aware that sales of PQPR products are transacted over    13· ·I'm getting confused by the question.· So, all of the
14· ·those websites; correct?                                    14· ·product sales and the products are sold --
15· · · · A· · Yes.                                              15· · · · Q· · Well --
16· · · · Q· · And the -- during the time period 2012 through    16· · · · A· · Through PQPR.
17· ·2020, proceeds from sales transacted over those websites    17· · · · Q· · You're confused by the question?
18· ·were processed by Free Speech Systems not PQPR; correct?    18· · · · A· · I'm confused by the question.
19· · · · A· · No, I don't know that.                            19· · · · Q· · Okay.
20· · · · Q· · Okay.                                             20· · · · · · ·So, when a sale happens on any of those
21· · · · · · ·So, Free Speech Systems' testimony is it does     21· ·websites; right?
22· ·not know whether it was responsible for transacting the     22· · · · A· · Right.
23· ·sales conducted on those websites; correct?                 23· · · · Q· · A customer pays money; right?
24· · · · A· · No, I don't think, I don't know, I think that     24· · · · A· · Yes.
25· ·PQPR transacts -- handles those transactions.               25· · · · Q· · They authorize, for example, their credit card

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·1· · · · Q· · Okay.                                             ·1· ·to send money to a payee correct?
·2· · · · A· · So, no, that's not correct.                       ·2· · · · A· · Mm-hm.
·3· · · · Q· · So, Free Speech Systems' testimony is that PQPR   ·3· · · · Q· · That money presumably gets routed into an
·4· ·conducts the transactions -- the sales transactions over    ·4· ·account; correct?
·5· ·InfoWars.com -- I'm sorry.· Strike that.· Let me begin      ·5· · · · A· · Sure.
·6· ·again.                                                      ·6· · · · Q· · So, my question is:· Who controlled the
·7· · · · · · ·Your testimony is that PQPR conducts the          ·7· ·accounts to which those sale proceeds were routed for the
·8· ·transactions occurring over infowarsstore.com and           ·8· ·websites infowarsshop.com and infowarsstore.com during
·9· ·infowarsshop.com for the period 2012 through 2020?          ·9· ·the period of time 2012 to 2002?
10· · · · · · · · · MR. REILAND:· I'll object to the form. I     10· · · · A· · I just want to make sure that I'm answering
11· · · · · · ·think she said she didn't make the --             11· ·this correctly.
12· ·BY THE WITNESS:                                             12· · · · Q· · Are you looking at something on your screen?
13· · · · A· · I don't understand -- yeah, I don't understand    13· · · · A· · Well, you have the summary of the intercompany
14· ·the question.                                               14· ·transactions up here.
15· · · · Q· · Okay.                                             15· · · · Q· · Okay.
16· · · · A· · I'm sorry, can you just repeat it.                16· · · · A· · And it's helpful to understanding the answer to
17· · · · Q· · Sure.                                             17· ·your question.
18· · · · · · ·You testified that there are sales transactions   18· · · · · · ·So, these are inter -- this is Exhibit 106
19· ·that occur on in for infowarsstore.com and                  19· ·that's up here if you have to up there.· So, these are
20· ·infowarsshop.com; right?                                    20· ·how all of the payments get applied.· So, these -- in
21· · · · A· · Right.                                            21· ·this second column, these credits, when I was talking
22· · · · Q· · When those sales occur during 2012 to 2020,       22· ·about advertising fulfillment, administration and net
23· ·where were the sales proceeds routed?                       23· ·credits, these are credits that Free Speech doesn't have
24· · · · A· · So, PQPR handles all of the product sales.· If    24· ·to pay to PQPR.· These product sales are debits.· So,
25· ·you look at the spreadsheets, all of the product sales      25· ·these are the sales that PQPR -- so, the end balance is


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·1· ·the money that Free Speech owes to PQPR because PQPR is     ·1· ·websites, infowarsstore.com and infowarsshop.com, during
·2· ·handling the fulfillment; and then we have to pay PQPR      ·2· ·the period 2012 to 2019 [Verbatim], were any Free Speech
·3· ·for the cost of the products.                               ·3· ·Systems' employees involved in processing those
·4· · · · Q· · Ms. Paz --                                        ·4· ·transactions?
·5· · · · A· · But if the question is where is the money going   ·5· · · · A· · No, PQPR processes the transactions, so they
·6· ·initially when the customer pays it, I don't know by        ·6· ·are PQPR employees.
·7· ·looking at this spreadsheet.· We would to have look at      ·7· · · · Q· · How many people does PQPR employ?
·8· ·another spreadsheet.                                        ·8· · · · A· · I don't know.
·9· · · · Q· · Let's take the spreadsheet down.· I'm going to    ·9· · · · Q· · Are any Free Speech Systems' employees, during
10· ·ask you questions about that spreadsheet.· Okay.· Right     10· ·the time period 2012 through 2020, involved in any
11· ·now I'm just asking about sale proceeds on                  11· ·activities on behalf of PQPR?
12· ·infowarsstore.com and infowarsshop.com.                     12· · · · A· · I'm sorry, can you repeat the question.
13· · · · · · ·All I'm asking is during the period 2012 to       13· · · · Q· · Yeah.
14· ·2002 where were those proceeds routed?· Were they routed    14· · · · · · ·For the time period 2012 through 2020, were any
15· ·to any account controlled by Free Speech Systems or were    15· ·Free Speech Systems' employees engaged in any activities
16· ·they routed directly to accounts controlled by PQPR or      16· ·on behalf of PQPR?
17· ·were they routed somewhere else or does Free Speech         17· · · · A· · I don't know.· I don't know how to answer that
18· ·Systems not know?                                           18· ·question.· I don't know.
19· · · · A· · I don't know by looking at that spreadsheet and   19· · · · Q· · Okay.
20· ·I don't have any independent recollection of it.            20· · · · · · ·Well, let me ask it this way then:· You
21· · · · Q· · Okay.                                             21· ·testified earlier that PQPR handles all transactions of
22· · · · · · ·So, I just want to be clear here.· Free Speech    22· ·its products, sales; correct?
23· ·Systems' testimony is that it does not know where the       23· · · · A· · Right, it does all the fulfillment of the
24· ·sale proceeds from transactions conducted over              24· ·order, it houses all of the products and it, you know,
25· ·infowarsstore.com and infowarsshop.com went once those      25· ·generally just fulfills all of the orders.

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·1· ·sales were executed for the period 2012 to 2020;            ·1· · · · Q· · Okay.· All right.
·2· ·correct?                                                    ·2· · · · · · ·So, let's break that down.· So, you say that
·3· · · · A· · I think my answer is I don't recall.· I would     ·3· ·PQPR handles all the fulfillment of its -- did you say
·4· ·to have look at another spreadsheet.                        ·4· ·products?
·5· · · · Q· · Here's the problem, we dealt with this last       ·5· · · · A· · Right, all the products that it sells and are
·6· ·time with Judge Bellis and Judge Bellis said quite          ·6· ·linked back from the website, from the Free Speech's
·7· ·clearly that I don't recall is not an acceptable answer.    ·7· ·website via ads to the store.· It has a staff, it has a
·8· ·The answer is either Free Speech Systems, as it sits here   ·8· ·warehouse.· They package everything.· They house it.
·9· ·today, either knows a fact or it does not know a fact.      ·9· ·They fulfill the orders.· I did tour the warehouse, so
10· ·That's it.                                                  10· ·they have a whole process about how that happens.· And
11· · · · · · ·So, as you sit here today, Free Speech Systems,   11· ·PQPR handles that.
12· ·can you testify under oath as to whether or not sale        12· · · · Q· · Okay.· So --
13· ·transaction conducted over infowarsstore.com and            13· · · · A· · It's --
14· ·infowarsshop.com between the period 2012 and 2020 were      14· · · · Q· · Free Speech Systems' testimony is that when it
15· ·routed to accounts controlled by Free Speech Systems?       15· ·comes to the sale of PQPR products, PQPR owns the
16· · · · A· · I don't know.                                     16· ·warehouse where those products are stored; correct?
17· · · · Q· · Thank you.                                        17· · · · A· · I don't know if it owns it or rents it or
18· · · · · · ·I think your testimony is Free Speech Systems     18· ·leases it.· I don't know.
19· ·doesn't even know who owned those websites during that      19· · · · Q· · Okay.
20· ·period of time; correct?                                    20· · · · · · ·PQPR staff, by which I assume mean employees,
21· · · · A· · I don't know.· I'm not sure who owns them.        21· ·handle the fulfillment of all those orders; correct?
22· · · · Q· · All right.· "You" being Free Speech Systems?      22· · · · A· · That's correct.
23· · · · A· · Yes.                                              23· · · · Q· · And PQPR employees handle all the accounting
24· · · · Q· · Thank you.                                        24· ·for PQPR's books and records; is that right?
25· · · · · · ·With respect to transactions over those two       25· · · · A· · I mean, I don't know how they do their internal


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·1· ·things.· I don't represent PQPR.· So, however they do       ·1· ·in --
·2· ·that her internal business, I don't know.                   ·2· · · · A· · That's correct.
·3· · · · Q· · Okay.                                             ·3· · · · Q· · -- sorry, just let me finish.
·4· · · · · · ·But Free Speech Systems' employees don't          ·4· · · · · · ·Free Speech Systems has no involvement in
·5· ·fulfill that function for PQPR, that is the accounting      ·5· ·paying for or managing that warehouse operation;
·6· ·function?                                                   ·6· ·correct?
·7· · · · A· · Right.· They have -- It's separate.· They are     ·7· · · · A· · Right.
·8· ·two separate entities.                                      ·8· · · · Q· · And the information that you had just been
·9· · · · Q· · And so, on the fulfillment piece, I take it       ·9· ·testifying to about PQPR -- PQPR's activities as distinct
10· ·that your testimony is that that involves receiving         10· ·from Free Speech Systems was who?
11· ·notice of any sale of a PQPR product, pulling that          11· · · · A· · I'm sorry, who told me that they were distinct?
12· ·product for shipment, shipping it; anything else?           12· · · · Q· · Not just distinct, but who informed you that
13· · · · A· · I mean, like I said, I don't know how their       13· ·PQPR employees and resources are responsible for the
14· ·internal operations work there.· I mean, I did tour the     14· ·fulfillment and administrative activities of PQPR as
15· ·warehouse.· They showed me how they stock everything.       15· ·opposed to Free Speech Systems' employees?
16· ·They showed me how they pulled an item, how it was          16· · · · A· · I think that would be based on my conversations
17· ·labeled then for packaging.· And then where it was          17· ·with Mr. Jones, with Mr. Roe while I was down there, my
18· ·ultimately shipped out.· Aside from that, their internal    18· ·conversations with counsel which I'm not going to go
19· ·processes, I don't know.· I know they have some software    19· ·into.· I think that would form the basis of that.
20· ·that helps them with that.· I don't know the name of it.    20· · · · Q· · What, specifically, did Mr. Jones tell you
21· ·I don't know how it works.                                  21· ·about PQPR?
22· · · · Q· · Basically, anything that goes into fulfilling     22· · · · A· · That Free Speech and PQPR are separate and that
23· ·an order once it has been made by a customer, PQPR          23· ·they are -- they handle essentially the product sales and
24· ·employees handle; correct?                                  24· ·he is engaged in the function of being on air.· So, in
25· · · · A· · Right.                                            25· ·his mind, his business is being on the air.

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·1· · · · Q· · Free Speech Systems' employees do not?            ·1· · · · Q· · So, he described them to you as being distinct
·2· · · · A· · Correct.                                          ·2· ·entities and that PQPR was involved in product sales.
·3· · · · Q· · Who gave you a tour of the warehouse?             ·3· ·Did he say anything about the extent to which Free Speech
·4· · · · A· · I went with Attorney Blott when he was down in    ·4· ·Systems' employees are involved in any of PQPR's business
·5· ·Austin.                                                     ·5· ·activities?
·6· · · · Q· · Okay.                                             ·6· · · · A· · We didn't talk about that like that.
·7· · · · · · ·And she's outside counsel retained by Free        ·7· · · · Q· · The warehouse that you toured, it was in
·8· ·Speech Systems to represent them in Texas; correct?         ·8· ·Austin?
·9· · · · A· · Right.· Although I don't know if she's involved   ·9· · · · A· · I think it was in Austin.· It was very close
10· ·any longer, but she was when I was there and so she and I   10· ·by.· It wasn't that far.· It was maybe a ten minute ride
11· ·went.                                                       11· ·from where Free Speech is housed.· It wasn't that far.
12· · · · Q· · Who were the PQPR employees who showed you kind   12· · · · Q· · When you say Free Speech is housed, do you mean
13· ·of the fulfillment process that you were just describing?   13· ·the studio operation?
14· · · · A· · You know what, I'm so sorry, I don't remember     14· · · · A· · Right.· We drove there and it was a very quick
15· ·their name.· I don't remember.                              15· ·ride.
16· · · · Q· · Okay.· Okay.                                      16· · · · Q· · You and Attorney Blott drove there?
17· · · · · · ·And it's your understanding that PQPR, whether    17· · · · A· · Right.
18· ·it owns or leases the warehouse, pays for that facility     18· · · · Q· · What time of day did you go?
19· ·in order to use that facility; correct?                     19· · · · A· · It was during business hours.· It might have
20· · · · A· · I would assume so.                                20· ·been right before lunch because I remember we were
21· · · · Q· · Free Speech Systems does not?                     21· ·talking about where to eat after that, so it probably
22· · · · A· · I don't know.· I don't represent PQPR, so I       22· ·would have been right before lunch.
23· ·don't know what they do to handle their warehouse.          23· · · · Q· · Can you ballpark for me how many employees you
24· · · · Q· · Okay.                                             24· ·observed while you were there?
25· · · · · · ·Free Speech Systems, though, has no involvement   25· · · · A· · So, there was a person who showed us around who


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·1· ·I'm not really sure what their function was; but may have   ·1· ·financial records you reviewed?
·2· ·been a manager.· And then there were probably about maybe   ·2· · · · A· · Right.· But also, when I spoke to Mr. Roe and
·3· ·4 to 6 people packaging mail for, you know, all the         ·3· ·Mr. Schwartz, everybody was very clear about the
·4· ·product for delivery.· So, taking, pulling up the order,    ·4· ·relationship.· The relationship is they fulfill the
·5· ·printing all the labels, pulling them from the shelves      ·5· ·product, we pay them for the product.· Nowhere in those
·6· ·and then putting them in for packaging.· So, maybe a half   ·6· ·conversations was we rent the space for them or we
·7· ·dozen people when I was there.· It was a week day, around   ·7· ·purchase the space for them or -- and I haven't seen
·8· ·lunch time.                                                 ·8· ·anything in our transactions to indicate that.· So from
·9· · · · Q· · Okay.· All right.                                 ·9· ·where I sit, I don't see anything that would indicate
10· · · · · · ·And it's Free Speech Systems' testimony that      10· ·that we have any interest in the warehouse, itself.· And
11· ·those are all PQPR employees?                               11· ·I don't know how they get the space.· That's PQPR's realm
12· · · · A· · Right.                                            12· ·on how they get the space.
13· · · · Q· · Even though you can't remember who they were?     13· · · · Q· · Okay.
14· · · · A· · The man who showed us around introduced           14· · · · · · ·So -- who told you that PQPR has its own
15· ·himself, but I do not remember his name for the life of     15· ·employees that manage the fulfillment and administrative
16· ·me.· But I did not meet the people who were packaging the   16· ·activities you were describing earlier?
17· ·materials.· I didn't introduce myself, they didn't          17· · · · A· · I think I had a specific conversation with
18· ·introduce themselves.· I don't know their names.            18· ·Mr. Roe about that, about the fulfillment aspect and how
19· · · · Q· · If I said the name, do you think you would        19· ·all of those employees are employed directly by PQPR.
20· ·remember it?                                                20· · · · Q· · Okay.
21· · · · A· · You could try and --                              21· · · · · · ·And is it your understanding that PQPR has --
22· · · · Q· · Chris Ellison?                                    22· ·had its own employee work force since it was formed in
23· · · · A· · No.                                               23· ·order to maintain that distinction between Free Speech
24· · · · Q· · It wasn't Tim Fruge?                              24· ·Systems and PQPR?
25· · · · A· · No, it wasn't Tim.                                25· · · · A· · I would assume.· So, I -- like I said, I don't

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·1· · · · Q· · It wasn't Blake Roddy?                            ·1· ·represent PQPR, so I really can't say how they manage
·2· · · · A· · No, I met Blake.· It wasn't Blake.                ·2· ·their employees or when or when people get hired. I
·3· · · · Q· · Okay.                                             ·3· ·mean, I would assume so.· They're separate entities.
·4· · · · · · ·Who told that you the warehouse -- I know you     ·4· · · · Q· · Well, you were required to be prepared to
·5· ·testified that you don't know whether PQPR owns the         ·5· ·testify about the relationship between Free Speech
·6· ·warehouse or rents that space.· Who told you that Free      ·6· ·Systems and PQPR?
·7· ·Speech Systems doesn't have any interest in that            ·7· · · · A· · Right, but I can't testify to the inner
·8· ·warehouse?                                                  ·8· ·workings of PQPR.
·9· · · · A· · What do you mean doesn't have an interest in      ·9· · · · Q· · I'm just asking about -- I'm asking about their
10· ·the warehouse?· You mean we don't pay for it?               10· ·employee work force and I'm asking you whether you've
11· · · · Q· · Doesn't pay for it or doesn't have any            11· ·been informed that since PQPR was formed and started
12· ·ownership of that facility?                                 12· ·doing business with Free Speech Systems, PQPR has had its
13· · · · A· · I don't know that anybody told me that. I         13· ·own employee work force to manage the PQPR business?
14· ·mean, I see -- have seen all of the transactions between    14· · · · A· · I don't know.· I think so, but I'm not -- I
15· ·the two companies and what they're for.· I don't recall     15· ·don't know.
16· ·seeing any transactions for rent or rental space.· PQPR     16· · · · Q· · Okay.
17· ·bills us for product and, as you see, sometimes Free        17· · · · A· · I'm not sure.
18· ·Speech pays, sometimes they don't.· But I don't see         18· · · · Q· · You think somebody told you that?
19· ·anything in those documents to indicate that there is       19· · · · A· · I don't -- I don't think I had a specific
20· ·some type of ownership interest in the warehouse.           20· ·conversation with anybody about when and how long they've
21· · · · Q· · Okay.                                             21· ·been employing people and in what capacity; because, like
22· · · · · · ·So, I take it from your testimony that what       22· ·I said, that wasn't in my purview.· So -- but the
23· ·you're saying is if, in fact, Free Speech Systems was       23· ·intention has always been to have them be separate.· As
24· ·either paying rent or had some ownership interest in that   24· ·you could see from the finances, that wasn't always what
25· ·warehouse, you would have expected to see it in the         25· ·actually happened.· So, I don't want to say definitively


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·1· ·that there wasn't any crossover between employees;          ·1· ·best to do so.
·2· ·because I'm not sure.· And I didn't ask that specific       ·2· · · · Q· · You've testified about this in Texas; correct?
·3· ·question about whether in 2012, ten years ago, maybe,       ·3· · · · A· · I did, yes.
·4· ·free Speech employees were at PQPR.· I just don't know,     ·4· · · · Q· · And when was PQPR formed, approximately?· You
·5· ·so I don't want to mislead you and say I know when I        ·5· ·don't need to give me a specific date?
·6· ·don't.                                                      ·6· · · · A· · You know what, I don't recall.
·7· · · · · · ·Is that clear?                                    ·7· · · · Q· · Okay.
·8· · · · Q· · It is except now I want to want to go back to     ·8· · · · · · ·One of the reasons obviously that you're
·9· ·your earlier testimony.· I take it your testimony           ·9· ·required to testify about this is because you're here to
10· ·concerning the fact that PQPR employees now run all PQPR    10· ·testify in part about Mr. Jones's compensation;
11· ·business activities has to do with how -- the current       11· ·correct?
12· ·situation at PQPR?                                          12· · · · A· · Yes.
13· · · · A· · Well, no.· I mean, I don't think it's just the    13· · · · Q· · And when -- just give me one second.
14· ·current situation.· I mean, obviously the financial         14· · · · · · ·When PQPR was first formed, Mr. Jones exercised
15· ·situations currently there have been efforts made to make   15· ·a controlling interest in it through another corporate
16· ·sure that they're more separate, there's more delineated    16· ·entity; correct?
17· ·payments between the two, everything is a little bit        17· · · · A· · Yes.
18· ·more, you know, accounting-wise, up to speed.· But as far   18· · · · Q· · And what was that corporate entity called?
19· ·as the process goes, you know, the relationship between     19· · · · A· · I think it's called PLJR.· Like you said,
20· ·the employees there, I'm just not sure.· And I don't        20· ·alphabet soup.· So, I believe PLJR has a 80 percent
21· ·think it's something that's recent that's happened; so I    21· ·interest in PQPR.· PLJR is then owned by the AEJ Trust --
22· ·don't think that's correct.· But I just don't want to say   22· · · · Q· · Hold on a second.
23· ·that going back ten years whether any Free Speech           23· · · · A· · You want --
24· ·employees have never been employed at PQPR.· I just don't   24· · · · Q· · The AEJ Trust came on later; right?
25· ·know the answer to that.                                    25· · · · A· · Yes.

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·1· · · · Q· · So, at least -- I mean, is Free Speech Systems    ·1· · · · Q· · So, let's just start when it was formed; okay?
·2· ·prepared to say that, at least as of the initiation of      ·2· · · · · · ·And I think that you're on the right track.
·3· ·this lawsuit, the fulfillment that PQPR's maintained it's   ·3· · · · A· · There is a flowchart which I think you have
·4· ·own employee work force for the purpose of fulfilling all   ·4· ·which makes that easier to understand.
·5· ·of PQPR business activities?                                ·5· · · · Q· · I don't know if we have that.· I have seen it.
·6· · · · A· · Right.· They have their own employees.· I think   ·6· ·I believe that it was produced in Texas.· It's possible
·7· ·they always -- they've had their own employees.· I just     ·7· ·we have it.· But I'm not going to -- maybe Zach can find
·8· ·don't want to say whether or not there's been people        ·8· ·it at the break and --
·9· ·working at PQPR who've also worked for Free Speech. I       ·9· · · · · · · · · THE WITNESS:· If you don't have it, I have
10· ·just don't know the answer to that.· But they do maintain   10· · · · · · ·it, I'm pretty sure.
11· ·their own work force.· Yes.                                 11· · · · · · · · · MR. MATTEI:· Can you bring up the UHY
12· · · · Q· · Okay.· So -- and I totally understand that.       12· · · · · · ·Valuation, please.
13· ·There might be somebody who, at one point, worked for       13· ·BY MR. MATTEI:
14· ·Free Speech Systems and then works fork PQPR.· But fair     14· · · · Q· · I don't remember if I showed you this last
15· ·to say that if somebody is working for PQPR they are        15· ·time, Ms. Paz, but there's a valuation that was done, I
16· ·employed there; correct?                                    16· ·believe in -- I don't want it guess.· 2014?
17· · · · A· · Right.                                            17· · · · A· · I don't think I saw it last time.
18· · · · Q· · And that has been the case as far as you know     18· · · · Q· · Are you familiar with this document, a UHY
19· ·going back until --                                         19· ·Valuation of Free Speech Systems and PLJR?· No?· Okay?
20· · · · A· · As far as I'm aware, yes.                         20· · · · A· · Oh, is this it?
21· · · · Q· · I would like to talk about PQPR ownership;        21· · · · Q· · Why don't we go ahead and advance to -- you'll
22· ·okay?                                                       22· ·see a little table listing some -- no.· Keep going.
23· · · · A· · If I can help you with that --                    23· · · · · · ·So, you see there the valuation in 2014
24· · · · Q· · There's an alphabet soup.                         24· ·indicates that PQPR holdings began in September of 2013;
25· · · · A· · Yes.· If I can help you there, I will do my       25· ·do you see that?


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·1· · · · A· · I see that, yes.                                  ·1· ·of conversations or documents you've reviewed as
·2· · · · Q· · And at the time, PLJR holdings LLC held an 80     ·2· ·corporate designee; okay.· So, I know that you spoke
·3· ·percent ownership interest in PQPR; correct?                ·3· ·about this with Mr. Jones; right?
·4· · · · A· · That's what it says, yes.                         ·4· · · · A· · Yes.
·5· · · · Q· · And that's --                                     ·5· · · · Q· · What did Alex Jones tell about the purpose of
·6· · · · A· · That's still the case today.· Yes.                ·6· ·the AEJ Trust that was formed in 2018?
·7· · · · Q· · And at the time PLJR holdings was owned 90        ·7· · · · A· · That the purpose of it was estate planning for
·8· ·percent by Alex Jones; correct?                             ·8· ·the purpose of his children going forward.· So he put, as
·9· · · · A· · At the time of this?                              ·9· ·I said, some body -- some principal into the trust so
10· · · · Q· · Yes.                                              10· ·that it is for the benefit of your beneficiaries.· So,
11· · · · A· · That's what it says.· I've never seen this        11· ·that was the purpose of it.
12· ·document before, but --                                     12· · · · Q· · How was the AEJ 2018 Trust funded?
13· · · · Q· · Putting aside the document, I was doing this to   13· · · · A· · So, the AEJ Trust is funded, I believe the note
14· ·kind of help you --                                         14· ·is in the trust, so --
15· · · · A· · Orient me to the time?· I appreciate it, yes.     15· · · · Q· · Hang on a second --
16· · · · Q· · So, you know that when PQPR was formed, Alex --   16· · · · A· · Or one of the notes or maybe both of notes are
17· ·80 percent of it was owned by PLJR holdings and Alex        17· ·in the trust.
18· ·Jones held a 90 percent interest in PLJR correct?           18· · · · Q· · Just a second.· To be clear, you are referring
19· · · · A· · Yes.                                              19· ·to Exhibits 117 and 118 we looked at earlier; correct?
20· · · · Q· · Thank you.                                        20· · · · A· · Right.
21· · · · · · ·And that continued with that structure for how    21· · · · Q· · Both of those post date 2018; correct?· There's
22· ·long?                                                       22· ·an August 2020 note and a November 2021 note; right?
23· · · · A· · I believe it was until some time in 2018, which   23· · · · A· · Right, but those are the dates of the actual
24· ·I think that there were some restructuring and some         24· ·transactions.· Given my notes --
25· ·estate planning on Mr. Jones's part.· And so, he did some   25· · · · Q· · Hang on just a second.

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·1· ·estate planning in 2018.· So, probably about five years     ·1· · · · A· · Sure.
·2· ·after or four years after that.                             ·2· · · · Q· · Those notes were not in existence in 2018 when
·3· · · · Q· · So, in 2018, the ownership structure of PQPR      ·3· ·the trust was formed; correct?
·4· ·changed; correct?                                           ·4· · · · A· · Those documents were not; but if you look at
·5· · · · A· · I think that's when the trust was formulated;     ·5· ·the spreadsheets, the first note goes through the end of
·6· ·so yes.                                                     ·6· ·2018; so the -- for example, the first note is for 29.5
·7· · · · Q· · Which trust are you referring to?                 ·7· ·million dollars.· That note is calculated through the end
·8· · · · A· · I think it's AEJ 2018 Trust.                      ·8· ·of 2018 and so, that note is, I believe, in the body of
·9· · · · Q· · AEJ 2018 Trust?                                   ·9· ·the trust.
10· · · · A· · I believe that's what it's called, yes.           10· · · · Q· · Hang on one second?
11· · · · Q· · What was the purpose of that trust?               11· · · · A· · Sure.
12· · · · A· · Estate planning on Mr. Jones's part.              12· · · · Q· · So, what you're describing right now is a
13· · · · Q· · But what do you mean estate planning?· What do    13· ·spreadsheet that has been produced to us?
14· ·you mean by that?                                           14· · · · A· · Yes.
15· · · · A· · I mean, he created a trust for the benefit of     15· · · · Q· · That purports to show the accrual of some debt
16· ·his children as remaindermen and so, you put -- when you    16· ·owed by Free Speech Systems to PQPR; correct?
17· ·formulate any trust -- I mean, I'm not an estate planning   17· · · · A· · Right.
18· ·attorney, but I took trusts and estates in law school.      18· · · · Q· · And what you just described is that those
19· ·You put --                                                  19· ·spreadsheets showed debt running from some time in late
20· · · · Q· · Hold on a second, I'm not -- I don't want you     20· ·2018; correct?
21· ·to get into --                                              21· · · · A· · Running from or running to?
22· · · · A· · Okay, go ahead.                                   22· · · · · · ·There are two notes --
23· · · · Q· · -- your law school training.                      23· · · · Q· · I'm asking you.
24· · · · A· · Go ahead.                                         24· · · · A· · There are two notes --
25· · · · Q· · I want to know what you understand as a result    25· · · · Q· · I'm not asking about the notes.


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·1· · · · A· · Okay.                                             ·1· · · · Q· · And you have no idea what instrument affected
·2· · · · Q· · I'm asking about the spreadsheets you were        ·2· ·that transfer of debt to the trust; correct?
·3· ·referencing.                                                ·3· · · · A· · No, I have not seen a document like that.
·4· · · · A· · Yeah, the --                                      ·4· · · · Q· · Have you seen the trust formation document?
·5· · · · Q· · Because we can agree that the notes, the          ·5· · · · A· · No.
·6· ·documents, did not exist in 2018; correct?                  ·6· · · · Q· · What other assets were used to fund that trust?
·7· · · · A· · Per the dates on there, no.· Right.               ·7· · · · A· · To be honest, I'm not sure which -- what assets
·8· · · · Q· · Right.                                            ·8· ·are in there.· I know the note is not the only asset; but
·9· · · · · · ·And so, what I'm trying understand is when the    ·9· ·I'm not sure what other assets are in there?
10· ·trust was formed, it has to be funded with some asset;      10· · · · Q· · Okay.
11· ·correct?                                                    11· · · · · · ·So, the reason that we first started talking
12· · · · A· · Right.                                            12· ·about this trust is because you were responding to my
13· · · · Q· · And I think that what you were just beginning     13· ·question about a change in ownership structure of PQPR;
14· ·to try to tell me was that the debt owned by PQPR was one   14· ·right?
15· ·of the assets held by the trust; is that right?             15· · · · A· · Right.· Because when the trust was created,
16· · · · A· · Yes.                                              16· ·that changed.
17· · · · Q· · Okay.                                             17· · · · Q· · So, tell me how that changed?
18· · · · · · ·And how was that documented at the time so as     18· · · · A· · So, instead of -- I'm not sure if -- so, PQPR
19· ·to place that debt asset into the trust?                    19· ·is owned, in part, PLJR 80 percent, 10 percent of which
20· · · · A· · I don't know.· All I have is the note.            20· ·is owned by Carol Jones, who's Mr. Jones's mother; and
21· · · · Q· · Okay.                                             21· ·then 80 percent of that was, according to that other
22· · · · · · ·Who told you that the AEJ 2018 Trust was owned,   22· ·document, owned by Mr. Jones directly, but now it is
23· ·the debt, purportedly held by PQPR?                         23· ·owned by the trust.
24· · · · A· · I don't know that it owns the debt.· I think      24· · · · Q· · All right.
25· ·that it's in the trust as a part of the body of the         25· · · · · · ·So, let's go through that a little bit.

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·1· ·trust; but I think that conversation was one I had with     ·1· · · · A· · Sure.
·2· ·Mr. Roe back when I was in Texas.                           ·2· · · · Q· · PLJR was owned 90 percent by Mr. Jones
·3· · · · Q· · So, you don't know if the AEJ Trust owns the      ·3· ·personally and 10 percent by Carol Jones; correct?
·4· ·debt?                                                       ·4· · · · A· · Prior to 2018?
·5· · · · A· · I don't know -- PQPR owns the debt, right.· So,   ·5· · · · Q· · Yes.
·6· ·but the body of it is in the trust.                         ·6· · · · A· · I think so.· I think that's what that document
·7· · · · Q· · What does that mean?                              ·7· ·says, yes.
·8· · · · A· · I'm not an estate attorney.· I don't know. I      ·8· · · · Q· · And then, as a result -- and then PLJR had an
·9· ·can't break it down any further than that.· When I spoke    ·9· ·80 percent stake in PQPR; correct?
10· ·to Mr. Roe about this, I asked what was in the trust, in    10· · · · A· · Right.
11· ·the body of the trust, and it was the note.                 11· · · · Q· · And so, by virtue of his 90 percent stake in
12· · · · Q· · The note?                                         12· ·PLJR and PLJR's ensuing 80 percent interest in PQPR,
13· · · · A· · Right.· The note.· The debt.                      13· ·Mr. Jones personally had, indirectly, 80 percent
14· · · · Q· · The debt?                                         14· ·ownership of PQPR; correct?
15· · · · A· · Right.                                            15· · · · A· · Of PQPR?
16· · · · Q· · So, Mr. Roe told you that debt owned by PQPR is   16· · · · Q· · Yes.
17· ·one of the trust's assets?                                  17· · · · A· · I believe the total effective number would have
18· · · · A· · Right.                                            18· ·been in the 70s.· It's, like, 72 percent effective;
19· · · · Q· · As of 2018, when it was formed?                   19· ·because PQPR is owned 20 percent by Dr. and Mrs. Jones;
20· · · · A· · I don't know when it was put in there, but        20· ·and then 80 percent by PLJR who also has a 10 percent
21· ·that's one of the assets that's in there.                   21· ·interest to Carol Jones.· So, when you average out those
22· · · · Q· · Okay.                                             22· ·numbers, it's something like 72 percent.
23· · · · · · ·And you --                                        23· · · · Q· · Who did that math for you?
24· · · · A· · I think there are other ones in there, but I'm    24· · · · A· · Mr. Roe did that math for me.· I am very bad at
25· ·not sure.                                                   25· ·math.


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·1· · · · Q· · That's okay.· I wouldn't expect you to have       ·1· ·sure that everything was accounted for and paid.· So,
·2· ·done it.                                                    ·2· ·prior to that, I don't think that there was any clear
·3· · · · A· · Yes.                                              ·3· ·delineation.· And so, there have been efforts made over
·4· · · · Q· · So then, in 2018, I take it that your testimony   ·4· ·the last year to do that.· And so, I would assume Alex
·5· ·is that Mr. Jones transferred his personal ownership of     ·5· ·authorized it.
·6· ·PLJR to the AEJ Trust; correct?                             ·6· · · · Q· · Okay.
·7· · · · A· · To the trust, right.                              ·7· · · · · · ·You're not aware -- Free Speech Systems isn't
·8· · · · Q· · And so, whereas Mr. Jones, prior to 2018, had a   ·8· ·aware of anybody else who could authorize Free Speech
·9· ·72 some-odd percent indirect ownership interest in PQPR,    ·9· ·Systems to make $11,000 daily payment to another
10· ·now the AEJ 2018 Trust does; correct?                       10· ·corporate entity; correct?
11· · · · A· · Right.                                            11· · · · A· · No, I think Alex would have to authorize it.
12· · · · Q· · What instrument was -- have you seen any          12· ·He owns Free Speech.
13· ·documents reflecting that transfer of ownership?            13· · · · Q· · And Free Speech's testimony here today is that
14· · · · A· · I don't think so, no.                             14· ·those payments, beginning in November of 2021, were
15· · · · Q· · Did you ask?                                      15· ·motivated solely to pay down a debt Free Speech Systems
16· · · · A· · I don't remember if I asked or not to be          16· ·purportedly owed to PQPR; is that your testimony?
17· ·honest.                                                     17· · · · A· · That's my understanding of the purpose of the
18· · · · Q· · So -- and Mr. Jones told you specifically that    18· ·notes, yes.
19· ·that was done in order to benefit his children?             19· · · · Q· · And how did Free Speech Systems arrive at the
20· · · · A· · Right.· Because his children are remaindermen     20· ·$11,000 number?
21· ·in the trust.· So, yes.                                     21· · · · A· · I think it's based on the terms of the note.
22· · · · Q· · And what that means is that those children do     22· · · · Q· · Which note?
23· ·not receive any benefit from the AEJ Trust's ownership of   23· · · · A· · So, the first note is a 30-year note with a
24· ·PQPR until Mr. Jones passes; correct?                       24· ·balloon at the end.· But the second note is principal --
25· · · · A· · Right.· They don't currently receive any income   25· ·it delineates principal and interest.

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·1· ·from the trust.                                             ·1· · · · Q· · Why don't we pull them up.· Let's pull up
·2· · · · Q· · The trust does generate income; correct?          ·2· ·Exhibit 117, because I just saw you were referring to
·3· · · · A· · It is generating income, yes.                     ·3· ·your notes of your conversation with Mr. Schwartz;
·4· · · · Q· · How is it generating income?                      ·4· ·correct?
·5· · · · A· · It is generating income on the basis of the       ·5· · · · A· · Yes.· That's when he was explaining to me the
·6· ·notes that Free Speech pays to PQPR.                        ·6· ·notes and the agreement between the two notes.
·7· · · · Q· · Which started when?                               ·7· · · · Q· · All right.
·8· · · · A· · So, those payments, I believe, started at the     ·8· · · · · · ·So, we pulled up the first one.· This is dated
·9· ·end of last year, some time toward the end of last year,    ·9· ·August 13th, 2020, and tell me what Free Speech Systems'
10· ·maybe November.                                             10· ·understanding is of the purpose of this document and
11· · · · Q· · That is November of 2021?                         11· ·what, if any, obligations Free Speech Systems' undertakes
12· · · · A· · Right.                                            12· ·pursuant to it?
13· · · · · · ·So those payments are approximately $11,000 per   13· · · · A· · So, this looks like the first note for
14· ·business day from Free Speech to PQPR.                      14· ·approximately $29.5 million and it outlines the principal
15· · · · Q· · And the initiation of those payments of $11,000   15· ·balance, if you scroll down.
16· ·from Free Speech Systems to PQPR was initiated why?         16· · · · Q· · Let's do that.· Yep.
17· · · · A· · To pay down the debt between the two companies.   17· · · · A· · It also --
18· · · · Q· · Who authorized Free Speech Systems to begin       18· · · · Q· · Hang on.
19· ·paying that purported debt?                                 19· · · · · · ·Can you just identify what that is when you say
20· · · · A· · I would assume Alex did.                          20· ·principal balance; what is it you're referring to?
21· · · · Q· · Are you --                                        21· · · · A· · So, in Subsection B, it talks about the
22· · · · A· · I didn't ask, but there is a debt and it needed   22· ·principal balance, which is the 29.5 million and then
23· ·to be paid.· There were efforts made to make sure that      23· ·there's a percentage rate for interest on those days and
24· ·there was, you know, all of this financial entanglement     24· ·how they're calculated.
25· ·between the two companies to separate everything and make   25· · · · Q· · Let me stop you right there.


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·1· · · · A· · Sure.                                             ·1· ·not sure if you divide it up over 30 years at 1.5 percent
·2· · · · Q· · In -- I'm sorry.· Go up to the stop, please,      ·2· ·it comes out $11,000 per business day.· I just -- I'm not
·3· ·I'm sorry.                                                  ·3· ·sure.· So --
·4· · · · · · ·On August 13th of 2020, Free Speech Systems       ·4· · · · Q· · Did Free Speech Systems start making payments
·5· ·entered this note claiming to owe $29.5 million to PQPR;    ·5· ·on this note in August of 2020, immediately?
·6· ·correct?                                                    ·6· · · · A· · I don't know.
·7· · · · A· · Yes.                                              ·7· · · · Q· · Okay.
·8· · · · Q· · And it agreed to pay an interest rate, can you    ·8· · · · A· · I'm not sure.
·9· ·scroll back down, of 1.75 -- an annual interest rate of     ·9· · · · Q· · When did the $11,000 payments start?
10· ·1.75 percent on that principal; correct?                    10· · · · A· · I believe, based on my conversations with
11· · · · A· · Right.                                            11· ·Mr. Roe and Mr. Schwartz, those were happening towards
12· · · · Q· · All right.                                        12· ·the end of last year.· So, in 2021.
13· · · · · · ·And it agreed to do -- make monthly payments on   13· · · · Q· · So, Free Speech Systems today is not prepared
14· ·that principal and interest pursuant to this note?          14· ·to testify about any payments on this purported debt
15· · · · A· · I'm not sure if the monthly -- I'm sorry, daily   15· ·prior to approximately November of 2021; correct?
16· ·payments are outlined here.                                 16· · · · A· · Right.· I don't know if the payments had been
17· · · · Q· · I said monthly -- I meant daily.                  17· ·made prior to that.· I know they were definitely at the
18· · · · A· · Yeah, it's daily.                                 18· ·end of last year.· But I don't know if they had been made
19· · · · · · ·So, I don't know if the daily payments of the     19· ·prior to that.
20· ·$11,000 per number is in here.                              20· · · · Q· · All right.
21· · · · Q· · Is it your understanding that the daily $11,000   21· · · · · · ·So, you don't know then whether the AEJ Trust
22· ·payment equates to a principal and interest payment on      22· ·2018 had any income prior to the initiation of $11,000
23· ·this balance and interest rate set forth in this note?      23· ·payments in November of 2021; correct?
24· · · · A· · You mean when you divide it up, will it come up   24· · · · A· · Oh, you mean the income that's being -- that
25· ·to $11,000 a business day?                                  25· ·would be thrown off by the $11,000 per day?

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·1· · · · Q· · Yeah.· Really, what I'm asking is how did         ·1· · · · Q· · Right.
·2· ·Mr. Jones arrive at the $11,000 per day number and is it    ·2· · · · A· · So, I mean, there were payments being made
·3· ·based on this note executed in August 2020?                 ·3· ·between PQPR and Free Speech.· So, PQPR was billing Free
·4· · · · A· · I don't know how the $11,000 was arrived at. I    ·4· ·Speech during this entire time period and they were
·5· ·don't know if you divide it up and it comes out to          ·5· ·making payments, they just were not regular payments.
·6· ·$11,000 per day over the period of time.· Because --        ·6· · · · Q· · We're talking about payments from Free Speech
·7· · · · Q· · What's the term of this note?                     ·7· ·Systems to PQPR?
·8· · · · A· · Because the term of the note is 30 years.         ·8· · · · A· · Right.
·9· · · · Q· · Okay.                                             ·9· · · · Q· · And we're talking about PQPR payments then to
10· · · · A· · Because it expires in 2050.                       10· ·the AEJ Trust?
11· · · · Q· · Is Free Speech Systems' testimony that when it    11· · · · A· · Right.
12· ·entered this purported promissory note, that it was         12· · · · Q· · So, I'm focused right now just on paid income
13· ·agreeing to pay back the some $29.5 million with the 1.75   13· ·generated by the trust as a result of it's new ownership
14· ·interest rate over 30 years?                                14· ·in PQPR debt.
15· · · · A· · Right.                                            15· · · · A· · Right.
16· · · · Q· · But you don't know whether the $11,000 daily      16· · · · Q· · And what I hear you saying is that that income,
17· ·payment is toward the arrangement set out in this note?     17· ·as far as Free Speech Systems is prepared to testify
18· · · · A· · No, it is.                                        18· ·today, commenced in about November of 2021; correct?
19· · · · Q· · It is.                                            19· · · · A· · No.· Because Free Speech was still making
20· · · · A· · Those two notes total -- the $11,000 per          20· ·payments to PQPR.· They were just not the entire
21· ·business day is for both notes.· Right.                     21· ·payments; you understand?
22· · · · Q· · I see.                                            22· · · · Q· · I do, but what --
23· · · · · · ·Well, then --                                     23· · · · A· · So, those payments that Free Speech was making
24· · · · A· · I just don't know how they arrived at that        24· ·to PQPR, they would still be going into the balance of
25· ·figure.· If you are asking how they arrived at it, I'm      25· ·the trust; but you still have a debt on the note because


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·1· ·they're not paying the entire balance.· So, those           ·1· · · · · · ·let me just wrap this up, though.
·2· ·payments that Free Speech was making, although not the      ·2· ·BY MR. MATTEI:
·3· ·entire payments, would still be going into the body of      ·3· · · · Q· · Whatever income the trust is generating,
·4· ·the trust.· It was just not the $11,000.                    ·4· ·whether it be the $11,000 daily payments beginning in
·5· · · · Q· · But the trust, as I understand it, doesn't own    ·5· ·November 2021 or some additional income beyond that, none
·6· ·any part of PQPR other than the debt; right?                ·6· ·of that income is being paid to any of Mr. Jones's
·7· · · · A· · I don't think that's accurate because PLJR is     ·7· ·children; correct?
·8· ·owned 80 percent by AEJ Trust.                              ·8· · · · A· · That's right.· Yes.
·9· · · · Q· · But you understand if Free Speech Systems is      ·9· · · · Q· · It's being paid to Mr. Jones; correct?
10· ·making payments to PQPR, just in the regular course of      10· · · · A· · Mr. Jones is an income beneficiary of the
11· ·business?                                                   11· ·trust, yes.
12· · · · A· · Mm-hm.                                            12· · · · Q· · Are there any other income beneficiaries?
13· · · · Q· · That money -- is it your testimony that that      13· · · · A· · I don't believe so, no.
14· ·money, that is, money paid to PQPR in the regular course    14· · · · Q· · So, any income paid to the AEJ 2018 Trust as a
15· ·of business, flows as income to the trust?                  15· ·result of debt purportedly owed by Free Speech Systems or
16· · · · A· · Well, if you just do it -- if you look at -- I    16· ·any other income is directly for the benefit of
17· ·know you don't have the spreadsheet --                      17· ·Mr. Jones; correct?
18· · · · Q· · I would tell you that the AEJ Trust -- I don't    18· · · · A· · Mr. Jones is an income beneficiary of AEJ
19· ·have a spreadsheet, I don't think, that shows AEJ income.   19· ·Trust.
20· · · · A· · A flowchart.                                      20· · · · Q· · So he is the sole beneficiary of any income
21· · · · · · ·The flowchart -- I mean, we can try to pull it    21· ·that flows to AEJ Trust as a result of its ownership of
22· ·up at a break --                                            22· ·PQPR's debt; correct?
23· · · · Q· · Why don't we do that.· But what I'm focused       23· · · · A· · Through the trust, yes.
24· ·specifically on right now is cash income flowing to the     24· · · · · · · · · MR. MATTEI:· Why don't we take a break.
25· ·trust.· And I understand one source of it to be the         25· · · · · · · · · THE VIDEOGRAPHER:· We are off the record.

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·1· ·$11,000 debt payments beginning in November of 2021?        ·1· · · · · · ·The time is 11:35.
·2· · · · A· · That is one source, yes.                          ·2· · · · · · · · · · · · (Recess from 11:35 a.m. to
·3· · · · Q· · Thank you.                                        ·3· · · · · · · · ·11:50 a.m.)
·4· · · · · · ·What I am trying to understand is whether there   ·4· · · · · · · · · THE VIDEOGRAPHER:· We are now on the
·5· ·are -- there is any other income flowing to the trust;      ·5· · · · · · ·record.· The time is 11:50.
·6· ·and what you started to tell me was that regular payments   ·6· ·BY MR. MATTEI:
·7· ·to PQPR, in the course of business, are also flowing to     ·7· · · · Q· · Right before the break, Ms. Paz, you testified
·8· ·the trust.· But I'm not aware of -- and that seemed odd     ·8· ·that Mr. Jones is the sole beneficiary of any income
·9· ·to me.· That's what I'm trying to question you on.          ·9· ·flowing to the AEJ 2018 Trust; correct?
10· · · · A· · Maybe we can look at the flowchart at a break     10· · · · A· · Yes.
11· ·and maybe that will answer the question.· Because it's      11· · · · Q· · And as you sit here today, you are not aware of
12· ·hard to do it without looking at it.· So, I -- you know,    12· ·any other income to that trust other than the $11,000
13· ·if we could look at it.· I don't want to misstate           13· ·payments beginning in November 2021; correct?
14· ·anything.· If we can look at the flowchart and just make    14· · · · A· · Well, as I was saying earlier and, you know, I
15· ·sure.· But my impression was -- and I could be wrong --     15· ·don't know how -- I'm not a trust attorney, but I believe
16· ·was that 80 percent of PLJR is owned by the trust.· So,     16· ·there's other income flowing into the trust.· As I said,
17· ·80 percent then or not 80 percent, but in the 70s --        17· ·if Free Speech is making payments to PQPR not on the
18· · · · Q· · I don't want to you do, like -- I don't want to   18· ·notes and PQPR is owned 80 percent by PLJR, the income
19· ·you kind of sketch out here what you think might be --      19· ·flowing from PQPR to PLJR is 80 percent of that, would
20· · · · A· · Right, that's why I want to pull out -- I want    20· ·also then -- that would flow into the trust; but I'm
21· ·to pull up the --                                           21· ·basing that on what I see in these charts.· I'm not sure.
22· · · · · · · · · MR. REILAND:· Chris, can we take five        22· ·So.
23· · · · · · ·and --                                            23· · · · Q· · Which charts are you referring to?
24· · · · · · · · · MR. MATTEI:· Yeah, we can take a break.      24· · · · A· · I think they were just e-mailed.
25· · · · · · ·It's about time to take a break anyway.· But      25· · · · · · · · · MR. REILAND:· They were just disclosed.


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·1· · · · · · ·If you could pull those up.· I'm sure it would    ·1· ·percent of that income then would flow to PLJR, which, in
·2· · · · · · ·help.                                             ·2· ·turn, 90 percent is owned by the trust.
·3· · · · · · · · · MR. MATTEI:· Okay, so just for the record,   ·3· · · · · · ·So it would appear to me, at least by looking
·4· · · · · · ·during the break, Attorney Reiland sent our       ·4· ·at the charts, that those prior debts, yes, they are
·5· · · · · · ·office two charts which I believe but we'll       ·5· ·being paid $11,000 per day per the notes; but moving
·6· · · · · · ·confirm have not previously been produced to      ·6· ·forward for -- the businesses are still in operation and
·7· · · · · · ·us.· And those will be marked as what?            ·7· ·PQPR is still billing Free Speech and Free Speech is
·8· · · · · · · · · MS. SESHADRI:· 127 and 128.                  ·8· ·still paying on those invoices, that that income would
·9· · · · · · · · · MR. MATTEI:· Okay.                           ·9· ·also flow into the trust.
10· · · · · · · · · · · · (Plaintiff's Exhibit 127 was           10· · · · Q· · I take it as would any other income to PQPR
11· · · · · · · · ·marked for identification: Chart.)            11· ·from any source other than Free Speech Systems; correct?
12· · · · · · · · · · · · (Plaintiff's Exhibit 128 was           12· · · · A· · Sure.· If there are other sources of income.
13· · · · · · · · ·marked for identification: Chart.)            13· · · · Q· · So, I take it that Free Speech Systems'
14· ·BY MR. MATTEI:                                              14· ·testimony is that in addition to the $11,000 daily
15· · · · Q· · So, let's bring up 127 and 128.                   15· ·payment being made on this purported debt, all income
16· · · · · · · · · MR. CERAME:· Sorry to interrupt.· But        16· ·received in the ordinary course of business by PQPR flows
17· · · · · · ·briefly, if they were e-mailed to our office,     17· ·in accordance with its ownership structure, 72 percent to
18· · · · · · ·we didn't receive them.· So, if somebody at       18· ·the AEJ Trust; correct?
19· · · · · · ·Norm's office or your office make sure we         19· · · · A· · That would be my understanding, yes.
20· · · · · · ·receive them, I would appreciate it.· That's      20· · · · Q· · Of which Mr. Jones is the sole income
21· · · · · · ·all I wanted to --                                21· ·beneficiary?
22· · · · · · · · · MR. REILAND:· We can e-mail them to you.     22· · · · A· · That's correct.
23· · · · · · · · · MR. MATTEI:· Are we showing these?           23· · · · Q· · Okay.
24· · · · · · · · · MS. SESHADRI:· I'll show them.               24· · · · · · ·And so, since -- have you seen any of those
25· · · · · · · · · MR. MATTEI:· All right.                      25· ·numbers in terms of money beyond the $11,000 daily

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·1· ·BY MR. MATTEI:                                              ·1· ·payment flowing to the trust?
·2· · · · Q· · So, we have a document on Zoom right now IW Org   ·2· · · · A· · You mean other payments that were made from
·3· ·Chart No. 1, this is 127.· Is this the document you were    ·3· ·Free Speech to PQPR?
·4· ·referring to earlier, Ms. Paz, as suggesting to you that    ·4· · · · Q· · No, I mean income to the trust.· Because you've
·5· ·the AEJ 2018 Trust might have income in addition to the     ·5· ·established that $11,000 a day is flowing to the trust;
·6· ·$11,000 daily payments?                                     ·6· ·right?
·7· · · · A· · Well, this is one of two charts that I saw.       ·7· · · · A· · Ultimately, yes, through the other companies,
·8· ·But -- as I said, I'm not a trust attorney, just --         ·8· ·yes.
·9· · · · Q· · I don't want to you speculate.· I want you --     ·9· · · · Q· · Other than your general testimony regarding
10· · · · A· · But as I --                                       10· ·other PQPR income, have you seen any other documentation
11· · · · Q· · Hang on a second.                                 11· ·of income going to the trust?
12· · · · A· · Go ahead.                                         12· · · · A· · I haven't seen any documents related to what is
13· · · · Q· · Because I just want to -- Before you give your    13· ·in the trust.· So, no.
14· ·answer, I want to make sure you are mindful of the fact     14· · · · Q· · Okay.
15· ·that you're testifying to facts as Free Speech Systems.     15· · · · A· · And it wouldn't be the whole $11,000 per day,
16· ·So, I'm not asking you to infer or intuit anything.· I'm    16· ·just so we're aware, because Alex -- 20 percent of that
17· ·just asking you whether -- what the factual basis is for    17· ·is owned by David and Carol Jones, right, and then 10
18· ·Free Speech Systems' testimony that there may be            18· ·percent of that then would be -- go to Carol Jones.· So,
19· ·additional income to the trust.· Go ahead.                  19· ·it's not the entire $11,000 per business day.· But
20· · · · A· · Well, the factual basis would be looking at       20· ·ultimately yes, it would flow to the AEJ Trust of which
21· ·this chart, Free Speech Systems is owned by Mr. Jones;      21· ·Alex is an income beneficiary.· But I haven't seen any of
22· ·but PQPR is -- Free Speech is paying PQPR aside from the    22· ·those bank statements or anything related to the trust.
23· ·notes, right.· So, it has this debt from this previous      23· · · · Q· · And given that the PLJR retains an 80 percent
24· ·time period; but it is still paying PQPR going forward.     24· ·interest, as it has throughout, of PQPR, is Alex Jones,
25· · · · · · ·Those payments would flow to PQPR and then 80     25· ·through his income interest in the AEJ Trust, still in


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·1· ·operational control of PQPR?                                ·1· ·referring to.
·2· · · · A· · I don't know if -- you mean, does he -- I just    ·2· · · · Q· · Okay.
·3· ·want to clarify.· Do you mean does he have a say in the     ·3· · · · A· · Because that's what I reviewed in connection
·4· ·day-to-day operations of PQPR?                              ·4· ·with the deposition.
·5· · · · Q· · Yeah.                                             ·5· · · · Q· · I see.
·6· · · · A· · I don't know.                                     ·6· · · · · · ·So, are you referring to the summary of
·7· · · · Q· · That's one question.· And thank you for asking    ·7· ·intercompany transactions that we were looking at
·8· ·it of yourself.                                             ·8· ·earlier?
·9· · · · · · ·I take it Free Speech Systems' testimony is       ·9· · · · A· · Yes, I think that's what it's titled, yes.
10· ·that it does not know whether Alex Jones has any            10· · · · Q· · Why don't we pull that back up.· Do you have
11· ·day-to-day involvement in the operations of PQPR;           11· ·that in front of you?
12· ·correct?                                                    12· · · · A· · Yes.
13· · · · A· · No, because I can't testify as to the PQPR        13· · · · · · · · · MR. MATTEI:· What's the exhibit number on
14· ·operations because I don't represent them --                14· · · · · · ·this?
15· · · · Q· · I'm asking about --                               15· · · · · · · · · MS. SESHADRI:· 106.
16· · · · A· · But I don't know.· Right.                         16· ·BY MR. MATTEI:
17· · · · Q· · But let's just make sure we have a clear          17· · · · Q· · Is this the spreadsheet you were referring to
18· ·record.· Free Speech Systems is not aware of any            18· ·earlier, Ms. Paz?
19· ·involvement that Alex Jones has in PQPR's day-to-day        19· · · · A· · Yes, it is.
20· ·operations; correct?                                        20· · · · Q· · Am I to understand from your testimony that
21· · · · A· · Right.                                            21· ·Free Speech Systems is claiming that the debt it now
22· · · · Q· · Does Free Speech Systems know whether Alex        22· ·purports to owe to PQPR started accruing in December of
23· ·Jones has access to PQPR bank accounts?                     23· ·2014?
24· · · · A· · I don't know that, no.                            24· · · · A· · Yes.· That's what the spreadsheet indicates.
25· · · · Q· · Who is the trustee of the AEJ 2018 Trust?         25· · · · Q· · And what you have been told is that that is

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·1· · · · A· · You know, I feel like I asked this question and   ·1· ·when the debt started accruing; correct?
·2· ·I was told the answer, but I don't recall as I'm sitting    ·2· · · · A· · I don't know if I asked that specific question,
·3· ·here.· I'm sorry.                                           ·3· ·but these are the documents that were produced to me that
·4· · · · Q· · When did the debt, purportedly owed to PQPR by    ·4· ·I reviewed.· It indicates that.· So, yes.
·5· ·Free Speech Systems, first start to accrue?                 ·5· · · · Q· · And they were produced to us as well?
·6· · · · A· · So, if we could pull up the spreadsheets, that    ·6· · · · A· · Yes.
·7· ·would probably give us a more accurate answer.· But I       ·7· · · · · · · · · MR. MATTEI:· Can you take that down.
·8· ·think the spreadsheets start in 2012 or 2014.               ·8· ·BY MR. MATTEI:
·9· · · · Q· · Which spreadsheet are you referring to?           ·9· · · · Q· · Who authorized Free Speech Systems to begin to
10· · · · A· · That is the spreadsheet that analyzes the         10· ·go into debt to PQPR at that time?
11· ·transaction by year of -- between Free Speech and PQPR      11· · · · A· · What do you mean who authorized it?· I don't
12· ·through the end of 2018, resulting in that $29.5 million    12· ·know that it was ever a conscious decision.· PQPR was
13· ·figure for the first note.                                  13· ·sending us bills or sending Free Speech bills and we were
14· · · · Q· · Thank you.                                        14· ·not paying the entire of the bills -- the entirety of the
15· · · · · · ·So, you're referring to what would have been      15· ·bills.· I'm not sure the reason why.· I'm not sure if it
16· ·referred to in this litigation as Free Speech Systems's     16· ·was -- I don't think it was a conscious decision on
17· ·subsidiary ledgers; correct?                                17· ·anyone's part; but -- I don't know if -- I don't think I
18· · · · A· · I don't know if it's in the subsidiary ledger.    18· ·would use the word "authorized," but --
19· ·I'm not sure.                                               19· · · · Q· · Okay.
20· · · · Q· · Why don't we pull up the 2012 subsidiary          20· · · · · · ·So, this is helpful.· So, in 2014, PQPR is
21· ·ledger, I think you referred to it as a transaction         21· ·sending -- in December 2014 PQPR is sending Free Speech
22· ·report.· Let's pull it up.                                  22· ·Systems bills; right?
23· · · · A· · I was specifically referring to the spreadsheet   23· · · · A· · Yes.
24· ·that I think was produced for this deposition that          24· · · · Q· · As it had been prior to that?
25· ·Mr. Roe and/or Mr. Schwartz created.· That's what I was     25· · · · A· · Sure.


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·1· · · · Q· · But in December of 2014, Free Speech Systems      ·1· · · · Q· · Hang on a second.· Hang on a second.
·2· ·stops paying those bills in their entirety; correct?        ·2· · · · · · ·I thought you said they were sold on
·3· · · · A· · I don't know if they stopped, but most of the     ·3· ·infowarsstore.com and infowarsshop.com and you didn't
·4· ·bills were not being paid in their entirety.                ·4· ·know who own those websites?
·5· · · · Q· · What were those -- how was Free Speech Systems    ·5· · · · A· · I don't know who owns those websites, but
·6· ·billed?· Was it by paper invoice, by electronic             ·6· ·ultimately, all of those products are being sold via the
·7· ·submission?                                                 ·7· ·ads that link back to those websites.· I'm not sure who
·8· · · · A· · They were being invoiced, yes.· They were being   ·8· ·owns them.· But -- so, when you visit a website on the
·9· ·invoiced.                                                   ·9· ·InfoWars.com website, you visit any article and there are
10· · · · Q· · PQPR was causing invoices to be sent to Free      10· ·banners on those articles and it clicks and you can click
11· ·Speech Systems?                                             11· ·on that link to send you to the PQPR website to purchase
12· · · · A· · Right.                                            12· ·the products.
13· · · · Q· · Who was responsible for receiving and             13· · · · Q· · Okay.
14· ·processing those invoices at Free Speech Systems            14· · · · · · ·But that would be the advertising is money that
15· ·beginning in December of 2014?                              15· ·PQPR has to pay Free Speech Systems; right?
16· · · · A· · I don't know and I don't want to guess.           16· · · · A· · Right.· And if you watch -- if you read the
17· · · · Q· · And what were those -- at that time in December   17· ·spreadsheets, they are being given credit.· So, Free
18· ·2014 when this debt started accruing, what was Free         18· ·Speech is being given credits for those advertising.
19· ·Speech Systems being invoiced for from PQPR?                19· · · · Q· · I'm just asking you right now what PQPR was
20· · · · A· · For costs associated with the products, for       20· ·invoicing Free Speech Systems for?
21· ·purchasing the products.· So, PQPR purchases the            21· · · · A· · For products.
22· ·products, costs associated with housing the products.       22· · · · Q· · Hang on a second.
23· ·There also may have been some advertising costs in there.   23· · · · · · ·So, but is Free Speech Systems buying the
24· ·I know a couple of years there were advertising costs.      24· ·product from PQPR?· Because that I could understand,
25· · · · Q· · Hang on one second.· Hang on one second.          25· ·right.· Hey, you're buying this product from us, we're

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·1· · · · A· · Sure.                                             ·1· ·selling it to you, Free Speech Systems, pay us.· But
·2· · · · Q· · Let's start with the cost of the products.        ·2· ·that's not what I understood you to be staying.· What I
·3· · · · A· · Sure.                                             ·3· ·understood you to be saying is PQPR buys the products and
·4· · · · Q· · Why would Free Speech Systems owe PQPR for the    ·4· ·sells the products; right?
·5· ·cost of products that PQPR was responsible for buying and   ·5· · · · A· · PQPR, I believe, buys the products and then
·6· ·selling?                                                    ·6· ·stores the products and handles the sale end of the
·7· · · · A· · So, PQPR purchases the products and sells the     ·7· ·products and packaging the products.· But ultimately,
·8· ·products but they're billing for the product sales,         ·8· ·Free Speech pays PQPR for the product.· So, it is billing
·9· ·right; so all of the product sales would then be billed     ·9· ·Free Speech for the products.
10· ·to Free Speech, ultimately.                                 10· · · · Q· · So, do you understand why this is a little bit
11· · · · Q· · So -- but if PQPR's invoicing Free Speech         11· ·confusing -- might be a little confusing?· Because if
12· ·Systems, what you testified to is one of the invoice has    12· ·PQPR is being its product and then selling its product,
13· ·to do the cost of their products.· So, PQPR is saying you   13· ·what is Free Speech Systems getting when it pays for the
14· ·owe us because we bought this product?                      14· ·product?· Isn't the product going to the third-party
15· · · · A· · Mm-hm.                                            15· ·customer?
16· · · · Q· · Right?· Is that what you're saying?               16· · · · A· · Right, but the cost of the product is not the
17· · · · A· · I believe so.                                     17· ·same thing as what it is actually being sold for.
18· · · · Q· · So, why would Free Speech Systems have to pay     18· · · · Q· · So, why is Free Speech Systems paying for the
19· ·PQPR for PQPR's purchase of its own product?                19· ·cost of the product, why wouldn't PQPR pay for that?
20· · · · A· · Well, those products are being sold on the Free   20· · · · A· · I don't know the answer to that.· I'm just here
21· ·Speech Systems website, ultimately.                         21· ·to testify as to how it is.
22· · · · Q· · Yeah?                                             22· · · · Q· · So, Free Speech Systems' testimony is that
23· · · · A· · Right.                                            23· ·beginning -- is that one of the things it was invoicing
24· · · · Q· · I thought you said that they were sold on --      24· ·PQ -- I'm sorry.· Let me start over.
25· · · · A· · Well --                                           25· · · · · · ·Free Speech Systems' testimony is that one of


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·1· ·the things PQPR was billing it for was the cost of PQPR's   ·1· · · · Q· · Amongst other things, but I'm just focused now
·2· ·products; correct?                                          ·2· ·on the invoice piece.
·3· · · · A· · Right.                                            ·3· · · · A· · Right.
·4· · · · Q· · And those bills were coming in on a monthly       ·4· · · · Q· · Beyond the debt associated with Free Speech
·5· ·basis to Free Speech Systems?                               ·5· ·Systems not paying for the cost of products, Free Speech
·6· · · · A· · Yes.                                              ·6· ·Systems is not aware of any other source of any debt owed
·7· · · · Q· · What else was PQPR invoicing Free Speech          ·7· ·by Free Speech Systems to PQPR; correct?
·8· ·Systems for in December 2014?                               ·8· · · · A· · Right.
·9· · · · A· · I don't remember off the top of my head.· It      ·9· · · · Q· · Okay.
10· ·may have been billing them for --                           10· · · · · · ·So, thank you.
11· · · · Q· · I don't want you to guess.                        11· · · · · · ·Getting back to the question that started this
12· · · · A· · Right.· I don't remember looking at it. I         12· ·round then, I asked you who authorized Free Speech
13· ·would -- there are documents there that could refresh my    13· ·Systems to start to accrue this debt and I want to go
14· ·recollection, more specifically the spreadsheets.           14· ·back to that question.
15· · · · Q· · You mean the spreadsheet we were just looking     15· · · · · · ·Now, we know that PQPR is invoicing Free Speech
16· ·at?                                                         16· ·Systems for the cost of its products and Free Speech
17· · · · A· · Mm-hm.                                            17· ·Systems is not paying, or at least not paying in full;
18· · · · Q· · Okay.                                             18· ·right?
19· · · · · · ·Bring that up.· Do you have it?· Okay.            19· · · · A· · Right.
20· · · · A· · So, if you could see the debits, the product      20· · · · Q· · So, who made the decision at Free Speech
21· ·sales.· So, that's what I was saying that the -- that       21· ·Systems to stop paying?
22· ·PQPR is billing Free Speech for.· And then there are some   22· · · · A· · I don't know if it was ever a conscious
23· ·credits.· So --                                             23· ·decision.· So, I don't know if it -- I just -- I don't
24· · · · Q· · Hang on.                                          24· ·subscribe to the word "authorized" or -- you know, I
25· · · · · · ·If we're just sitting on the debits column,       25· ·don't know that it was ever a conscious decision on

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·1· ·right, this would be, presumably, money that PQPR claims    ·1· ·anyone's part.
·2· ·it is owed by Free Speech Systems; right?                   ·2· · · · Q· · Well, Free Speech Systems receives a bill as
·3· · · · A· · Yes.                                              ·3· ·you testified?
·4· · · · Q· · And the one source of that debt are product       ·4· · · · A· · Right.
·5· ·sales.· At least listed here; correct?                      ·5· · · · Q· · That bill either gets paid or it doesn't get
·6· · · · A· · Right.· At least listed here.                     ·6· ·paid; right?
·7· · · · Q· · And so, what I'm asking you is, beyond the        ·7· · · · A· · Mm-hm.
·8· ·spreadsheet, is -- can Free Speech Systems testify as to    ·8· · · · Q· · Who decides that?
·9· ·any other items for which PQPR was billing it or            ·9· · · · A· · I don't know.· I mean, Alex owns the company,
10· ·invoicing it beginning in December of 2014?                 10· ·so -- but I don't know if he was paying attention to it
11· · · · A· · PQPR billing Free Speech; right?                  11· ·that closely.· I didn't ask him.· So, I don't know.
12· · · · Q· · Correct.                                          12· · · · Q· · Was there any discussion between -- so, you
13· · · · A· · I can't tell by looking at this.                  13· ·said Alex Jones owns Free Speech Systems; right?
14· · · · Q· · Right.· Okay.                                     14· · · · A· · Yes.
15· · · · · · ·But beyond the spreadsheet, though?               15· · · · Q· · And the company to which the money was owed,
16· · · · A· · Yeah, I don't know.                               16· ·PQPR was, up until 2018, owned by Alex Jones through his
17· · · · Q· · Well, that's kind of important because one of     17· ·interest in PLJR; correct?
18· ·the issues you're here to discuss are the relationship      18· · · · A· · In part.
19· ·between the two entities and -- so, if we close the         19· · · · Q· · Well, in part owned by Alex Jones, but Alex
20· ·deposition today, Free Speech Systems' testimony will be,   20· ·Jones controlled the majority and controlling interest;
21· ·beginning in December of 2014, a debt started to accrue     21· ·correct?
22· ·to PQPR as a result of unpaid invoices for the cost of      22· · · · A· · He controlled the majority percentage, yes.
23· ·products purchased by PQPR; correct?                        23· · · · Q· · And so this is a situation where, beginning in
24· · · · A· · Right.· Minus other things.· So, but yes.         24· ·2014, one company owned by Alex Jones was deciding not to
25· ·Ultimately, yes.                                            25· ·pay another company in which Alex Jones was a majority


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·1· ·owner; correct?                                             ·1· · · · Q· · The documents that were --
·2· · · · A· · I just don't know how to came about, you know,    ·2· · · · A· · Yes, exactly, the notes that put into writing
·3· ·I don't know whether it was a conscious decision. I         ·3· ·the debts and the payments and the structure of the
·4· ·don't know how it came about.· But ultimately, the answer   ·4· ·repayment.
·5· ·is right, yes.· It wasn't one company was not paying        ·5· · · · Q· · Prior to August of 2020, when that first note
·6· ·another company the entirety of what was owed.              ·6· ·was executed, is Free Speech Systems aware of any efforts
·7· · · · Q· · Right.                                            ·7· ·made by PQPR to compel Free Speech Systems to pay it the
·8· · · · A· · Right.                                            ·8· ·amount it claimed to be owed?
·9· · · · Q· · Both owned by Alex Jones?                         ·9· · · · A· · Aside from the notes, I'm not aware of anything
10· · · · A· · In part.· PQPR.                                   10· ·else.
11· · · · Q· · Mr. Jones 100 percent owner of Free Speech        11· · · · Q· · You've never spoken to David Jones?
12· ·Systems; correct?                                           12· · · · A· · No, I've not spoken to Dr. Jones.
13· · · · A· · Yes.                                              13· · · · Q· · You mentioned several times that during the
14· · · · Q· · He is, as of this time, through his interest in   14· ·time period 2014 -- December 2014, when this purported
15· ·PLJR, 72-some percent owner of PQPR?                        15· ·debt started to accrue and 2020, when the first note was
16· · · · A· · PQPR, yes.                                        16· ·executed, there was a lot of what you described as
17· · · · Q· · And Free Speech Systems is not paying PQPR;       17· ·financial entanglement between the two companies;
18· ·correct?                                                    18· ·correct?
19· · · · A· · In its entirety, right.                           19· · · · A· · Right.· I mean, in my conversations with
20· · · · Q· · And so, did Alex Jones -- okay.                   20· ·Mr. Roe, it kind of seemed like that was the case and
21· · · · · · ·But Free Speech Systems is not prepared to say    21· ·that they've made efforts to make sure that everything is
22· ·who made the decision at Free Speech Systems to withhold    22· ·more separate and documented and runs more smoothly.
23· ·money for which it is being invoiced?                       23· · · · Q· · Those efforts, according to Mr. Roe, commenced
24· · · · A· · Right.· Like I said, I don't know if it was       24· ·in 2020?
25· ·ever a conscious decision.· I mean, as I'm sure you've      25· · · · A· · I'm not sure when they commenced.· I don't know

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·1· ·noticed throughout the entirety of the proceedings, there   ·1· ·honestly know.
·2· ·was a lot of financial entanglement between the two         ·2· · · · Q· · What were the nature of the financial
·3· ·companies.· There's no real hierarchical structure, at      ·3· ·entanglement -- of Free Speech Systems's financial
·4· ·least, at Free Speech.· People come and go a lot.· So,      ·4· ·entanglements with PQPR?
·5· ·like I said, I don't know whether there was a conscious     ·5· · · · A· · Well, I mean, this is one example of the
·6· ·decision.· I don't know how it happened or why.             ·6· ·invoicing and not being paid completely from one side
·7· · · · Q· · Let me ask the next question:· Why did Free       ·7· ·versus another.· So, efforts were being made to make sure
·8· ·Speech Systems begin to accrue this debt to PQPR?           ·8· ·that the debts were documented and re-paid.· So, that's
·9· · · · A· · The why is because it wasn't being paid.· But     ·9· ·one example.
10· ·the why as it wasn't being paid, the answer is I don't      10· · · · Q· · What other examples of entanglement were you
11· ·know.                                                       11· ·describing?
12· · · · Q· · So, is it Free Speech Systems' testimony that     12· · · · A· · I don't think -- I don't know of -- off the top
13· ·from 2014 to 2018 it racked up a, what, $29.5 million       13· ·of my head of any other ones.· This is obviously the
14· ·debt?                                                       14· ·biggest one.
15· · · · A· · Yes.                                              15· · · · Q· · Just unpaid invoices?
16· · · · Q· · And may have just done so unconsciously?          16· · · · A· · Well, it's $54 million worth of unpaid
17· · · · A· · I don't know why.· So, it may have been           17· ·invoices.
18· ·unconscious, it may have been conscious.· I just can't      18· · · · Q· · Yeah, actually, can you tell me how you get to
19· ·answer why.                                                 19· ·54 million.· Because we were just talking about, on this
20· · · · Q· · Is Free Speech Systems aware of anything that     20· ·spreadsheet as of December 2018, 29.5 million in debt.
21· ·PQPR attempted to do to compel Free Speech Systems to pay   21· ·Is the balance having accrued from 2018 to 2020?
22· ·it the money it was owed?                                   22· · · · A· · Right, so that would be on the second note.
23· · · · A· · Aside from the notes?· No.                        23· ·The second note is for 25.3 million.
24· · · · Q· · The notes meaning --                              24· · · · Q· · Ah.· Hang on a second.
25· · · · A· · Meaning --                                        25· · · · · · ·Let's do this, then.· Just to clear up then,


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·1· ·because I want to talk to you about the notes.              ·1· ·Speech Systems about this debt?
·2· · · · A· · Mm-hm.                                            ·2· · · · A· · I don't know if there were specific
·3· · · · Q· · 2014 through August of 2020, Free Speech          ·3· ·conversations between the two companies.· All I could say
·4· ·Systems is not aware of any efforts by PQPR to compel       ·4· ·is that they're calculating these debts and the first
·5· ·payment nor of any efforts by Free Speech Systems to make   ·5· ·note -- like, so, for example, if they weren't talking
·6· ·full payment on the debt that's purportedly owed;           ·6· ·about it prior to 2020, they would have just calculated
·7· ·correct?                                                    ·7· ·the end of this first note in 2020.
·8· · · · A· · Aside from the notes?                             ·8· · · · Q· · Ms. Paz, are you just kind of speculating about
·9· · · · Q· · The notes weren't until August of 2020.· I'm      ·9· ·that?
10· ·talking about the whole time before August of 2018;         10· · · · A· · I'm just saying, based on my conversations, if
11· ·right?                                                      11· ·you read my note, it says there was one at the end of
12· · · · A· · Well, that's when the notes were signed.· But I   12· ·2018 for $29.5 million.· That's based on my conversation
13· ·think it the debts were calculated -- so, the first note    13· ·with Mr. Schwartz.
14· ·is calculated through the end of 2018.                      14· · · · Q· · So, in 2020, they're looking back at all this
15· · · · Q· · Yeah.                                             15· ·money that they claim Free Speech Systems owes PQPR and
16· · · · A· · And then the second note is for after 2018.       16· ·they calculate whatever it is going back to 2018; right?
17· ·So, 2018 through 2020.                                      17· · · · A· · I don't know.· I understand what you're saying,
18· · · · Q· · Yes.                                              18· ·but I don't know.
19· · · · A· · So, I mean, it, at least, appears to me that      19· · · · Q· · I just want a clear answer to my question.· And
20· ·even though the note was executed in 2020, they were        20· ·I don't want any kind of inferences or speculation.
21· ·making these efforts at the end of 2018.                    21· · · · · · ·As Free Speech Systems designee, is Free Speech
22· · · · Q· · I just want to -- I want you to be able to        22· ·Systems aware of any negotiations of any kind regarding
23· ·testify here.· I'm not asking to you draw any inferences    23· ·this purported debt prior to August of 2020?
24· ·from the dates on which the notes were executed or the      24· · · · A· · I don't know.· Like I said.· I can only tell
25· ·time period that they purport to cover; okay?               25· ·you what my conversations were with Mr. Schwartz and

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·1· · · · A· · Well, I think you are making an inference that    ·1· ·that's what he indicated to me.
·2· ·it says because the date is 2020, that no effort was made   ·2· · · · Q· · So, Free Speech Systems' response to that
·3· ·prior to that.· But I don't think that's accurate.          ·3· ·question is no, it not aware of any; correct?
·4· · · · Q· · No.· I'm asking whether you're aware of any.      ·4· · · · A· · I don't want to say I'm not aware of any just
·5· ·I'm asking you whether -- Because I want to you tell me.    ·5· ·because, like I said, in my conversations with
·6· ·If, in fact, anybody associated with Free Speech Systems    ·6· ·Mr. Schwartz, the conversation was that the first note
·7· ·or PQPR attempted to negotiate in some way around this      ·7· ·was for the end of 2018, so I --
·8· ·accruing debt prior to August 2020, I want to know about    ·8· · · · Q· · I get it.
·9· ·it.                                                         ·9· · · · A· · So, I don't know if that means they were
10· · · · · · ·So, as you sit here today as Free Speech          10· ·happening in 2018.· So, it could be --
11· ·Systems's representative, can you testify in any way        11· · · · Q· · So, the answer is you don't know?
12· ·about any discussions between representatives of Free       12· · · · A· · Right.· It could be 2018; but I'm not sure.
13· ·Speech Systems or PQPR concerning the accrual of that       13· ·So --
14· ·debt prior to August of 2020?                               14· · · · Q· · Right.· So, Free Speech Systems is not aware of
15· · · · A· · Yes.                                              15· ·whether there were any negotiations or discussions
16· · · · · · ·What I'm saying is that the first note is         16· ·concerning this debt as between Free Speech Systems and
17· ·calculated through the end of 2018 and the first note,      17· ·PQPR prior to August of 2020; correct?
18· ·even though I understand what you're saying that the date   18· · · · A· · I don't know, right.
19· ·is August 2020, when I spoke to Mr. Roe and Mr. Schwartz,   19· · · · Q· · Thank you.
20· ·you know, they're calculating this at the end of 2020 and   20· · · · · · ·Now I want to talk about the notes.· So, let go
21· ·that's when the first note was going to be for $29.5        21· ·to this first note here.· If you can bring it up.
22· ·million.· So, it seems to me these conversations were       22· · · · · · ·So, August 13, 2020; right?· Do you have it in
23· ·happening in 2018.                                          23· ·front of you, Ms. Paz?
24· · · · Q· · So, did Mr. Roe or anybody tell you that, in      24· · · · A· · Uh-huh.
25· ·2018, there was any discussion between PQPR and Free        25· · · · Q· · I'm going to read the first paragraph:· This


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·1· ·promissory note is made as of the date first written        ·1· · · · A· · What do you mean how it was generated?· Like,
·2· ·above by and between Free Speech Systems, LLC, a Texas      ·2· ·who drafted it?
·3· ·limited liability company, 3005 South Lamar Boulevard,      ·3· · · · Q· · Correct.
·4· ·Suite D109-317, Austin Texas and PQPR Holdings Limited,     ·4· · · · A· · Oh, I don't know.
·5· ·LLC, a Nevada limited liability company, 100 Congress       ·5· · · · Q· · Okay.
·6· ·Avenue, 18th Floor, Austin, Texas; right?                   ·6· · · · · · ·Now, you see that David Jones signed on behalf
·7· · · · A· · I see that, yes.                                  ·7· ·of PQPR; correct?
·8· · · · Q· · And the signers of this note -- Can you scroll    ·8· · · · A· · Yes.
·9· ·down to the execution page -- are Alex Jones on behalf of   ·9· · · · Q· · And he purports to sign as a manager; correct?
10· ·Free Speech Systems; correct?                               10· · · · A· · That's what it says.
11· · · · A· · Yes.                                              11· · · · Q· · Do you know what the basis for his authority is
12· · · · Q· · And David Jones signs as the secured party on     12· ·to act as a manager on behalf of PQPR?
13· ·behalf of PQPR Holdings Limited, LLC; right?                13· · · · A· · Well, he has an ownership interest in it.
14· · · · A· · Yes.                                              14· · · · Q· · Okay.
15· · · · Q· · So, who represented Free Speech Systems in        15· · · · · · ·Is that what Free Speech Systems is contending
16· ·connection with this transaction?                           16· ·was the basis for him to sign on behalf of PQPR here?
17· · · · A· · Alex.                                             17· · · · A· · He can sign on behalf of PQPR.· He's -- has an
18· · · · Q· · Okay.                                             18· ·ownership I want in it.· I haven't seen the
19· · · · · · ·How do you know that?                             19· ·organizational paperwork for PQPR, so I don't know what
20· · · · A· · He signed as the managing member of Free          20· ·his official title is within that LLC.· So, I can't
21· ·Speech.                                                     21· ·really answer that question.
22· · · · Q· · Okay.                                             22· · · · Q· · Okay.
23· · · · · · ·So, you're basing that solely on the fact that    23· · · · · · ·As of this time, that is the time that this
24· ·his signature appears?                                      24· ·document was executed, Alex Jones, through -- as of this
25· · · · A· · Right.                                            25· ·time, that is August of 2020, Alex Jones, through his

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·1· · · · Q· · So, is it Free Speech Systems' testimony that     ·1· ·interest in the AEJ 2018 Trust, owned an approximately 72
·2· ·Alex Jones handled the negotiations around this             ·2· ·percent share of PQPR; correct?
·3· ·transaction, personally?                                    ·3· · · · A· · Right.· When you do the math out, that's what
·4· · · · A· · I don't know the answer to that.· I don't know.   ·4· ·it works out to.
·5· ·He would have had to sign it, he's the 100 percent owner    ·5· · · · Q· · Now, this particular note -- can we go back up
·6· ·of Free Speech.· Nobody else could sign it.                 ·6· ·to the top, please.
·7· · · · Q· · Nobody else could sign it, but obviously you      ·7· · · · · · ·This particular note pertained to a purported
·8· ·understand in a transaction involving $25 million,          ·8· ·debt of $29.588 million; correct?
·9· ·oftentimes parties are represented by counsel?              ·9· · · · A· · Yes.
10· · · · A· · Counsel, exactly.                                 10· · · · Q· · And that is the same amount reflected on that
11· · · · Q· · Correct?                                          11· ·spreadsheet we were looking at earlier, purporting to
12· · · · · · ·And you're not -- Free Speech Systems is not      12· ·document monies owed by Free Speech Systems to PQPR from
13· ·aware of whether Mr. Jones and Free Speech Systems were     13· ·December of 2014 through December of 2018; correct?
14· ·represented in these negotiations by counsel; correct?      14· · · · A· · Yes, I believe those two numbers are the same.
15· · · · A· · I don't know.                                     15· · · · Q· · But it's Free Speech Systems' testimony that it
16· · · · Q· · Is Free Speech Systems aware of any               16· ·was not aware whether Free Speech Systems started making
17· ·negotiations that occurred around this transaction?         17· ·payments on this note beginning in August of 2020;
18· · · · A· · You mean how the terms ultimately came to be?     18· ·correct?
19· ·I don't know.                                               19· · · · A· · Right.· I'm not sure.· I don't know the answer
20· · · · Q· · Yeah.                                             20· ·to that.· I know they were definitely at the end of last
21· · · · · · ·Is Free Speech Systems aware of whether there     21· ·year, but I don't know if they were before that.
22· ·was any negotiation around this transaction?                22· · · · Q· · Let's go to the second note.· Okay.· This is
23· · · · A· · I don't know.                                     23· ·the November 10, 2021 note.· And can you tell me what
24· · · · Q· · Is Free Speech Systems aware of how this          24· ·the -- why Free Speech Systems entered this particular
25· ·document was generated?                                     25· ·note in November of 2021?


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·1· · · · A· · So, after the 2018 -- so there was -- there       ·1· · · · Q· · And David Jones signs on behalf of PQPR;
·2· ·continues to be a balance from 2019 and 2020.· So,          ·2· ·correct?
·3· ·there --                                                    ·3· · · · A· · Yes.
·4· · · · Q· · Let me just interrupt you.                        ·4· · · · Q· · And similar to the August 2020 note, I take it
·5· · · · · · ·Meaning that from January of 2019 through even    ·5· ·that, your testimony is that you are not aware of whether
·6· ·the date of this note, November 2021, Free Speech Systems   ·6· ·Free Speech -- whether Alex Jones personally negotiated
·7· ·was continuing to not pay PQPR in full for the cost of      ·7· ·the terms of this instrument; correct?
·8· ·PQPR's products as PQPR was billing it for; correct?        ·8· · · · A· · Right.· I don't know.
·9· · · · A· · Right.· So, this wouldn't be through 2021         ·9· · · · Q· · And you're not aware of whether there was any
10· ·because 2021's books aren't closed yet.· So, there is no    10· ·negotiation around this particular instrument; correct?
11· ·analysis of 2021 for the year.· So, this would have been    11· · · · A· · I don't know either way, no.
12· ·for 2019 and 2020, so these were efforts that are being     12· · · · Q· · And you're not aware of the basis for David
13· ·made by the accountants to close out the books, right.      13· ·Jones' authority to sign on behalf of PQPR here; correct?
14· ·So, come to zero balances and have everything balance       14· · · · A· · Well, I don't represent PQPR, so I don't know
15· ·out.                                                        15· ·what their organizational structure is; so I don't know.
16· · · · · · ·So, they did that with the first note at the      16· · · · Q· · You said earlier when describing PQPR's online
17· ·end of 2018, and then for 2019 and 2020 they're             17· ·sales activity, you referred to a PQPR website.· What
18· ·continuing to try to balance everything out to get to       18· ·website is that?
19· ·that zero for the next year.· They see that there's this    19· · · · A· · I think you asked this question earlier and I
20· ·now $25.3 million debt.· So, instead of carrying that       20· ·said I wasn't sure what the name of the site is that it
21· ·debt over into the next year, they have the note.           21· ·links back to.· So, all of the ads that are on the Free
22· · · · · · ·But this wouldn't account for 2021.               22· ·Speech website link back to another website, but I'm not
23· · · · Q· · So, is it Free Speech Systems' testimony that     23· ·sure which site that is.
24· ·from January of 2019 through December of 2020, it accrued   24· · · · Q· · When you say linked back -- if I'm on
25· ·another 25.3 million in debt to PQPR?                       25· ·InfoWars.com; right?

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·1· · · · A· · Yes.                                              ·1· · · · A· · Yep.
·2· · · · Q· · And the basis for that debt was the same as it    ·2· · · · Q· · Free Speech Systems owns that; right?
·3· ·had been prior to January 2019, that is, failure to pay     ·3· · · · A· · Right.
·4· ·PQPR for the cost of PQPR's goods?                          ·4· · · · Q· · And I click on a link to an ad; right?
·5· · · · A· · Right.                                            ·5· · · · A· · Right.
·6· · · · Q· · Any other component of the debt that Free         ·6· · · · · · ·So, if you have, like, say, a banner at the
·7· ·Speech Systems is aware of?                                 ·7· ·top -- even the home page, there's banners on the home
·8· · · · A· · No.· I think that's pretty much it.               ·8· ·page.· So, if you click on that, mm-hm.
·9· · · · Q· · And the -- please scroll down.                    ·9· · · · Q· · So, there's a banner ad on the home page at
10· · · · · · ·Here in November of 2021, the interest rate       10· ·InfoWars.com for bone broth, let's say, just by way of
11· ·applying to this piece of debt is 1.8 percent; correct?     11· ·example?
12· · · · A· · Yes.· In paragraph B, yes.· That's what it is.    12· · · · A· · Okay, sure.
13· · · · Q· · And is this another 30-year term?                 13· · · · Q· · I click on that.· I get redirected to a
14· · · · A· · No.· This appears to be coming due on November    14· ·different website; right?
15· ·10, 2036.· So, it's a shorter term.· This would be a        15· · · · A· · Yes.
16· ·15-year payment.                                            16· · · · Q· · Where I can execute a purchase for that bone
17· · · · Q· · Yet, Mr. Jones signs this on behalf of Free --    17· ·broth; right?
18· ·Mr. Alex Jones signs this on behalf of Free Speech          18· · · · A· · Yes.
19· ·Systems; correct?                                           19· · · · Q· · Is that second website owned by PQPR?
20· · · · A· · Can we scroll down?                               20· · · · A· · I'm not sure who owns it.
21· · · · Q· · Yes.                                              21· · · · Q· · And you don't know what it is?· That is, you
22· · · · · · · · · MR. MATTEI:· Scroll down to the signature    22· ·don't know the domain name?
23· · · · · · ·page, please.                                     23· · · · A· · Right, right.
24· ·BY THE WITNESS:                                             24· · · · Q· · But is that what you were referring to as the
25· · · · A· · Yes.                                              25· ·PQPR website?


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·1· · · · A· · Yes.                                              ·1· · · · Q· · I mean -- I'm -- I'll just tell you Alex Jones
·2· · · · Q· · Okay.                                             ·2· ·testified two weeks ago that Free Speech Systems is
·3· · · · · · · · · THE WITNESS:· Is this a good point for a     ·3· ·engaged in a number of affiliate relationships with
·4· · · · · · ·break?                                            ·4· ·third-party vendors, let's say.· So, I'm just asking you,
·5· · · · · · · · · MR. MATTEI:· It may be.· I'm just trying     ·5· ·as Free Speech Systems's representative, whether you're
·6· · · · · · ·to see if there are a couple things I can wrap    ·6· ·prepared to testify about the nature of those
·7· · · · · · ·up quick because we are going to have to take a   ·7· ·relationships?
·8· · · · · · ·lunch.                                            ·8· · · · A· · You mean, like, affiliate relationships through
·9· · · · · · · · · Just give me one second, Ms. Paz.            ·9· ·advertising?· Because we do have some advertising
10· · · · · · · · · THE WITNESS:· Sure.                          10· ·relationships.
11· ·BY MR. MATTEI:                                              11· · · · Q· · What can you tell me about that?
12· · · · Q· · All right.                                        12· · · · A· · That's another topic.· I don't know if you want
13· · · · · · ·Did you review Dan Bidondi's deposition?          13· ·to wait until after lunch, but there are some
14· · · · A· · For today?· No.                                   14· ·spreadsheets that I believe were produced about the third
15· · · · Q· · But at any point?                                 15· ·parties that pay us for advertising on our various
16· · · · A· · I don't remember.· I may have, but I don't        16· ·platforms, so there are affiliate relationships regarding
17· ·remember.                                                   17· ·the advertising and the marketing.
18· · · · Q· · Let me see if I can refresh your recollection.    18· · · · Q· · Right.· Okay.· What other types of affiliate
19· · · · · · ·Do you recall reviewing Mr. Bidondi's testimony   19· ·relationships do you have?
20· ·that he has exchanged text communications with Rob Dew      20· · · · A· · I mean, I'm not sure.· It's a very open-ended
21· ·concerning this litigation?                                 21· ·question.
22· · · · A· · I don't recall.· Do you remember what the texts   22· · · · · · ·You know, I can testify as to advertising
23· ·were, maybe give me some context?                           23· ·third-party aspect of it.· We do have payments made to
24· · · · Q· · They haven't been produced to us.                 24· ·us, like, we have an Amazon shopping, right, so that
25· · · · A· · Oh, I don't know, I don't know.                   25· ·would be a third-party affiliate, I would consider it, so

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·1· · · · Q· · What is Rob Dew's current status with Free        ·1· ·we sell some of our products there.· And they pay us for
·2· ·Speech Systems?                                             ·2· ·those products.
·3· · · · A· · I did speak to Rob about this.· I think he may    ·3· · · · Q· · Does Free Speech Systems -- Does Free Speech
·4· ·be a contractor now, but I'm not a hundred percent sure.    ·4· ·Systems currently have any affiliate relationship with
·5· · · · Q· · This would have been a conversation you had       ·5· ·any entities in which Tim Fruge is involved?
·6· ·with Rob Dew going back to your first preparation.          ·6· · · · A· · I don't know.· I'm not sure.
·7· · · · A· · From my original, right.· Because I did have a    ·7· · · · Q· · All right.
·8· ·conversation with him for, like, two hours or so and I      ·8· · · · · · · · · MR. MATTEI:· Let's take our lunch break.
·9· ·know his employment status has changed so he might be,      ·9· · · · · · ·Is half an hour okay?· Would people like more?
10· ·like, an independent contractor now.· But I'm not sure.     10· · · · · · · · · MR. REILAND:· I would like 45 minutes.
11· ·But I can verify it for you.                                11· · · · · · · · · THE WITNESS:· Yeah, can we do a little
12· · · · Q· · What's Tim Fruge's current status with Free       12· · · · · · ·more than that.
13· ·Speech Systems?                                             13· · · · · · · · · MR. REILAND:· Until 2.
14· · · · A· · As with a lot of the people, they kind of come    14· · · · · · · · · THE VIDEOGRAPHER:· We are off the record,
15· ·and go out of good graces, as they say.· So, I believe      15· · · · · · ·the time is 12:42.
16· ·Tim is currently actively employed with Free Speech.· He    16· · · · · · · · · · · · (Recess from 12:42 p.m. to
17· ·stopped for a while, but I think he came back on.           17· · · · · · · · ·1:38 p.m.)
18· · · · Q· · Yeah, you reviewed his deposition; right?         18· · · · · · · · · THE VIDEOGRAPHER:· We are now on the
19· · · · A· · I believe I did.· I haven't reviewed it for       19· · · · · · ·record.· The time is 1:38.
20· ·today.· I think I read it back during my original           20· ·BY MR. MATTEI:
21· ·preparation.· But I didn't review it for today.             21· · · · Q· · Ms. Paz, at some point, did Free Speech Systems
22· · · · Q· · Does Free Speech Systems currently have any       22· ·set up a website for the purpose of soliciting donations
23· ·affiliate relationships?                                    23· ·to assist in its legal defense?
24· · · · A· · What do you mean?· Like, through the              24· · · · A· · I believe it did, yes.· I'm not sure of the
25· ·broadcasts?                                                 25· ·dates.


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·1· · · · Q· · And do you know what that website was?            ·1· ·cryptocurrency donations?
·2· · · · A· · Not off the top of my head, no.                   ·2· · · · A· · I can testify as to his compensation as listed
·3· · · · Q· · Does website SaveInfoWars ring a bell?            ·3· ·in the spreadsheet that I reviewed which does not contain
·4· · · · A· · I don't know, I'm not aware.                      ·4· ·any of that.· So, outside of the spreadsheet, no.
·5· · · · Q· · Do you know whether it was set up through         ·5· · · · Q· · Okay.
·6· ·GiveSendGo?                                                 ·6· · · · · · ·So, Free Speech Systems is not prepared to
·7· · · · A· · I don't know how it was set up.                   ·7· ·testify to any fact concerning his compensation beyond
·8· · · · Q· · Do you know who authorized that it be set up?     ·8· ·that which is set forth in the spreadsheet that was
·9· · · · A· · No.                                               ·9· ·produced in this case?
10· · · · Q· · You're aware obviously that Free Speech Systems   10· · · · A· · Well, it's Free Speech Systems's position that
11· ·solicited donations through The Alex Jones Show to that     11· ·represents all of Mr. Jones's compensation during those
12· ·fund; correct?                                              12· ·time periods.
13· · · · A· · Yes.                                              13· · · · Q· · Okay.· And which time periods does that cover?
14· · · · Q· · How much money has Free Speech Systems taken in   14· · · · A· · I believe that's through 2020 because, like I
15· ·as a result of -- Strike that.                              15· ·said earlier, our books for 2021 are not closed yet.· So,
16· · · · · · ·How much money has Free Speech Systems taken in   16· ·we don't have the numbers through 2020 -- through 2021,
17· ·through the Save InfoWars legal defense fund?               17· ·I'm sorry.· So, the numbers would end in 2020.
18· · · · A· · I don't know.· I don't think that was on the      18· · · · Q· · Well, Free Speech Systems is obviously aware
19· ·depo notice, so, I didn't look into it.                     19· ·what it paid Mr. Jones in 2021; correct?
20· · · · Q· · The reason I'm asking is because -- well, of      20· · · · A· · I mean, I'm sure they're in the general ledger,
21· ·course, Mr. Jones's compensation is on the depo notice;     21· ·but as I said, the books are not closed for that year.
22· ·correct?                                                    22· · · · Q· · But --
23· · · · A· · Yes, his compensation is.                         23· · · · A· · I can't testify to any numbers in 2021.· I have
24· · · · Q· · And you're aware of approximately $8 million in   24· ·not reviewed any numbers for 2021.· They are not
25· ·cryptocurrency donations that were made to Free Speech      25· ·available to me yet.

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·1· ·Systems during the spring of this year?                     ·1· · · · Q· · When you say they're not available to you yet,
·2· · · · A· · Donations to the fund?· Is that what you're       ·2· ·you're speaking as Free Speech Systems.
·3· ·asking?                                                     ·3· · · · · · ·Is it Free Speech Systems' testimony today that
·4· · · · Q· · Let me backup.                                    ·4· ·it is not capable of testifying as to any compensation it
·5· · · · · · ·Are you aware of any cryptocurrency donations     ·5· ·paid Mr. Jones in 2021?
·6· ·to Free Speech Systems during the spring of 2022?           ·6· · · · A· · As I sit here today, that's correct.· I cannot
·7· · · · A· · No.· I don't know either way.                     ·7· ·testify to anything --
·8· · · · Q· · So, let me see if I can just narrow this down.    ·8· · · · Q· · I'm not talking about you, personally--
·9· ·Free Speech Systems acknowledges that it set up a legal     ·9· · · · · · ·But is that because that information is not
10· ·defense fund for the purposes of soliciting donations to    10· ·available to Free Speech Systems or is that simply
11· ·assist in its legal defense in connection with this         11· ·because you, Brittany Paz, haven't been presented with
12· ·litigation; correct?                                        12· ·that information?
13· · · · A· · Yes, I'm aware that that exists.                  13· · · · A· · I don't think I could testify to anything for
14· · · · Q· · You're aware that Alex Jones has promoted that    14· ·numbers for a year that haven't been closed yet.· So, I
15· ·website and solicited donations to Save InfoWars;           15· ·don't think they are available to anyone not --
16· ·correct?                                                    16· · · · Q· · Let's just put it this way:· You haven't filed
17· · · · A· · Yes.                                              17· ·your taxes -- your personal taxes for 2022; correct?
18· · · · Q· · Free Speech Systems is not aware of whether it    18· · · · A· · Right.
19· ·received $8 million -- approximately $8 million in          19· · · · Q· · But you know that you've been paid by Free
20· ·cryptocurrency dough neighs earlier this year?              20· ·Speech Systems in 2022; correct?
21· · · · A· · Right.· I don't know.· I didn't prepare that      21· · · · A· · Sure.
22· ·question.                                                   22· · · · Q· · And the same is true for Mr. Jones.· Mr. Jones
23· · · · Q· · And Free Speech Systems is not prepared to        23· ·has not filed or has he filed his 2021 tax return?
24· ·testify today as to whether Alex Jones was compensated in   24· · · · A· · I don't know.· You would to have ask him.
25· ·any way as a result of cashing out of those                 25· · · · Q· · Okay.


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·1· · · · · · ·Has Free Speech Systems filed it's 2021 tax       ·1· ·not available.
·2· ·return?                                                     ·2· · · · Q· · He said -- Mr. Roe told they're not available?
·3· · · · A· · I don't believe so, no.                           ·3· · · · A· · Right.
·4· · · · Q· · But, regardless have whether its books have       ·4· · · · Q· · Did Mr. Schwartz tell you they're not
·5· ·been closed or the tax return has been filed, the reality   ·5· ·available?
·6· ·is, and you can testify to this, that, in 2021, free        ·6· · · · A· · I did speak with Mr. Schwartz about that, too,
·7· ·Speech Systems paid Mr. Jones compensation; correct?        ·7· ·yes.
·8· · · · A· · Yes.· I just don't know how much.                 ·8· · · · Q· · Did Mr. Schwartz tell that you information
·9· · · · Q· · The question I'm asking you is whether you        ·9· ·concerning Mr. Jones's compensation in 2021 was not
10· ·don't know how much because that information is not         10· ·available?
11· ·reasonably available to Free Speech Systems?· Can you       11· · · · A· · Right, because the books weren't closed yet.
12· ·testify under oath that is why you don't know?              12· · · · Q· · He said that as well?
13· · · · A· · That is correct.                                  13· · · · A· · Yes, I asked Mr. Schwartz.· He said the same
14· · · · Q· · That it's just not reasonably available to you?   14· ·thing.
15· · · · A· · I can't testify to any file numbers regarding     15· · · · Q· · Did you ask them -- I assume you asked them
16· ·2021 until our books are closed for that year.              16· ·about 2022 as well and they told you the same thing?
17· · · · Q· · Says who?                                         17· · · · A· · If 2021 wasn't available, I didn't even get
18· · · · A· · Says the accountants, says the attorneys,         18· ·that far.· But --
19· ·says -- I can't testify to anything in 2021.                19· · · · Q· · You didn't get that far?
20· · · · Q· · Okay, so let me just understand that.             20· · · · A· · I didn't even get that far.
21· · · · · · ·Have you been instructed not to testify           21· · · · Q· · If the Notice of Deposition requires to you
22· ·concerning Mr. Jones' compensation that was paid to him     22· ·testify as to any compensation paid to Alex Jones from
23· ·in 2021?                                                    23· ·the period 2012 through the date of deposition; correct?
24· · · · A· · I don't know how I can be instructed not do       24· · · · A· · That's what it says.
25· ·something when that information is not available to me.     25· · · · Q· · And you are not prepared to testify as to any

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·1· ·I can't testify to something that is not even available     ·1· ·compensation for 2021 and 2020; correct?
·2· ·to me.                                                      ·2· · · · A· · Right.· I'm not able to do that.
·3· · · · Q· · You haven't even looked; right?                   ·3· · · · Q· · An that's because you've been instructed both
·4· · · · A· · I asked what the most recent numbers we have      ·4· ·by Mr. Schwartz and Mr. Roe that that information simply
·5· ·available are and --                                        ·5· ·isn't available?
·6· · · · Q· · Let me stop you right there.                      ·6· · · · A· · Right.
·7· · · · · · ·Who did you ask what the most recent              ·7· · · · Q· · The explanation they gave you for why it wasn't
·8· ·compensation information for Mr. Jones is available for?    ·8· ·available is because Free Speech Systems hasn't closed
·9· · · · A· · I asked -- when I was speaking to Mr. Roe about   ·9· ·its books for either of those years?
10· ·it and Mr. Schwartz when we were going over the             10· · · · A· · Right.
11· ·spreadsheets and --                                         11· · · · Q· · What do you understand "close its books" to
12· · · · Q· · Let's start with Mr. Roe?                         12· ·mean?
13· · · · A· · Sure.                                             13· · · · A· · What I understand, obviously, I'm not an
14· · · · Q· · You asked Mr. Roe what's the most recent          14· ·accountant, but I understand that the numbers for that
15· ·compensation information we have available for Mr. Jones?   15· ·year are not finalized yet.· So, they need to go through
16· · · · A· · Yes.· And I was provided the spreadsheet.         16· ·and make sure everything adds up and everything balances
17· · · · Q· · You were provided the spreadsheet?                17· ·out and then the final numbers will come out.
18· · · · A· · Yes.                                              18· · · · Q· · Come out to whom?
19· · · · Q· · Did Mr. Roe tell you anything about -- did he     19· · · · A· · Be available.· I'm not sure what they do with
20· ·answer your question directly about what have the most      20· ·it.· I'm not an accountant, but that's what I understood
21· ·recent time peer for which compensation information was     21· ·it to mean.
22· ·available?                                                  22· · · · Q· · Okay.
23· · · · A· · Yes.· Because I asked him if we had 2021          23· · · · · · ·Let's go to Exhibit 108.
24· ·numbers and the information for 2021 and he said those      24· · · · · · ·This is the spreadsheet you were referring to
25· ·books -- the books aren't closed for 2021 yet, so it's      25· ·earlier regarding Mr. Jones's compensation?


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·1· · · · A· · Yes.                                              ·1· ·to Kelly be represented by the 2.06 million total listed
·2· · · · Q· · Who prepared this spreadsheet?                    ·2· ·in column L?
·3· · · · A· · I believe Mr. Roe prepared it.                    ·3· · · · A· · Right.· So, 2.064 million, that would be
·4· · · · Q· · He provided it to you?                            ·4· ·included in column G, the 50.515 million.
·5· · · · A· · Yes.                                              ·5· · · · Q· · So, of the 50.5 million that Mr. Alex Jones
·6· · · · Q· · Did he explain it to you?                         ·6· ·drew down during the years 2012 through 2020, 2.06
·7· · · · A· · Yes, we discussed it.                             ·7· ·million of that represented payments to Kelly Jones;
·8· · · · Q· · The total draws listed in column G, what do you   ·8· ·correct?
·9· ·understand the figures in that column to represent?         ·9· · · · A· · Right.
10· · · · A· · So, that would be his total draws -- so,          10· · · · Q· · Are you prepared to testify today about
11· ·there's two asterisks next to total draws and it's          11· ·Mr. Jones' tax liability as set forth in column J?
12· ·defined as amounts disbursed to or on behalf of Alex        12· · · · A· · I mean, aside from the federal taxes that he
13· ·Jones, including amounts paid to or on behalf of Kelly      13· ·paid, which are outlined in that column, are you asking
14· ·Jones; so, it would be all of the amounts that Alex         14· ·for anything outside of what we see here in the
15· ·earned for those years including his W-2 salary, also       15· ·spreadsheet?
16· ·including payments to Kelly Jones.                          16· · · · Q· · As I understand column J, what it purports to
17· · · · Q· · So, backup now.                                   17· ·indicate is that Mr. Jones's federal tax payments were
18· · · · · · ·There's a separate column for his W-2;            18· ·included in the draw that he received each year; correct?
19· ·correct?                                                    19· · · · A· · That the payments that he made to pay for tax
20· · · · A· · Right.· So, those are his wages.                  20· ·liability?
21· · · · Q· · Hang on a second.                                 21· · · · Q· · Right.
22· · · · · · ·So, is it your testimony that the W-2 salary      22· · · · A· · Right, that's how I read that, too.
23· ·listed in column E is also included in the total draw       23· · · · Q· · Is that true, though?· Look, I'm just reading
24· ·figures in column G?                                        24· ·it.· I have no association with Free Speech Systems.· Is
25· · · · A· · I'm not sure.                                     25· ·that, in fact, the case?

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·1· · · · Q· · Okay.                                             ·1· · · · A· · Federal tax included and draw -- yeah, so that
·2· · · · A· · That's how I read that but, honestly, I'm not     ·2· ·means to me that's the tax that he paid on the draw.
·3· ·sure.                                                       ·3· · · · Q· · Again, I want to be clear, I'm not asking to
·4· · · · Q· · Okay.                                             ·4· ·you interpret this document.· I'm asking to you testify
·5· · · · · · ·For example, if you take 2016, where Mr. Jones    ·5· ·as to what is, in fact, the case.· The document just is
·6· ·was paid, according to this spreadsheet, apparently a       ·6· ·up to help you; but you didn't prepare this document.
·7· ·salary of $181,925, you can't testify whether that amount   ·7· ·Your only knowledge on this is based on what Mr. Roe told
·8· ·is included in the 5.98 million he received as part of a    ·8· ·you; correct?
·9· ·draw or in addition to that number; correct?                ·9· · · · A· · That is fair.
10· · · · A· · Right.· I'm not sure.                             10· · · · Q· · So, let's take, for example, the year 2017.
11· · · · Q· · And you're not sure on that issue with respect    11· ·All right?· Mr. Jones is listed, according to this
12· ·to any of those years; correct?                             12· ·document, as having drew $6.79 million during that year;
13· · · · A· · Right.                                            13· ·correct?
14· · · · Q· · With respect to the -- assume with me for a       14· · · · A· · Right.
15· ·moment that the W-2 salary is in addition to the draw       15· · · · Q· · There is a column titled Federal Tax Included
16· ·amount listed in column G; okay?                            16· ·In Draw, and the number for that particular is 6.6
17· · · · A· · Okay.                                             17· ·million; right?
18· · · · Q· · It's your understanding that -- what is your      18· · · · A· · Right.
19· ·testimony as to what comprises that draw, excluding any     19· · · · Q· · So, what is the relationship between the 6.9
20· ·potential W-2 salary?                                       20· ·million listed in 2017 under column G and 6.6 million
21· · · · A· · So, the draws would be any amounts paid           21· ·listed in column J?
22· ·directly to Alex through Free Speech.· It is also           22· · · · A· · I'm not sure, just because it doesn't make
23· ·including any monies paid to Kelly, because Alex reported   23· ·sense for him to pay 6.6 million in federal tax on 6.9.
24· ·it on his income taxes as income to him.                    24· ·So, it doesn't -- so, I don't think that's the tax that
25· · · · Q· · And would that amount, that is the amount paid    25· ·he paid.· It might be the total compensation he paid tax


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·1· ·on, minus deductions.· But I'm not 100 percent sure about   ·1· ·listed in the general ledger; correct?
·2· ·that.· I'm not a tax attorney, so --                        ·2· · · · A· · For column G?· You mean how was this prepared?
·3· · · · Q· · You don't know; right?                            ·3· · · · Q· · Yes.
·4· · · · A· · I'm not sure.                                     ·4· · · · A· · Right, yeah, so he added the reference, so
·5· · · · Q· · And so, for example -- well, it sounds like       ·5· ·that's where he got the references for those numbers.
·6· ·you're not prepared to testify today about what the total   ·6· ·So, right, in our ledger, that's what the number of draws
·7· ·compensation was that Free Speech Systems paid to           ·7· ·is for him for that year.
·8· ·Mr. Jones in each of these years; correct?                  ·8· · · · Q· · So, according to this spreadsheet, there's only
·9· · · · A· · No, I can testify as to what he earned on his     ·9· ·two potential sources of compensation for Mr. Jones from
10· ·W-2 and the total draws.                                    10· ·Free Speech Systems during these years:· One is his W-2
11· · · · Q· · But you just testified earlier you don't know     11· ·salary and the other is his draw; right?
12· ·whether the W-2 information listed here is in addition to   12· · · · A· · Right.
13· ·the draw or included in the draw; correct?                  13· · · · Q· · Are there any other sources of compensation
14· · · · A· · I don't think it would be including in the        14· ·from Free Speech Systems for Mr. Jones during this time
15· ·draw, just because --                                       15· ·period?
16· · · · Q· · Ms. Paz, you need to testify under oath to a      16· · · · A· · I'm unaware of anything except for these two
17· ·fact here.                                                  17· ·sources of income.
18· · · · A· · Right, I'm not sure the difference, but --        18· · · · Q· · Is that a no?· Or is it an I don't know?
19· · · · Q· · In other words, can you tell me today with        19· · · · A· · When I asked what his income was, what Free
20· ·certainty, because you're under oath testifying as Free     20· ·Speech Systems paid to him total, this is what I was
21· ·Speech Systems; right?· Can you tell me today how much      21· ·provided.· So, this is what he was paid from Free Speech
22· ·total compensation Mr. Jones received from Free Speech      22· ·Systems.· Anything else was gained from -- if anything
23· ·Systems in any of the years 2012 through 2020?              23· ·else, was gained from other sources other than from Free
24· · · · A· · I'm just not sure whether or not the W-2          24· ·Speech.· This is what Free Speech paid to Mr. Jones.
25· ·numbers are included in the total draw numbers.· So, I      25· · · · Q· · This and only this?

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·1· ·mean, I can fine that out for you.· That's not a big        ·1· · · · A· · Right.
·2· ·deal.· But I'm not sure is the answer.                      ·2· · · · Q· · And that's based solely on what Mr. Roe told
·3· · · · Q· · So, the answer is you're not prepared today to    ·3· ·you?
·4· ·testify as to what Mr. Jones's total compensation was       ·4· · · · A· · Well, this is based on what Mr. Roe has gleaned
·5· ·from Free Speech Systems between the years 2012 and 2020;   ·5· ·from our general ledgers, from Free Speech's general
·6· ·correct?                                                    ·6· ·ledgers.· So, he reviewed the ledgers and prepared this
·7· · · · A· · As to that particular question, the answer is     ·7· ·spreadsheet on the basis of that.
·8· ·no.                                                         ·8· · · · Q· · Okay.
·9· · · · Q· · No, you're not prepared to testify to that?       ·9· · · · · · ·But you didn't conduct your own independent
10· · · · A· · I mean, I'm prepared to testify that he has       10· ·analysis of the general ledgers; correct?
11· ·drawn $50.5 million in the eight-year period.               11· · · · A· · No, no, I did not, no.
12· · · · Q· · You're prepared to testify that that's what       12· · · · Q· · So, what Mr. Roe represented to you was he had
13· ·that column says; right?                                    13· ·reviewed the general ledgers, he identified only two
14· · · · A· · Those are his total draws as per the general      14· ·sources of compensation to Mr. Jones from Free Speech
15· ·ledgers of how much he drew those years.                    15· ·Systems, those being his B-2 salary and his total draw;
16· · · · Q· · You are prepared to say he was compensated at     16· ·correct?
17· ·least $50.5 million; correct?                               17· · · · A· · Right.
18· · · · A· · Right.                                            18· · · · Q· · He then listed them out here; correct?
19· · · · Q· · But you can't testify what his total              19· · · · A· · Right.
20· ·compensation was for any of those years; correct?           20· · · · Q· · But Free Speech Systems cannot testify whether
21· · · · A· · I just don't know if the W-2 numbers are          21· ·or not the draw includes the W-2 salary?
22· ·included in that.· But I don't think so.· I think it        22· · · · A· · Right.· I'm just not sure of that aspect of it.
23· ·might be it's in addition to, but I'm not sure.· So, no.    23· · · · Q· · Free Speech Systems' testimony is that, at
24· · · · Q· · Is that the only -- well, let me -- so, you       24· ·most, Mr. Jones was compensated by Free Speech Systems
25· ·know that there was a number drawn from for Mr. Jones       25· ·approximately 53-plus-million dollars?


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·1· · · · A· · Right.· If you add the two columns.               ·1· · · · Q· · Who showed you Mr. Jones's tax returns or at
·2· · · · Q· · From 2012 to 2020?                                ·2· ·least a portion of it dealing with Free Speech Systems'
·3· · · · A· · Correct.                                          ·3· ·income?
·4· · · · Q· · And you're not prepared to testify to any other   ·4· · · · A· · I think that was when I met with Mr. Roe down
·5· ·sources of compensation Mr. Jones may have had other than   ·5· ·in Texas, he had shown me some of the taxes -- tax
·6· ·these two; correct?                                         ·6· ·returns.· It was just the portion dealing with Free
·7· · · · A· · Well, as far as Free Speech is concerned, these   ·7· ·Speech's income.
·8· ·are the only sources of compensation.                       ·8· · · · Q· · And you believe that was for two years?
·9· · · · Q· · So, let's just assume for a moment that the       ·9· · · · A· · I don't know how many years, I don't remember
10· ·information Mr. Roe gave you is accurate and therefore      10· ·which years.· I don't have copies of them.· I wasn't
11· ·your testimony is accurate?                                 11· ·provided with copies.
12· · · · A· · Right.                                            12· · · · Q· · Was anybody else present during that meeting?
13· · · · Q· · Separate from these two sources of information,   13· · · · A· · Attorney Blott.
14· ·you are not prepared to testify as to any other forms of    14· · · · Q· · Was it your -- did you discuss with Mr. Roe why
15· ·income Mr. Jones may have had; correct?                     15· ·he was not designated to serve as corporate
16· · · · A· · From sources other than Free Speech?              16· ·representative on the financial subjects listed in the
17· · · · Q· · Correct?                                          17· ·notice of deposition?
18· · · · A· · Right.· I don't know if he has other sources of   18· · · · A· · I think that's beyond my pay grade.· Those are
19· ·income other than Free Speech; that's correct.              19· ·internal discussions --
20· · · · Q· · And you asked as Free Speech Systems' corporate   20· · · · Q· · I'm just asking whether you discussed that with
21· ·representative for all information concerning Mr. Jones's   21· ·him?
22· ·compensation from Free Speech Systems; correct?             22· · · · A· · I didn't discuss it with him.
23· · · · A· · Right.                                            23· · · · Q· · During your testimony earlier in describing the
24· · · · Q· · And this is the spreadsheet that you were         24· ·accrual of debt owed by Free Speech Systems to PQPR, you
25· ·provided; correct?                                          25· ·testified that there were certain indications in the

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·1· · · · A· · Yes.                                              ·1· ·transaction reports, which I believe you've also referred
·2· · · · Q· · And this spreadsheet comprises the entirety of    ·2· ·to as general ledger, suggesting that money was owed by
·3· ·the information that you are relying in testifying          ·3· ·Free Speech Systems to PQPR.· Am I -- am I reorienting
·4· ·concerning his compensation; correct?                       ·4· ·you to that testimony?
·5· · · · A· · Right.                                            ·5· · · · A· · Yeah, yeah.· You mean the questions about how
·6· · · · Q· · Do you know who prepares Mr. Jones's personal     ·6· ·they arrived at those numbers for the notes?
·7· ·tax return?                                                 ·7· · · · Q· · I think I remember you indicating that the
·8· · · · A· · I do not.· I know that Free -- well, actually,    ·8· ·general ledgers included a general ledger account number
·9· ·strike that.                                                ·9· ·specifically for money owed to PQPR.· Was I making that
10· · · · · · ·I don't know who prepares it.                     10· ·up or did you testify to that?
11· · · · Q· · You're aware that Free Speech Systems does pay    11· · · · A· · I think I testified to a specific account
12· ·for certain tax services provided to Mr. Jones; correct?    12· ·number regarding the closed captioning.
13· · · · A· · That Free Speech pays for his accountant          13· · · · Q· · Ah.
14· ·services?                                                   14· · · · A· · That was what I specifically remember us
15· · · · Q· · His personal accounting services.                 15· ·talking about with a number.· So, when he asked
16· · · · A· · Oh, yes.                                          16· ·Mr. Schwartz about close captioning, he was able to
17· · · · Q· · Have you reviewed any of Mr. Jones's tax          17· ·pretty quickly pull up all the payments that were made
18· ·returns in connection with your work in this case?          18· ·foreclosed captioning because that has a specific account
19· · · · A· · I believe I was shown, when I was down in         19· ·number in the ledger and he just pulled up all the
20· ·Texas, although I do not have copies of it, one or maybe    20· ·transactions for that account number.
21· ·two years.· And because I believe Free Speech's income is   21· · · · Q· · When did Free Speech Systems first start
22· ·filed with Mr. Jones's personal return.· So, I was shown    22· ·recording in it's general ledger that it owed -- that it
23· ·those portions of the return in connection with that.       23· ·had a liability due to PQPR?
24· ·But I don't remember for which years.· I wasn't shown all   24· · · · A· · You mean, when it was recording or when they
25· ·ten years or whatever it is, eight years.                   25· ·noticed it or both, I guess?


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·1· · · · Q· · When did they first start accounting for it in    ·1· ·closed yet.· So, they closed out 2020.· So, it would have
·2· ·their general ledger?                                       ·2· ·been moving forward from 2021 on.
·3· · · · A· · I don't know the answer to that.· And only        ·3· · · · · · ·Does that make sense?
·4· ·because, like I said, there was a lot of financial          ·4· · · · Q· · Beginning in January of 2021, is when I guess
·5· ·entanglement between the two companies previously and       ·5· ·PQPR first started requiring that Free Speech Systems
·6· ·there has been recent efforts to disentangle it.· So, I'm   ·6· ·make timely payment on any invoices it received?
·7· ·not sure when they would have first started trying to       ·7· · · · A· · Well, I mean, I don't know if I would say
·8· ·figure it out and disentangle everything.                   ·8· ·requiring, but based on the invoice and we make sure we
·9· · · · Q· · When you say disentangle, the only things that    ·9· ·pay it just so going forward there's not an accrual of
10· ·they've done to disentangle that you're aware of is         10· ·more debt.
11· ·having executed those two promissory notes; correct?        11· · · · Q· · Who's in charge now of making sure those
12· · · · A· · Well, to try to figure out where money is going   12· ·payments are made timely?
13· ·and who owes what to who and for what.· So it's been a      13· · · · A· · You mean, who is processing those bills for
14· ·significant effort based on my conversations with Mr. Roe   14· ·payment now?
15· ·and Mr. Schwartz.                                           15· · · · Q· · Mm-hm?
16· · · · Q· · Tell me then beyond just Alex Jones and his dad   16· · · · A· · I believe it's Melinda.
17· ·executing those two promissory notes, what other work has   17· · · · Q· · Melinda Flores?
18· ·been done to disentangle the financial relationship         18· · · · A· · Right.
19· ·between Free Speech Systems and PQPR?                       19· · · · Q· · So, as I understand it, when you were using the
20· · · · A· · You mean aside from the payments on the notes     20· ·word entanglement, what you are describing is simply the
21· ·and going forward making sure that all of the amounts are   21· ·fact that Free Speech Systems was not paying money it
22· ·being invoiced and paid properly?                           22· ·owes to PQPR on a timely basis, is that what you're
23· · · · Q· · Hold on a second.                                 23· ·saying?
24· · · · A· · I don't know of anything else.                    24· · · · A· · Right.
25· · · · Q· · Okay.                                             25· · · · Q· · And because Free Speech Systems was not paying

                                                   Page 674                                                         Page 676
·1· · · · · · ·Well, let's just take those few things.           ·1· ·PQPR the money that PQPR was owed during that time, Free
·2· · · · · · ·One is you mentioned paying on the note.          ·2· ·Speech Systems was retaining, within its own account,
·3· ·Right?· So, one thing they have done, according to Free     ·3· ·money that PQPR was entitled to?
·4· ·Speech Systems is they have executed these promissory       ·4· · · · A· · Right.· So, the ledgers for those years would
·5· ·notes which require regular payments on the debt; right?    ·5· ·have indicated a loss, right, so it's still --
·6· · · · A· · Right, right, right.                              ·6· · · · Q· · A loss for whom?
·7· · · · Q· · That's one thing they've done.                    ·7· · · · A· · A loss for Free Speech.
·8· · · · A· · Right.                                            ·8· · · · · · ·So, our books -- the books were still
·9· · · · Q· · And according to Free Speech Systems, those       ·9· ·reflecting this money as being owed because we were
10· ·payments, as least as of November of 2021, are being        10· ·receiving the invoices, we were putting the invoices into
11· ·made?                                                       11· ·our account -- you know, into the books; and so, from
12· · · · A· · Right, right.                                     12· ·year to year, it's carrying over the debt.· So, instead
13· · · · Q· · What else have they done?                         13· ·of carrying that debt over from year to year, my
14· · · · A· · And then just, as I said, moving forward,         14· ·understanding is that's why they wanted to zero out the
15· ·making sure that the payments for future purchases are      15· ·books and make it into a note so that they were starting
16· ·being invoiced and then paid properly so we're not          16· ·from the following year at zero instead of at a negative.
17· ·progressively accruing more debt.                           17· ·So, that's why the first note was executed.
18· · · · Q· · Moving forward from what date has that been put   18· · · · Q· · I believe that your testimony is that Free
19· ·in place, wherein Free Speech Systems timely paid any       19· ·Speech Systems is not aware of any debt-related payments
20· ·invoices and bills sent by PQPR?                            20· ·it was making prior to November 2021; right?
21· · · · A· · So, that would be at the end of the second        21· · · · A· · Oh, you mean payments on the notes?· On that
22· ·promissory note period.· So, that would be at the end of    22· ·debt?· On that --
23· ·2020.· So, end of 2020 is when the second note -- So,       23· · · · Q· · Yes, yeah.
24· ·2021 was when the second note was signed but it would       24· · · · A· · -- on that $54 million.· I'm not sure when
25· ·have been for the end of 2020, right, because 2021 is not   25· ·those payments are.· I know for a fact they started in


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·1· ·November, but I don't know if there were any other          ·1· ·that was the response that I received.
·2· ·payments on that debt being made before that.· So, I        ·2· · · · Q· · Okay.
·3· ·don't know.                                                 ·3· · · · · · ·Well, you would agree with me that on January
·4· · · · Q· · I want to ask you some questions -- moving on     ·4· ·8th, 2013, John Baum was an employee of InfoWars;
·5· ·to a different topic, Ms. Paz.                              ·5· ·correct?
·6· · · · · · ·So Ms. Paz, I want to change topics now to        ·6· · · · A· · Yes.
·7· ·discuss the radio audience of Free Speech Systems.· And I   ·7· · · · Q· · He was one of the producers of The Alex Jones
·8· ·want to show you Exhibit No. 121.                           ·8· ·Show; correct?
·9· · · · · · ·Why don't we pull that up until we have it in     ·9· · · · A· · I don't remember if he was a producer but he
10· ·front of you, Ms. Paz.                                      10· ·was employed there in this time period, yes.
11· · · · A· · I see an e-mail.                                  11· · · · Q· · It's fair to say that Free Speech Systems does
12· · · · Q· · Okay.· I want you to just take a minute to        12· ·not dispute that as of January 28th, 2013, The Alex Jones
13· ·familiarize yourself with it.                               13· ·Show was airing an over 140 stations nationwide with a
14· · · · · · ·John@InfoWars.com is John Baum; correct?          14· ·daily listener base of 3 million?
15· · · · A· · I believe so, yes.                                15· · · · A· · I don't have any information that contests
16· · · · Q· · And Professor Tracy is Professor Jim Tracy who    16· ·that, no.
17· ·appeared on the Alex Jones show several times to discuss    17· · · · Q· · Other than Alex Jones, who did you speak to
18· ·Sandy Hook; correct?                                        18· ·regarding Free Speech Systems audience size?
19· · · · A· · Yes, I believe he did.                            19· · · · A· · I think I just spoke to Alex about it.
20· · · · Q· · You see that this e-mail is dated January 8th,    20· · · · Q· · Why don't you put up Exhibit 122.· Let's just
21· ·2013?                                                       21· ·scroll through this.
22· · · · A· · Yes.                                              22· · · · · · ·Ms. Paz, have you ever seen this document
23· · · · Q· · So, less than a month after the Sandy Hook        23· ·before?
24· ·shooting; correct?                                          24· · · · A· · I'm sorry, what is this?
25· · · · A· · Yes.                                              25· · · · Q· · I'll represent to you that this was produced as

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·1· · · · Q· · And Mr. Balm informs Mr. Tracy that Free Speech   ·1· ·a transcript of the June 19th, 2017, broadcast of The
·2· ·Systems was on over 140 stations nationwide with a daily    ·2· ·Alex Jones Show?
·3· ·listener base of 3 million, possibly more; right?           ·3· · · · A· · Okay.
·4· · · · A· · That's what the e-mail says.                      ·4· · · · · · ·I may have read something like this in a
·5· · · · Q· · Was that correct as of January of 2013?           ·5· ·different format.· The transcripts that I read of the
·6· · · · A· · I don't know.· I had this conversation with       ·6· ·shows were by Falzarano Reporters.· So, I may have read
·7· ·Alex and every time I talked to Alex about this, his        ·7· ·this transcript, but it was just in a different format.
·8· ·position is I'm free to air, I'm on -- you can listen to    ·8· · · · Q· · Okay.
·9· ·me online, you can listen to me anywhere, I'm on the air    ·9· · · · · · ·You see the Bates number at the bottom as
10· ·waves.· So, the entire plant is capable of listening to     10· ·having -- as this being a document that was produced by
11· ·him, it really difficult to narrow it down.                 11· ·Free Speech Systems?
12· · · · · · ·As far as this e-mail goes, it looks like what    12· · · · A· · Yes.
13· ·it's referring to is there are 140 stations that we air     13· · · · Q· · And so Free Speech Systems agrees that this is
14· ·on, and if you look at all of the stations and their        14· ·in fact a transcript of The Alex Jones Show on June 19th,
15· ·approximate listener base or how many people it's           15· ·2017; correct?
16· ·potentially reaching just based on where they're            16· · · · A· · That's what it appears, yes.
17· ·broadcasting, it's 3 million people.· So, that's what       17· · · · Q· · Directing your attention to page 8.· Go up --
18· ·that e-mail is saying to me.· But outside of what I see     18· ·so, now we are on page 7 going to page 8.· Go up a little
19· ·there and that what I just testified to, I can't say        19· ·further, please.
20· ·whether it's right or not.                                  20· · · · · · ·You see it, starting at 18:57, the transcript
21· · · · Q· · Well, you've been produced by Free Speech         21· ·reflects that Alex Jones is speaking?
22· ·Systems to testify concerning its audience.· That's one     22· · · · A· · Yes, that's what it says.
23· ·of the subjects listed in the Notice of Deposition.· You    23· · · · Q· · And if you go down.· If you see there where
24· ·know that?                                                  24· ·Mr. Jones is referring to a video that Mr. Michael
25· · · · A· · I do.· And I've made efforts to do that and       25· ·Cernovich published on his Facebook page concerning Megyn


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·1· ·Kelly; correct?                                             ·1· ·subsequent views that it may get after; right.
·2· · · · A· · That's what it looks like, yes.                   ·2· · · · Q· · Right.
·3· · · · Q· · And Mr. Jones reported to his audience that       ·3· · · · · · ·So, fair to say that according to Mr. Jones at
·4· ·according to Mr. Cernovich's internal analytics, which      ·4· ·this time, his Sunday broadcast was getting 2 million
·5· ·were contained on his phone and that Mr. Jones had          ·5· ·radio listeners on average; correct?
·6· ·viewed, the video had 4.5 million views and then another    ·6· · · · A· · That's what it says, yes.
·7· ·version had 2 million views on somebody else's channel;     ·7· · · · Q· · His week day broadcast was getting 4 million
·8· ·and our channel had a million views and then all my other   ·8· ·radio listeners; correct?
·9· ·videos together were over 15 million views; do you see      ·9· · · · A· · If he says it's half, double of that would be
10· ·that?                                                       10· ·four, so --
11· · · · A· · Yes.                                              11· · · · Q· · He actually says that.· But that's on
12· · · · Q· · You understand that Mr. Jones was discussing      12· ·commercial radio?
13· ·the total views of videos he had published concerning       13· · · · A· · A week day almost 4 million over the three or
14· ·Megyn Kelly; correct?                                       14· ·four hours that that's rated.· Yes, I see him saying
15· · · · A· · It says, All of my other videos together at 15    15· ·that, yes.
16· ·million views.· It's unclear how many videos he's talking   16· · · · Q· · And then he goes on and says, and then of
17· ·about; but the views of however many videos that is.        17· ·course there's the internet and live streams and
18· · · · Q· · Once again, if you go down to the next            18· ·everything else.· It's huge.· We're talking
19· ·paragraph, Mr. Jones said, so, with his views, referring    19· ·conservatively 45 million different people that tune in
20· ·to Mr. Cernovich, that's 22-plus million views in the       20· ·each week.· One away or the other, it affects 45 million
21· ·last week on videos we put out online; right?               21· ·people; right?
22· · · · A· · That's what it says.                              22· · · · A· · That's what he said, yes.
23· · · · Q· · Mr. Jones was essentially saying in the last      23· · · · Q· · And Free Speech Systems doesn't have any reason
24· ·week, Free Speech Systems videos had received 22 million    24· ·to dispute Mr. Jones's representation to his audience at
25· ·views; correct?                                             25· ·this time, in June of 2017, that he was reaching 45

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·1· · · · A· · Including Mr. Cernovich's video, right.· That's   ·1· ·million different people that tune in each week; correct?
·2· ·what it says.                                               ·2· · · · A· · No, I don't have any reason to dispute that.
·3· · · · Q· · Which Free Speech Systems republished.            ·3· · · · · · · · · MR. MATTEI:· Let's go to 123, please.
·4· · · · A· · Right, that's what it says.                       ·4· ·BY MR. MATTEI:
·5· · · · Q· · Can you keep going down, please.· A little bit    ·5· · · · Q· · You have in front of you, Ms. Paz, an e-mail
·6· ·further.                                                    ·6· ·from Scott Bronson, an InfoWars employee to Robert
·7· · · · · · ·You see going down further, Mr. Jones says to     ·7· ·Castaneda, also an InfoWars employee?
·8· ·his audience, Ladies and gentlemen, my Sunday show is       ·8· · · · A· · Yes, I see it.
·9· ·only half the size of my weekday broadcast, but I like to   ·9· · · · Q· · Why don't you just take a minute to review it
10· ·get ahead of the news.· It's got over 100 affiliates        10· ·and see if you can scroll down as Ms. Paz needs it.
11· ·conservatively according to the ad agencies that get the    11· · · · A· · Okay.
12· ·big spectrum of ratings that come in.· It has close to 2    12· · · · Q· · So, what was Mr. Bronson's role at Free Speech
13· ·million listeners on average that tune in.                  13· ·Systems at the time he sent this e-mail?
14· · · · · · ·He's talking about a Sunday broadcast; right?     14· · · · A· · Affiliate relations.
15· · · · A· · That's what it looks like.                        15· · · · Q· · Do you know that or are you just gleaning that
16· · · · Q· · Which he reports gets close to 2 million          16· ·from the e-mail?
17· ·listeners on average, which is half of what his week day    17· · · · A· · I'm gleaning it from the e-mail.
18· ·show would get; right?                                      18· · · · Q· · And what does that mean?
19· · · · A· · That's what it says.                              19· · · · A· · So, affiliate -- our affiliates would be
20· · · · Q· · And that's only on radio.· If you go down         20· ·whichever or however many stations we broadcast on.· So,
21· ·further, that doesn't include the Internet and live         21· ·this information is a summary of all of the platforms
22· ·streams; correct?                                           22· ·essentially that we broadcast on or that we are available
23· · · · A· · Right.· It looks like he's only talking about     23· ·to the public on and approximately how many people they
24· ·his Sunday broadcast.· So, it's not talking about -- His    24· ·reach.· And it looks like a break down of who -- the
25· ·Sunday broadcast being posted on YouTube and then the       25· ·types of people.


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·1· · · · Q· · And who is Mr. Castaneda?                         ·1· ·daily listeners to The Alex Jones Show?
·2· · · · A· · You know what, I'm not 100 percent sure of what   ·2· · · · A· · I don't have any reason to dispute it.· So, I'm
·3· ·his role was.                                               ·3· ·not -- talkers.com said it and we were subscribing to it
·4· · · · Q· · What about John Hanson, who is also copied on     ·4· ·in this e-mail.· So, no reason to dispute it as of that
·5· ·this e-mail?                                                ·5· ·date.
·6· · · · A· · I'm not sure just because also his function has   ·6· · · · Q· · As far as Free Speech Systems is concerned,
·7· ·shifted over time.· So, I'm not sure what function he had   ·7· ·that information is accurate; right?
·8· ·in this time period.                                        ·8· · · · A· · Right.
·9· · · · Q· · You agree with me that this e-mail was produced   ·9· · · · Q· · Right?
10· ·to the plaintiffs by the Jones defendants; correct?         10· · · · A· · Right.· Sorry, I don't think you heard me.
11· · · · A· · Can we scroll down just a minute, to the          11· · · · · · · · · MR. MATTEI:· Let's go to 124.
12· ·bottom?                                                     12· ·BY MR. MATTEI:
13· · · · · · ·Yes, it has a Bates stamp.· So, yes.              13· · · · Q· · I think what you will see, Ms. Paz, here is 124
14· · · · Q· · This is a Free Speech Systems e-mail?             14· ·is the actual One pager that was -- the contents of which
15· · · · A· · Right.                                            15· ·were being summarized in that e-mail.· Just take a look
16· · · · Q· · The information that Mr. Bronson was sending to   16· ·at 124.
17· ·Mr. Castaneda, he wanted to be put on the Affiliate One     17· · · · · · ·Would you agree with me that 124 is, in fact,
18· ·sheet; what's the Affiliate One sheet?                      18· ·the One pagers that was being described in the e-mail
19· · · · A· · The Affiliate One sheet is just a very brief      19· ·with the date contained in the e-mail now published on
20· ·summary of all of the affiliates and where we appear        20· ·the One page.
21· ·on -- across all of the different stations and broadcast    21· · · · A· · This doesn't have a date on it, but it was
22· ·systems and how many people we reach.· So, it's literally   22· ·produced by us, so it is one of our One pages.· I just
23· ·just a very short summary.· Almost like a resume.           23· ·don't know if it links specifically to that e-mail for
24· · · · Q· · One of the purposes of the Affiliate One sheet    24· ·that date.· But it is at least one of our Affiliate One
25· ·is to go out an recruit more affiliates to air The Alex     25· ·pages.

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·1· ·Jones Show by showing those affiliates just how broad his   ·1· · · · Q· · Okay.
·2· ·reach is; correct?                                          ·2· · · · A· · I just don't know if it links back to that
·3· · · · A· · Sure.                                             ·3· ·specific date, that specific e-mail.
·4· · · · Q· · It's also used to recruit potential advertisers   ·4· · · · Q· · I will represent to you that, according to the
·5· ·who may want to advertise against The Alex Jones Show to    ·5· ·meta data that was produced with this document, that it
·6· ·show those advertisers just how many people they can        ·6· ·was created an April 4th, 2018, which is just two days
·7· ·reach; correct?                                             ·7· ·after the e-mail we just reviewed.
·8· · · · A· · Sure.                                             ·8· · · · A· · Okay.· So, that makes sense.· Okay.
·9· · · · Q· · And according to Mr. Bronson's -- Strike that.    ·9· · · · Q· · And if that's the case, then if you see here on
10· · · · · · ·According to Free Speech Systems at this time,    10· ·the radio icon there, it indicates that similar to
11· ·at the time the e-mail was sent, Free Speech Systems had    11· ·e-mail, Free Speech Systems is reporting that as of April
12· ·a radio show that had 6 million daily listeners;            12· ·2018, it had 6 million listeners on it's AM and FM radio
13· ·correct?                                                    13· ·stations; correct?
14· · · · A· · The radio show, right, had 6 million listeners    14· · · · A· · Yes.
15· ·and there's an asterisk as to how they came to that         15· · · · Q· · As far as Free Speech Systems is concerned,
16· ·information.                                                16· ·that was accurate at the time?
17· · · · Q· · Do you want to explain that further as to how     17· · · · A· · Yes.
18· ·they came to that information?                              18· · · · · · · · · MR. MATTEI:· Finally, let's go down to
19· · · · A· · If we scroll town to what the asterisk said.      19· · · · · · ·Exhibit 125, please.
20· ·Okay.· So, that looks like information that they gleaned    20· ·BY MR. MATTEI:
21· ·from talkers.com to produce this particular One sheet.      21· · · · Q· · Just take a look at this e-mail, Ms. Paz, and
22· ·So, that's where it came from.                              22· ·when had you a chance to review it I'll ask some
23· · · · Q· · And Free Speech Systems -- does Free Speech       23· ·questions about it.
24· ·Systems acknowledge that as of the date of this e-mail,     24· · · · A· · Okay.
25· ·it did, indeed, have approximately 6 million individual     25· · · · Q· · All right.


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·1· · · · · · ·So, Tom Pappert, in November 2019, was a Free     ·1· ·BY MR. MATTEI:
·2· ·Speech Systems employee; correct?                           ·2· · · · Q· · This is Exhibit 2, Ms. Paz.
·3· · · · A· · Yes.                                              ·3· · · · A· · Mm-hm.
·4· · · · Q· · What was his role?                                ·4· · · · Q· · Do you see there under the first squiggly line
·5· · · · A· · Per this e-mail it looks like he was involved     ·5· ·there's the name Bob?
·6· ·in marketing.                                               ·6· · · · A· · Yes.
·7· · · · Q· · And Mr. Pappert, in this e-mail, is reaching      ·7· · · · Q· · Am I correct that that marks the beginning of
·8· ·out to Lisa@EverydayMedia for what purpose?                 ·8· ·your notes with your conversation with Mr. Roe?
·9· · · · A· · This looks like we were trying to formulate a     ·9· · · · A· · Yes.
10· ·relationship with Henry.· Henry is a manufacturer of a      10· · · · Q· · You had many -- not many, you had multiple
11· ·type of firearm.· So, this looks like the person who        11· ·conversations with Mr. Roe; correct?
12· ·would be in charge of such things, you know, such as        12· · · · A· · Yes.
13· ·advertising and such for Henry.· And so, it looks like he   13· · · · Q· · In this particular conversation, if you look at
14· ·was sending the contact person of who would be              14· ·the right-hand side of the page, it seems to indicate 70
15· ·responsible for that an e-mail to see if we could do        15· ·million in sales; correct?
16· ·business with them.                                         16· · · · A· · Yes.· Over 260 business days.
17· · · · Q· · And the business that Free Speech Systems was     17· · · · Q· · Okay.
18· ·hoping to do with Henry USA was to have Henry USA be --     18· · · · · · ·So, what were you recording there from your
19· ·purchase advertising on Free Speech Systems programming;    19· ·conversation with Mr. Roe?
20· ·correct?                                                    20· · · · A· · I think we were trying to figure out how to
21· · · · A· · Right.                                            21· ·quantify the sales that ultimately were done on, you
22· · · · Q· · In which it would advertise its firearms          22· ·know, via PQPR and had originated on InfoWars and figure
23· ·against Mr. Jones's programming; correct?                   23· ·out how that person got there.· In other words, from
24· · · · A· · Right.                                            24· ·where did they click to go and ultimately purchase items
25· · · · Q· · And at this time, which was a little over a       25· ·to try to figure out what amount of money, if any, Sandy

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·1· ·year after the e-mails we were just recently looking at,    ·1· ·Hook content had produced to Free Speech.· But I did not
·2· ·Mr. Pappert was representing that the Alex Jones show had   ·2· ·get a specific -- that's as specific as Bob was able to
·3· ·a 6 million daily radio listeners; correct?                 ·3· ·get for me.· I got a better answer from Blake; but when I
·4· · · · A· · That's what the e-mail says.                      ·4· ·asked Bob the question, that was the turn the
·5· · · · Q· · And Free Speech Systems acknowledges that that    ·5· ·conversation took.
·6· ·data was accurate as of November 2019, approximately?       ·6· · · · Q· · So, the question that you asked Mr. Roe was, in
·7· · · · A· · I don't have any reason to dispute it, so yes.    ·7· ·substance, is there any way to calculate PQPR sales in
·8· · · · Q· · Do you know whether Henry USA ever became an      ·8· ·relation to Free Speech Systems' publication of Sandy
·9· ·advertiser on any of Mr. Jones's programming?               ·9· ·Hook related content?
10· · · · A· · I don't know off the top of my head, but if you   10· · · · A· · Right, I was trying to link the Sandy Hook
11· ·would like to refer back to the spreadsheets, it would be   11· ·content to sales in some way.
12· ·on there.· The advertising income spreadsheets.· So, if     12· · · · Q· · What was he -- Did he offer a proposal for how
13· ·they are on there, then the answer is yes.· And if          13· ·you might do that?
14· ·they're not, then the answer is no.                         14· · · · A· · No.· The next sentence under that was no way to
15· · · · Q· · Where does Free Speech Systems currently do       15· ·determine which -- I'm not sure if that says likes or
16· ·it's banking?                                               16· ·generated clicks -- which links generated clicks.· So,
17· · · · A· · Most of our banking is done at Frost Bank,        17· ·that's as specific as he was able to get with me.
18· ·currently.                                                  18· · · · Q· · Okay.
19· · · · Q· · So, for example, all of Mr. Jones -- all of       19· · · · · · ·Thank you for explaining what that sentence
20· ·Free Speech Systems operating accounts are handled          20· ·was.
21· ·through Frost Bank; correct?                                21· · · · A· · Sure.
22· · · · A· · Yes.· I believe we did produce some               22· · · · Q· · But what about what appears to be some sort of
23· ·spreadsheets with the bank account information as well.     23· ·fraction indicating 70 million in sales over 260 days?
24· · · · · · · · · MR. MATTEI:· Why don't we bring up Ms.       24· ·What does that refer to?
25· · · · · · ·Paz's handwritten notes on the yellow note pad.   25· · · · A· · There was $70 million in sales over 260


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·1· ·business days.                                              ·1· ·able to produce a global analytics page of -- because
·2· · · · Q· · In which period?                                  ·2· ·when you click on an ad from a specific page -- so, for
·3· · · · A· · I don't know by looking at this.· I'm not sure.   ·3· ·example, say it was one of Adan's articles relating to
·4· · · · Q· · And then, if you go to the left where it says     ·4· ·Sandy Hook, on that page there are ads on the side.· If
·5· ·2,500 sales per day.· Is it your -- is that supposed to     ·5· ·you click on that ad and are taken to the PQPR website
·6· ·be the result of doing the division here?                   ·6· ·where everything is sold, where the products are sold,
·7· · · · A· · No, that's 2,500 total sales, not $2,500 of       ·7· ·the Google analytics will be able to track that that was
·8· ·sales.· So, it's 2,500 sales per day, totaling $70          ·8· ·the origin of the sale and there is a conversion.· So, he
·9· ·million over 260 days.                                      ·9· ·was able to produce to me a Google analytics page,
10· · · · Q· · But you have no idea what time frame this         10· ·although, I mean, I think it's been produced here, in
11· ·refers to?                                                  11· ·which it lists the Sandy Hook related content.· I believe
12· · · · A· · No, not by looking at this note, no.· I'm not     12· ·using search terms; and there was a dollar figure for how
13· ·sure what year we were talking about.                       13· ·much of a conversion there was, purchases from those
14· · · · Q· · Now, when Mr. Roe says, No way to determine       14· ·pages.
15· ·which links generated clicks, what is he referring to?      15· · · · Q· · Okay.
16· · · · A· · As I said, I think it's us talking about how to   16· · · · · · · · · MR. MATTEI:· Attorney Reiland, I don't
17· ·determine which content generated the conversion of sales   17· · · · · · ·know if we have that document.
18· ·on -- for the products.                                     18· · · · · · · · · MR. REILAND:· We'll get it for you.
19· · · · Q· · But Mr. Roe is just an outside accountant;        19· · · · · · · · · MR. MATTEI:· I'll need to --
20· ·right?                                                      20· · · · · · ·unfortunately, Ms. Paz, I'll to have keep the
21· · · · A· · Right.· Well, what I was asking him is, like,     21· · · · · · ·deposition open on this particular issue
22· ·is there any way for him to determine this.· And it         22· · · · · · ·because I'm not sure which Google analytics
23· ·didn't appear to me he was able to answer this question.    23· · · · · · ·document you were provided versus ones we were
24· ·So, like I said, I went somewhere else.                     24· · · · · · ·provided.
25· · · · Q· · So, Mr. Roe -- fair to say that following your    25· ·BY MR. MATTEI:

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·1· ·conversation with Mr. Roe, Mr. Roe was not able to          ·1· · · · Q· · Did you make a note of in that your notes that
·2· ·provide with you a satisfactory answer as to how you        ·2· ·you had shown me that Google analytics document?
·3· ·might go about calculating income in relation to the        ·3· · · · A· · I don't know.· I produced to you many pages of
·4· ·publication of content; correct?                            ·4· ·notes and then there were also the typewritten notes that
·5· · · · A· · Right.                                            ·5· ·I produced as well.· So, I'm -- I don't remember.· I did
·6· · · · Q· · Fair enough.                                      ·6· ·not read them before today.
·7· · · · · · ·You said, so you then went somewhere else.· Who   ·7· · · · Q· · Did he show you the document or --
·8· ·did you go to?                                              ·8· · · · A· · He did.
·9· · · · A· · I spoke to Blake Roddy.                           ·9· · · · Q· · Did he give you a copy of it?
10· · · · Q· · Okay.                                             10· · · · A· · No, I didn't have a hard copy, I believe.· So,
11· · · · · · ·Is that conversation in the notes you produced    11· ·at the time I was in Texas, this was in preparation for
12· ·today?                                                      12· ·my Texas depositions.· I believe he e-mailed it to
13· · · · A· · No.· The notes from today are based on a          13· ·Attorney Blott.· But I do recall seeing it.
14· ·telephone conversation I had with him, but I met him when   14· · · · Q· · Did you actually examine the document and
15· ·I was in Texas and I had a conversation with him in         15· ·confirm what he was --
16· ·Texas.                                                      16· · · · A· · Well, I talked to him about it, yes.
17· · · · Q· · Okay.                                             17· · · · Q· · And what Mr. Roddy told you is that this
18· · · · · · ·And Blake Roddy is who?                           18· ·particular document showed the number of sales that
19· · · · A· · Blake Roddy, as far as I'm aware, runs the        19· ·originated from somebody clicking on a link that appeared
20· ·advertising and marketing department.                       20· ·on a Sandy Hook related article on InfoWars.com?
21· · · · Q· · All right.                                        21· · · · A· · Correct.
22· · · · · · ·And you asked him what question?                  22· · · · Q· · It wouldn't have shown any income generated
23· · · · A· · So, I asked him if there was any way to           23· ·from sales during a time period when Mr. Jones was just
24· ·quantify how much money had been made in sales directly     24· ·talking about Sandy Hook; right?
25· ·as a result of Sandy Hook related content.· And he was      25· · · · A· · No.· So, it would have been on those particular


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·1· ·articles.· So, say Mr. Jones was talking about it on his    ·1· · · · Q· · So, is it Free Speech Systems' testimony that
·2· ·show and then somebody -- I mean, he talks about a lot of   ·2· ·it is unable to calculate the amount of revenue it earned
·3· ·topics on his shows, right.· So, I don't know if there's    ·3· ·as a result of its publication of Sandy Hook related
·4· ·a way to narrow down which particular topic drove a         ·4· ·content?
·5· ·person to the website.· But say just for argument's sake    ·5· · · · A· · No.· What I'm saying is the publication of
·6· ·somebody hears about Sandy Hook, they want to then go to    ·6· ·those articles I can directly link to a conversion to
·7· ·the website.· They go to the website and maybe they click   ·7· ·product sale.· But as far as Mr. Jones talking about it
·8· ·on the very first ad that's on the home page; and then      ·8· ·on the air, I don't think there's a way to quantify that.
·9· ·they are linked to purchase products.· I don't think        ·9· · · · Q· · Nor is --
10· ·there's a way for us to tell what drove them there just     10· · · · A· · But the Adan's articles, I can link those
11· ·because it's on the home page.· And if you look at the      11· ·because there's an ad on all those articles.· And if you
12· ·Google analytics the landing page is the most popular       12· ·click on that link and then subsequently purchase an
13· ·page, right.· There are hundreds and hundreds of pages.     13· ·item --
14· ·The landing page is the most popular page.· So, if people   14· · · · Q· · Even if you're just looking at that article and
15· ·are clicking on ads on the landing page, I don't think      15· ·then you back out of that article and you access
16· ·there's a way to determine that.                            16· ·infowarsstore.com or infowarsshop.com some other way, the
17· · · · Q· · So, your testimony is that your understanding     17· ·data you got wouldn't tell you whether that person had
18· ·of the document Mr. Roddy showed you was that it            18· ·encountered Sandy Hook related material and then
19· ·reflected Sandy Hook related articles that had been         19· ·purchased a product; correct?
20· ·published on InfoWars.com as identified by him and the      20· · · · A· · I can't say whether they had ever encountered
21· ·extent to which people had clicked on ads appearing in      21· ·Sandy Hook material at all.· So, they could have, they
22· ·those articles over a particular period of time; correct?   22· ·couldn't have.· You know, I don't know.· I don't know if
23· ·And whether those people had then --                        23· ·it's the same person, you know what I'm saying.· Somebody
24· · · · A· · Purchased --                                      24· ·could be directed to a website and then it not converted,
25· · · · Q· · -- bought something?                              25· ·back out and then read other material and then click it

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·1· · · · A· · That's my understanding of the document, yes.     ·1· ·from another link.· I don't know.
·2· · · · Q· · Do you know what the eighth most popular          ·2· · · · Q· · And Free Speech Systems also can't say whether
·3· ·landing page on InfoWars.com?                               ·3· ·people accessing Sandy Hook related content on social
·4· · · · A· · I think we talked about this last time. I think   ·4· ·media or YouTube then purchased from the store; correct?
·5· ·it's the Adan Salazar article, FBI says there were no       ·5· · · · A· · You mean, are there ads on the YouTube channel?
·6· ·homicides in Newtown for that year.                         ·6· · · · Q· · I'm not talking about ads.· I'm talking
·7· · · · Q· · Other than the conversation you had with          ·7· ·about -- you're aware, obviously, that Free Speech
·8· ·Mr. Roddy, the document he showed you, did you do any       ·8· ·Systems, as a matter of practice, attempted to maximize
·9· ·other work on this question of correlating revenue to       ·9· ·the visibility of its on at the point on social media;
10· ·Sandy Hook related content?                                 10· ·correct?
11· · · · A· · No, I think that's as specific as it's able to    11· · · · A· · Sure.
12· ·get just because, as I said, you know, if Alex is on the    12· · · · Q· · That included Sandy Hook related content;
13· ·air for three hours and he has a list of topics to talk     13· ·right?
14· ·about, you're not really sure if people are going to the    14· · · · A· · Well, all of its content.
15· ·website, what's driving them there -- which topic is        15· · · · Q· · Right.
16· ·driving them there.· So, I think that's as specific as      16· · · · · · ·So, getting back to this issue of whether Free
17· ·we're able to get with it.                                  17· ·Speech Systems is able to make any calculation concerning
18· · · · Q· · I'm just asking whether you did any further       18· ·the amount of revenue it realized as a result of it's
19· ·work, the answer is no?                                     19· ·publication of Sandy Hook related content.· I take it
20· · · · A· · Right.                                            20· ·that Free Speech Systems is not in a position to
21· · · · Q· · When did Mr. Roe first start doing work for       21· ·calculate the amount of revenue derived from people who
22· ·Free Speech Systems?                                        22· ·encountered Sandy Hook related content on social media
23· · · · A· · I don't recall when he was retained.· I'm         23· ·and then came to the store to purchase products;
24· ·sorry.· I did know at a point, but I don't remember as I    24· ·correct?
25· ·sit here.                                                   25· · · · · · ·I want you to be careful?


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·1· · · · A· · You guess it would depend on the platform.        ·1· ·FSS?
·2· · · · Q· · Let's take Facebook.                              ·2· · · · A· · Yes.
·3· · · · A· · Okay.                                             ·3· · · · Q· · Can you read the next two lines?
·4· · · · Q· · We went over these documents the last time.       ·4· · · · A· · You are asking me to interpret my handwriting.
·5· ·Billions of impressions on Facebook --                      ·5· ·That's difficult.
·6· · · · A· · Right.                                            ·6· · · · Q· · Not interpret yet, I just want you to read it.
·7· · · · Q· · -- for InfoWars; right?                           ·7· · · · A· · That's difficult, too.
·8· · · · A· · Right.                                            ·8· · · · · · ·Based on how many ads -- I'm not really sure
·9· · · · Q· · Correct?                                          ·9· ·after that -- Based on how many ads and on average
10· · · · A· · Right.                                            10· ·monthly about 566,000.· So, this is what PQPR pays to FSS
11· · · · Q· · InfoWars audience member accesses an article or   11· ·to market on our website?
12· ·a video on social media that Free Speech Systems            12· · · · Q· · Can you tell who gave you that information?
13· ·published concerning Sandy Hook; correct?                   13· · · · A· · It wasn't Daria.
14· · · · A· · Okay.                                             14· · · · Q· · Let's go down further then to see if there's
15· · · · Q· · Just stick with me.                               15· ·any context below that that might help, Ms. Paz.
16· · · · A· · Okay.                                             16· · · · A· · This might have been from my conversation with
17· · · · Q· · Does Free Speech Systems have any way of          17· ·Blake; because I spoke to him about he was explaining to
18· ·knowing whether that person, after having encountered       18· ·me that exit page -- wait -- yeah, that's a different
19· ·that material on social media, then came to InfoWars        19· ·person.
20· ·store to purchase a product?                                20· · · · · · ·He was explaining to me the Google analytics
21· · · · A· · Unless it was a direct link to the InfoWars       21· ·and how to read it.· So, if you look at it says we have
22· ·store to purchase the products or if it's, say, the post    22· ·two Google accounts, one is for the store?
23· ·says something to the effect of, you know, oh, here's       23· · · · Q· · Where are you?
24· ·Adan's article and then it link's to Adan's article and     24· · · · A· · In the middle of the page.· It says two
25· ·then from there they go and click on an ad, then I can      25· ·accounts.

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·1· ·track that.· But if it's a post that says, you know,        ·1· · · · Q· · Okay.
·2· ·check out Alex's, you know, broadcast today and it's a      ·2· · · · A· · So, one is the store where the products are
·3· ·link to a video with his broadcast and then a link from     ·3· ·sold and you could see where the traffic is coming from.
·4· ·there just to the general story, there's no way for me to   ·4· ·Right.· So, that's the basis of the prior testimony of,
·5· ·tell how or why they went to the store.                     ·5· ·you know, I can see how people are coming on to the store
·6· · · · · · ·But if it's -- like I said, if it's a link        ·6· ·to purchase items as long as they're clicking -- like,
·7· ·directly to the Sandy Hook content on the website, I        ·7· ·where they're clicking the ads from.· And then the
·8· ·would be able to track that.                                ·8· ·InfoWars website has its own separate Google analytics.
·9· · · · Q· · I'm talking about total revenue to Free Speech    ·9· · · · · · ·So, I believe this whole page is my
10· ·Systems brought in by people who encountered Sandy Hook     10· ·conversation with Blake.
11· ·related content.· Free Speech Systems is not able to        11· · · · Q· · Why do you have Zimmerman there?
12· ·calculate that total revenue in any way; correct?           12· · · · A· · He may have -- he may have come up in the
13· · · · A· · Unless it's a specific link from a specific       13· ·conversation.· But I didn't put anything after that, so
14· ·article, then no.                                           14· ·I'm not really sure what we were talking about.
15· · · · Q· · Can you go down to page 13 of that exhibit,       15· · · · Q· · It's your testimony that Blake Roddy told you
16· ·please.                                                     16· ·that PQPR was paying Free Speech Systems approximately
17· · · · · · ·Before we get there -- Are you there?· Okay.      17· ·$566,000 a month to advertise products on Free Speech
18· · · · · · · · · THE WITNESS:· Can we take a bathroom break   18· ·Systems platforms?
19· · · · · · ·at some point?                                    19· · · · A· · I mean, again, this is just based on my notes.
20· · · · · · · · · MR. MATTEI:· Yeah.· Let me ask these next    20· ·That's what I think.· But I'm not 100 percent sure.
21· · · · · · ·two questions; is that okay?                      21· · · · Q· · Do you have a time frame?
22· · · · · · · · · THE WITNESS:· Sure.· Yup.                    22· · · · A· · It just says monthly.· So, every month.
23· ·BY MR. CERAME:                                              23· · · · Q· · So, you don't know whether that was every month
24· · · · Q· · If you look at the top of page 13, you see        24· ·during 2020 or every month from 2012 to 2020?· You have
25· ·there your note marketing and then PQPR with an arrow to    25· ·no idea?


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·1· · · · A· · I don't know.· But it will be on the ledger.      ·1· · · · Q· · What I'm asking you is in 2013, let's just take
·2· ·So, like, for the primary spreadsheet that we were          ·2· ·2013 for an example.· In 2013, was it being recorded in
·3· ·looking at earlier, I can't remember the exhibit number     ·3· ·Free Speech Systems's general ledger in realtime that
·4· ·it was on, but if you look on that, the credits that Free   ·4· ·PQPR owed Free Speech Systems money for advertising that
·5· ·Speech was given from PQPR, those are on there.· So that    ·5· ·had not been paid?
·6· ·would have included these credits for marketing.            ·6· · · · A· · I don't think there was -- I don't know that
·7· ·Because, remember, Free Speech owes PQPR money for the      ·7· ·there was an expectation that they pay it.· I think that
·8· ·product, but PQPR owes Free Speech money for the            ·8· ·at the time there was an expectation that the account get
·9· ·advertising.· So, on that spreadsheet, Free Speech is       ·9· ·credited.· So, all of that was being done in realtime.
10· ·being given a credit for that advertising on that sheet.    10· ·Like, so, PQPR were sending these invoices, we were
11· · · · Q· · Is it Free Speech's position that the credits     11· ·updating our ledger that we owed this money to PQPR, and
12· ·reflected in that spreadsheet concerning transaction        12· ·we were also updating our ledger that owed us
13· ·between Free Speech Systems and PQPR were not actual        13· ·for accounting -- or --
14· ·payments but simply credits?· Do you know what I mean by    14· · · · Q· · Is Free Speech Systems sending PQPR invoices
15· ·that?                                                       15· ·for the advertising that PQPR had done on Free Speech
16· · · · A· · That's what it appears to me when I asked         16· ·Systems platforms?
17· ·Mr. Roe about that question, he said that instead of for    17· · · · A· · I believe so, yes.· I did much a conversation
18· ·that time period --                                         18· ·with Mr. Roe at some point, basically about how the
19· · · · Q· · Which time period are wing talking about?         19· ·advertising is calculated.· And there is a formula.· I'm
20· · · · A· · From 2012 to 2018, for that particular            20· ·not sure if there's a spreadsheet on it.· I may have seen
21· ·spreadsheet they were being given credits.                  21· ·a spreadsheet.· But it's basically cost per click or
22· · · · Q· · Okay.· So, let me --                              22· ·costs per ad or banner on the website.· So, there was a
23· · · · A· · And -- okay, go ahead.                            23· ·way in which they were calculating these things and
24· · · · Q· · Let me just ask the question then.· From 2012     24· ·billing them out to PQPR.
25· ·to 2018, Free Speech Systems didn't receive any cash        25· · · · Q· · But my question was who was in charge of -- who

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·1· ·payments from PQPR for its advertising, it just basically   ·1· ·was the top accountant at Free Speech Systems in 2013?
·2· ·received an IOU; correct?                                   ·2· · · · A· · I don't know.
·3· · · · A· · It credited their account, right.· So, it         ·3· · · · Q· · Let me represent to you that Lydia
·4· ·credited --                                                 ·4· ·Zapada-Hernandez was the top accountant at Free Speech
·5· · · · Q· · You understand what I mean?                       ·5· ·Systems?
·6· · · · A· · -- what Free Speech Systems owed PQPR.            ·6· · · · A· · Okay.
·7· · · · Q· · Hang on a second.                                 ·7· · · · Q· · In 2013, free Speech Systems' testimony is that
·8· · · · · · ·You know what I mean?· Like, if PQPR is buying    ·8· ·it would invoice PQPR for any advertising that it aired
·9· ·advertising from Free Speech Systems --                     ·9· ·on PQPR's behalf; right?
10· · · · A· · There's no money exchanged.· That's what you're   10· · · · A· · Right.
11· ·asking.· There was no money exchanged.                      11· · · · Q· · And that would initially be recorded in Free
12· · · · Q· · There's never any money exchanged?                12· ·Speech Systems's books under accounts receivable;
13· · · · A· · Right.· That's correct.                           13· ·correct?
14· · · · Q· · PQPR didn't actually pay Free Speech Systems,     14· · · · A· · Honestly, I don't know.· You have to look at
15· ·it just accounted for whatever the value of those           15· ·the general ledger, I don't know.
16· ·payments might have been?                                   16· · · · Q· · Is it Free Speech Systems' testimony though
17· · · · A· · And then adjusted the balance that Free Speech    17· ·that once that invoice was generated, it would appear in
18· ·Systems owed accordingly.                                   18· ·realtime in Free Speech Systems's general ledger?
19· · · · Q· · Is it Free Speech Systems' testimony that that    19· · · · A· · Yes.· Because they are recorded as credits that
20· ·method of accounting occurred in realtime from 2012         20· ·were being given from PQPR.· So, yes.
21· ·through 2020?                                               21· · · · Q· · I understand they are recorded now. I
22· · · · A· · Oh, I don't know when it occurred.· I know it's   22· ·understand that is what has been presented to us, okay,
23· ·not occurring any more.· But during that time period,       23· ·in that spreadsheet.
24· ·that's what was happening.· I don't know how -- what time   24· · · · · · ·That spreadsheet was created for purposes of
25· ·period -- if it was happening monthly --                    25· ·litigation; correct?· The PQPR/Free Speech Systems


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·1· ·transactions?                                               ·1· ·Free Speech Systems uses to calculate the amount it
·2· · · · A· · Right, but those were in the 2012 ledgers.        ·2· ·charges advertisers to advertise on its platforms;
·3· · · · Q· · That's what I'm asking you.                       ·3· ·correct?
·4· · · · A· · Right.· They were in the 2012 legers.             ·4· · · · A· · Yes, just with the exception of I don't know if
·5· · · · Q· · Well, hang on a second.                           ·5· ·it's all advertisers or if it's PQPR has a specific rate
·6· · · · A· · Yup.                                              ·6· ·or if they get a discounted rate.· I'm not sure of that,
·7· · · · Q· · It's Free Speech Systems' testimony that any      ·7· ·but yes, I do recall seeing a spreadsheet to that effect.
·8· ·advertising sold to PQPR by Free Speech Systems was         ·8· · · · Q· · Okay.
·9· ·entered in realtime as it occurred; correct?                ·9· · · · · · ·You anticipated my next question:· As you sit
10· · · · A· · Well, yes.· And the reason why I know that is     10· ·here today, Free Speech Systems is not prepared to
11· ·because when I spoke to Bob and he produced that            11· ·testify as to whether it offers the same advertising
12· ·spreadsheet, those were numbers that he took specifically   12· ·rates to PQPR that it offers to third-party advertisers;
13· ·from those years' ledgers.· So, those ledgers, those were   13· ·correct?
14· ·in there for those years.· So, yes.                         14· · · · A· · Right.· I don't know.· I would have to get a
15· · · · Q· · When Mr. Roe reviewed them they were in there?    15· ·copy of the spreadsheet.
16· · · · A· · Yes, I mean obviously I didn't review them        16· · · · Q· · Okay.
17· ·myself, but yes.                                            17· · · · · · ·And the spreadsheet that you're describing is
18· · · · Q· · Is it Free Speech Systems' testimony that the     18· ·one that Mr. Roe showed you but that you did not retain a
19· ·ledgers that have been produced in this case for the        19· ·copy of; correct?
20· ·years 2012 to 2020 are the ledgers that existed at the      20· · · · A· · Right, he didn't send it to me.
21· ·time?· And have not been since altered?                     21· · · · Q· · And you described it as a spreadsheet showing
22· · · · A· · I have no reason to believe they've been          22· ·how Free Speech Systems calculates it's advertising fees?
23· ·altered.                                                    23· · · · A· · Right.· How it would bill at least PQPR for the
24· · · · Q· · Have you seen any invoices Free Speech Systems    24· ·advertising.· So, if I recall correctly, it's a cost for
25· ·sent to PQPR?                                               25· ·the banner.· So, like, if it's a banner ad, the cost for

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·1· · · · A· · Have I -- no, I have not asked for any ledgers    ·1· ·that ad.· In certain circumstances, it would be pay per
·2· ·or from invoices.· Like I said, when I spoke to Bob on      ·2· ·click and how much money it would be per click.· But I
·3· ·this particular topic, I believe he showed me what looked   ·3· ·just don't have those figures.
·4· ·like a spreadsheet of how much each ad costs as is billed   ·4· · · · Q· · And are you prepared to testify for what period
·5· ·to PQPR.· But other than that, I didn't see any invoices,   ·5· ·of time Free Speech Systems used that particular formula
·6· ·no.                                                         ·6· ·as set out in that spreadsheet to charge PQPR?
·7· · · · Q· · Other than PQPR, did Free Speech Systems accept   ·7· · · · A· · No, I don't know what time period that was.
·8· ·credits from any other third-party advertiser that bought   ·8· · · · · · · · · MR. MATTEI:· So that's another document.
·9· ·advertising from it?                                        ·9· · · · · · ·I'm sure that we don't have that, Zach.
10· · · · A· · Accept credits?· No, I don't believe so. I        10· · · · · · · · · MR. REILAND:· Okay.
11· ·think we were paid for our advertising.                     11· · · · · · · · · Chris, I'm sorry, can you summarize what
12· · · · Q· · With the exception of PQPR?                       12· · · · · · ·the next document is that you're looking for?
13· · · · A· · I believe so, yes.                                13· · · · · · · · · MR. MATTEI:· Sure.· What Ms. Paz described
14· · · · · · · · · THE WITNESS:· I'm sorry, is now a good       14· · · · · · ·as a spreadsheet that Mr. Roe showed her
15· · · · · · ·time for a bathroom break?                        15· · · · · · ·purporting to describe the way in which Free
16· · · · · · · · · MR. MATTEI:· I'm sorry, yes.                 16· · · · · · ·Speech Systems calculated advertising fees it
17· · · · · · · · · THE VIDEOGRAPHER:· We are off the record.    17· · · · · · ·charged to PQPR.
18· · · · · · ·The time is 3:10 p.m.                             18· · · · · · · · · MR. REILAND:· Got it.
19· · · · · · · · · · · · (Recess from 3:10 p.m. to 3:19 p.m.)   19· ·BY MR. MATTEI:
20· · · · · · · · · THE VIDEOGRAPHER:· We are now on the         20· · · · Q· · I take it from your testimony, although you
21· · · · · · ·record.· The time is 3:19.                        21· ·didn't say this expressly, that you understood that
22· ·BY MR. MATTEI:                                              22· ·spreadsheet to be specific to rates charged to PQPR; not
23· · · · Q· · Ms. Paz, before the break, you testified that     23· ·necessarily other third-party advertisers; right?
24· ·you had had a conversation with Mr. Roe in which Mr. Roe    24· · · · A· · That's how I took it.
25· ·described for you the formula for -- the formula that       25· · · · Q· · Okay.


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·1· · · · A· · What we're charging other people would be         ·1· · · · · · ·None come to mind, though, right?
·2· ·listed in the advertising income spreadsheets that we       ·2· · · · A· · No.
·3· ·produced to you.                                            ·3· · · · Q· · And we both participated in the defense
·4· · · · Q· · You're charging them, but the formula you used    ·4· ·appellate clinic, but in different years; right?
·5· ·to reach those rates is not included?                       ·5· · · · A· · Yes.
·6· · · · A· · I don't know if it's the same rate, right.        ·6· · · · Q· · So -- since graduation, aside from 2022, it's
·7· · · · Q· · You just don't know?                              ·7· ·fair to say we have not interacted very much?
·8· · · · A· · I'm not sure.                                     ·8· · · · A· · I don't recall any conversations with you prior
·9· · · · · · · · · MR. MATTEI:· So, I think that that is all    ·9· ·to this year --
10· · · · · · ·I have.· I know Attorney Cerame's going to have   10· · · · Q· · Okay.
11· · · · · · ·some questions.                                   11· · · · A· · -- after graduation.
12· · · · · · · · · So, Mario, if you're ready, we can go        12· · · · Q· · Okay.· That's great.· Perfect.· Perfect.
13· · · · · · ·ahead and begin.                                  13· · · · · · ·In April 2022, a mutual colleague of ours sent
14· · · · · · · · · THE WITNESS:· Is he there?                   14· ·you my way for first amendment advice on a particular
15· · · · · · · · · MR. MATTEI:· I wonder if he just didn't      15· ·case; right?
16· · · · · · ·come back after the break.                        16· · · · A· · Yes.· I'm a member of the Connecticut Criminal
17· · · · · · · · · MR. REILAND:· He might have thought we       17· ·Defense Lawyers Association and I put out an inquiry
18· · · · · · ·were going to go longer than this.· I'm going     18· ·because I had a potential first amendment issue and he
19· · · · · · ·to shoot him a text.                              19· ·re-directed me your way to see if you had any draft
20· · · · · · · · · MR. MATTEI:· Here he is.                     20· ·motions that I could take a look at.
21· · · · · · · · · Mario, before you begin, is it possible      21· · · · Q· · Aside from that, I have never offered you legal
22· · · · · · ·for me to get audio -- I will get audio through   22· ·advice or support or sent a referral of a case to you;
23· · · · · · ·that no matter what.· Because I'm about to lose   23· ·right?
24· · · · · · ·my power on my computer; all right.               24· · · · A· · Correct.
25· · · · · · · · · MR. CERAME:· You're all done?                25· · · · Q· · You do not refer cases to me on a regular

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·1· · · · · · · · · MR. MATTEI:· Yes.                            ·1· ·basis?
·2· · · · · · · · · MR. CERAME:· Oh, even less that I thought.   ·2· · · · A· · I don't think I've ever referred you a case.
·3· · · · · · ·I thought you were going to have at least a few   ·3· · · · Q· · Perfect.
·4· · · · · · ·minutes.· My goodness.· Let me pull up my         ·4· · · · · · ·Thank you.
·5· · · · · · ·notes.                                            ·5· · · · · · ·So, first, I want to talk briefly about some of
·6· ·EXAMINATION BY MR. CERAME:                                  ·6· ·the things that were discussed today.· First, I want to
·7· · · · Q· · Attorney Paz, as you know, my name is Mario       ·7· ·talk about the audience size questions that you answered.
·8· ·Cerame.· I represent Genesis Communication Network,         ·8· · · · A· · Sure.
·9· ·Incorporated in this action.                                ·9· · · · Q· · You indicated when there were questions about
10· · · · · · ·First off, I want to talk about how we know       10· ·the estimation of -- about these estimations, for
11· ·each other because there were a lot of questions on         11· ·example, the estimate that Alex -- you read an estimate
12· ·direct about how you knew Norm Pattis and so -- we went     12· ·today saying that Alex estimated his audience on a Sunday
13· ·to law school together; right?                              13· ·afternoon, his radio audience was two million.
14· · · · A· · Yes.                                              14· · · · A· · That was in the transcript to one of his
15· · · · Q· · We were in the same class -- actual class of      15· ·videos, yes.
16· ·2012; right?                                                16· · · · Q· · Right.· You don't know what methodology he used
17· · · · A· · Yes, we were.                                     17· ·to arrive at that number?
18· · · · Q· · We were not in the same section?                  18· · · · A· · No, I don't know what he's citing there.
19· · · · A· · I don't believe we were.                          19· · · · Q· · You don't know whether he used any kind of
20· · · · Q· · Right.                                            20· ·scientific method to arrive that the number?
21· · · · · · ·So, do you remember whether we had any classes    21· · · · · · · · · MR. MATTEI:· Objection.
22· ·together aside from the clinic?                             22· ·BY THE WITNESS:
23· · · · A· · Definitely not the first two years, maybe the     23· · · · A· · No, I don't.
24· ·third year.                                                 24· · · · Q· · Do you know -- do you have an idea of how
25· · · · Q· · Okay.                                             25· ·audience size is determined in the radio industry?


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·1· · · · A· · Based on my conversations with Alex, his          ·1· ·Mr. Jones, do you have any information in your -- as Free
·2· ·position was he makes these estimations just by how many    ·2· ·Speech Systems, as to what the audience size has been
·3· ·radio stations he is broadcast on; and if you go to those   ·3· ·over the last years?
·4· ·stations' websites, it will list their -- how many          ·4· · · · · · · · · MR. MATTEI:· Objection.
·5· ·people, in estimation, they reach.· And he estimates it     ·5· ·BY THE WITNESS:
·6· ·often that way much but it's really difficult to do that    ·6· · · · A· · No, I don't have any information to affirm or
·7· ·because, like I said earlier, he's online, he's free to     ·7· ·deny those numbers.
·8· ·air; so, pretty much anyone anywhere can listen to his      ·8· · · · Q· · Okay.
·9· ·broadcast.                                                  ·9· · · · · · ·So, as far as you know, the number is a
10· · · · Q· · Attorney Paz, do you know whether that            10· ·guess?
11· ·methodology is common in the industry, that is to be more   11· · · · · · · · · MR. MATTEI:· Objection.
12· ·particular, the methodology of looking at what is           12· ·BY THE WITNESS:
13· ·reported by radio stations to be their audience and         13· · · · A· · I don't know what those numbers are based on.
14· ·coming up with some composite number based on that          14· ·It could be, you know, in my conversations with Alex,
15· ·number, is that how the industry, how generally radio       15· ·Alex tends to exaggerate things sometimes.· It could be
16· ·stations in the industry calculate their audience?· Do      16· ·an exaggeration.· It could be based on Quantcast numbers,
17· ·you know whether that's true?                               17· ·it could be based on some other numbers some other
18· · · · A· · That's my understanding based on my               18· ·places.· I don't know what it's based on.
19· ·conversation with Mr. Jones.                                19· · · · Q· · You mentioned Quantcast.· What is Quantcast, if
20· · · · Q· · So, aside from Mr. Jones, have you had any        20· ·you know?
21· ·conversations with anyone else about determining audience   21· · · · A· · So, Quantcast came up a couple times and it
22· ·size?                                                       22· ·appears to be some type of attempt to break down
23· · · · A· · I don't believe so, no.                           23· ·viewership in terms of demographics.· So, I know there
24· · · · Q· · Okay.                                             24· ·were a lot of questions about Quantcast data whether we
25· · · · · · ·No one else -- certainly, no one else at your     25· ·use Quantcast data as far as the marketing.· So, that's

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·1· ·client -- or I should say not your client -- certainly no   ·1· ·my understanding of what it is.
·2· ·one else at Free Speech Systems indicated to you how they   ·2· · · · Q· · With whom at Free Speech Systems did you
·3· ·calculate audience size?                                    ·3· ·discuss that?
·4· · · · A· · No one else besides Mr. Jones?· No.               ·4· · · · A· · Given the questions in the notice of
·5· · · · Q· · We also saw a document by Mr. John Tracy.· Do     ·5· ·deposition, I asked Blake Roddy because he's currently in
·6· ·you remember that document?· It was an e-mail?              ·6· ·that position of in advertising and marketing.
·7· · · · A· · Oh, the e-mail to Mr. Tracy?                      ·7· · · · Q· · What did he say about that data?
·8· · · · Q· · I thought it was an e-mail from him.· But if      ·8· · · · A· · Basically, his position was that it's been
·9· ·you remember it more correctly.· It was an e-mail that      ·9· ·available but they never used it in terms of their
10· ·Mr. Tracy was involved in the conversation?                 10· ·marketing strategies.· That it was available for
11· · · · A· · Yes, yes.                                         11· ·production, but the only time they've ever logged in to
12· · · · Q· · And there was submitted that there was an         12· ·get it was in connection with this litigation and maybe a
13· ·audience size number in the electronic media?               13· ·couple of times if somebody asked him for it.· But he
14· · · · A· · Yes, I recall that.· Yes.                         14· ·never integrated it into the marketing strategies.
15· · · · Q· · You were asked the question if you had any        15· · · · Q· · Did he share with you his opinion about it's
16· ·reason to doubt that number and you answered that you did   16· ·reliability?
17· ·not.                                                        17· · · · · · · · · MR. MATTEI:· Objection.
18· · · · A· · I don't have any information in my possession     18· ·BY THE WITNESS:
19· ·to contradict the number.                                   19· · · · A· · No, he didn't.
20· · · · Q· · Do you have new information in your possession    20· · · · Q· · Did he tell why you they don't regularly use
21· ·to affirm the number?                                       21· ·that data?
22· · · · A· · No.                                               22· · · · A· · It's just not something that they did.· It's
23· · · · Q· · So, that sort of question was asked several       23· ·not how they -- it's not how they do advertising.
24· ·times about calculations of audience size.· Do you have     24· · · · Q· · I understand that.· And I have reasons why I
25· ·any information -- aside from conversations had you with    25· ·might think that's true.


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·1· · · · · · ·Did he give you any indication, though, about     ·1· · · · Q· · Mr. Tracy, who seems to be the origin of the --
·2· ·why Free Speech Systems doesn't regularly or did not        ·2· ·of one of the estimations, he is not an employee of
·3· ·regularly use that data, except when it came to this        ·3· ·Genesis Communication Network to your knowledge; correct?
·4· ·lawsuit?                                                    ·4· · · · · · · · · MR. MATTEI:· Objection.
·5· · · · · · · · · MR. MATTEI:· Objection.                      ·5· ·BY THE WITNESS:
·6· ·BY THE WITNESS:                                             ·6· · · · A· · Is James Tracy an employee of Genesis?
·7· · · · A· · I mean, it seemed to me that their way of         ·7· · · · Q· · Mr. Tracy.
·8· ·advertising was doing well and it didn't seem to me like    ·8· · · · A· · Okay, no, I don't believe he is an employee of
·9· ·they needed or wanted had.· So, when I asked these          ·9· ·Genesis.
10· ·questions, he basically said that they have -- they use a   10· · · · Q· · Just making sure.
11· ·variety of different methods for retargeting, Google ads,   11· · · · · · ·Do you know whether there's been any
12· ·Bing ads, things like that.· They also have a newsletter    12· ·coordination or collaboration between Free Speech Systems
13· ·from which they derive business, so it just -- from my      13· ·and Genesis Communication Network or Ted Anderson as to
14· ·conversation with him, it's just not something they         14· ·determining audience size?
15· ·needed and so they didn't use it.                           15· · · · A· · No, I'm not aware of any such communications.
16· · · · Q· · Thank you for your answer.· I'm sorry.· Perhaps   16· · · · Q· · There was also discussion of a video and
17· ·I'm not asking -- let me try a different way to approach    17· ·audience size vis-a-vis some video.· Do you know whether
18· ·the question.                                               18· ·there's any scientifically determined link between
19· · · · · · ·Does Free Speech Systems have an opinion about    19· ·audience size on a video and audience size on the radio?
20· ·the reliability of that data?                               20· · · · · · · · · MR. MATTEI:· Objection.
21· · · · · · · · · MR. MATTEI:· Objection.                      21· ·BY THE WITNESS:
22· ·BY MR. CERAME:                                              22· · · · A· · No.
23· · · · Q· · It's a yes/no?                                    23· · · · · · ·And I will just say that it's hard to tell
24· · · · A· · No, I haven't had any conversations with          24· ·audience size when a video is posted because that's just
25· ·anybody about the reliability or the opinions on the        25· ·based on the number of views.· One person can view it

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·1· ·reliability of it.· So, no.                                 ·1· ·numerous times.· So, just because you have a number of
·2· · · · Q· · So, Free Speech Systems does not have an          ·2· ·views on the YouTube -- on, like, a YouTube video or a
·3· ·opinion on whether the data is reliable or not?             ·3· ·link that's posted to a video, doesn't mean that that's
·4· · · · · · · · · MR. MATTEI:· Objection.                      ·4· ·the number of people that have viewed it.· So, I don't
·5· ·BY THE WITNESS:                                             ·5· ·think there's a correlation between the two.
·6· · · · A· · No.                                               ·6· · · · Q· · Okay.
·7· · · · Q· · No, it does not have an opinion; correct?· I'm    ·7· · · · · · ·Just because you didn't have a reason to
·8· ·sorry.                                                      ·8· ·dispute the numbers that were proffered today doesn't
·9· · · · A· · That's correct.                                   ·9· ·mean that you have a reason to find them accurate?
10· · · · Q· · Okay.                                             10· · · · · · · · · MR. MATTEI:· Objection.
11· · · · · · ·And -- but, nonetheless, notwithstanding the      11· ·BY THE WITNESS:
12· ·fact they do not have an opinion at this time, they do      12· · · · A· · Right, I'm not subscribing to the numbers. I
13· ·not use the data?                                           13· ·don't know either way.
14· · · · A· · That's correct.                                   14· · · · Q· · Is Genesis Communication Network an affiliate,
15· · · · Q· · Okay.                                             15· ·as you used the term earlier today?
16· · · · · · ·Do you know whether any other radio programs      16· · · · · · · · · MR. MATTEI:· Objection.
17· ·use that data?                                              17· ·BY THE WITNESS:
18· · · · · · · · · MR. MATTEI:· Objection.                      18· · · · A· · I don't think I used the term "affiliate," I
19· ·BY THE WITNESS:                                             19· ·think Attorney Mattei used the term "affiliate."· But I
20· · · · A· · I don't.                                          20· ·think that our shows are broadcast through Genesis
21· · · · Q· · Do you know whether that data is relied on as     21· ·Communications.· So, however Attorney Mattei was using
22· ·an industry standard?                                       22· ·it.
23· · · · · · · · · MR. MATTEI:· Objection.                      23· · · · Q· · So, do you know whether -- what is Genesis
24· ·BY THE WITNESS:                                             24· ·Communication Network as Free Speech Systems knows it?
25· · · · A· · No, I don't.                                      25· · · · A· · It is a platform over which we broadcast the


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·1· ·show.· So, our shows.                                       ·1· ·Systems does know about the services Genesis provides?
·2· · · · Q· · Is it currently being done through your show?     ·2· · · · A· · Aside from it being a platform by which we can
·3· ·Sorry.· Strike that entirely.                               ·3· ·broadcast the show, not very much.
·4· · · · · · ·Is Free Speech Systems currently using Genesis    ·4· · · · Q· · Do you know whether it does anything in terms
·5· ·Communication Network as a platform?                        ·5· ·of sound production?
·6· · · · A· · Currently?                                        ·6· · · · A· · I don't know.
·7· · · · Q· · Yes.                                              ·7· · · · Q· · Do you know anything about the economic
·8· · · · A· · I believe so.                                     ·8· ·relationship in terms of payments or structures of
·9· · · · Q· · Okay.                                             ·9· ·payments between Ted Anderson and Genesis and Free Speech
10· · · · · · ·You said you do believe so or you don't?          10· ·Systems and Alex Jones and any combination of them?
11· · · · A· · I do believe so.                                  11· · · · · · · · · MR. MATTEI:· Objection.
12· · · · Q· · And do you know how many radio shows Genesis      12· ·BY THE WITNESS:
13· ·Communication Network is such a platform for?               13· · · · A· · Aside from what's in the general ledgers as
14· · · · A· · I'm sorry, I don't.                               14· ·payments being made or if there are any payments being
15· · · · Q· · Do you have an idea?                              15· ·made from Free Speech Systems to Genesis, then no.
16· · · · A· · I'm sure very many.· We are not the only ones.    16· · · · Q· · Aside from the platform agreement, do you know
17· · · · Q· · Why do you say you're sure there are very many?   17· ·of any other agreement between Genesis Communication
18· · · · A· · I know Genesis is a very large company and they   18· ·Network and Free Speech Systems and Alex Jones?
19· ·broadcast a lot of shows.                                   19· · · · A· · No.
20· · · · Q· · Do you know whether Genesis Communication         20· · · · Q· · Aside from this platform agreement, as you
21· ·Network has a transmitter that it broadcasts radio          21· ·described it, platform service, do you know of any
22· ·directly to listeners?                                      22· ·agreements between Ted Anderson and Free Speech Systems
23· · · · A· · I don't know.· I have no idea.                    23· ·or Alex Jones?
24· · · · Q· · Okay.                                             24· · · · A· · No.
25· · · · · · ·So, you don't know any radio stations that        25· · · · Q· · What does Free Speech Systems know about Ted

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·1· ·are -- that Genesis Communication Network operates?         ·1· ·Anderson, as you sit here?
·2· · · · · · · · · MR. MATTEI:· Objection.                      ·2· · · · A· · I don't know very much about Ted Anderson, to
·3· ·BY THE WITNESS:                                             ·3· ·be honest.
·4· · · · A· · No, I don't know how many other stations they     ·4· · · · Q· · Give me a synopsis of what you do know?
·5· ·operate or how many other programs they operate.            ·5· · · · A· · Aside from him owning the company, owning
·6· · · · Q· · You don't even know if they do operate any        ·6· ·Genesis, I don't know anything else about him.
·7· ·radio stations; correct?                                    ·7· · · · Q· · Do you know anything about business
·8· · · · A· · I don't know much about Genesis, to be honest.    ·8· ·relationships between -- in the past, between Ted, in
·9· · · · Q· · Very well.                                        ·9· ·particular, and Alex Jones or Free Speech Systems?
10· · · · · · ·Who owns The Alex Jones Show?· If Free Speech     10· · · · A· · You mean, aside from the platform agreement?
11· ·Systems knows.                                              11· ·Aside from the platform agreement.
12· · · · A· · Well, Free Speech Systems broadcasts The Alex     12· · · · Q· · Yes?
13· ·Jones Show and Free Speech Systems is owned by Alex         13· · · · A· · No.
14· ·Jones.· So, Alex owns it.                                   14· · · · Q· · Do you know anything about Ted's relationship
15· · · · Q· · Does anyone else have an ownership interest in    15· ·to Midas Resources, a different company?
16· ·it to your knowledge?                                       16· · · · A· · No.
17· · · · A· · Not to my knowledge.                              17· · · · Q· · You don't know anything about any personal
18· · · · Q· · I'm looking through some of my notes and some     18· ·deals between Alex Jones and Ted Anderson?
19· ·of the questions seemed to be good at the time.             19· · · · A· · If there are any, I wouldn't know.
20· · · · · · ·Inasmuch as Genesis -- Let's assume for a         20· · · · Q· · Do you know whether Ted Anderson and Alex Jones
21· ·moment Genesis provides a service for Free Speech           21· ·are social friends?
22· ·Systems, do you know anything about the services it         22· · · · A· · I don't know that and I didn't ask Alex that.
23· ·provides?                                                   23· · · · Q· · That's fine.
24· · · · A· · Minimally.                                        24· · · · · · ·Do you know anything about if they have been
25· · · · Q· · Can you tell me what you -- what Free Speech      25· ·business -- I may already asked you that.· You don't know


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·1· ·anything about any of their business relationships with     ·1· ·Alex and all the other employees.· So, they were not --
·2· ·one another; correct?                                       ·2· ·Genesis was not involved, Mr. Anderson was not involved.
·3· · · · A· · I don't know if they've ever had any aside from   ·3· ·They have their own internal process on how they do that.
·4· ·this platform agreement.· I don't know anything about       ·4· · · · · · · · · MR. CERAME:· That's it.· That's all I
·5· ·their relationship.                                         ·5· · · · · · ·have.· That's all the questions I have.
·6· · · · Q· · Okay.                                             ·6· · · · · · · · · MR. MATTEI:· Just a few more.
·7· · · · · · ·Does Free Speech Systems know about my client,    ·7· ·EXAMINATION BY MR. MATTEI:
·8· ·Genesis Communication Network?                              ·8· · · · Q· · Ms. Paz, are you aware, other than the two --
·9· · · · A· · Didn't we already talk about that?                ·9· · · · A· · I know.· It's late in the day.
10· · · · Q· · I know I asked you about Ted and -- but -- so     10· · · · Q· · Other than the two promissory notes that we've
11· ·perhaps you did.· If you could -- this may be one of my     11· ·reviewed, one dated August 2020 and another dated
12· ·last questions.                                             12· ·November 2021, is Free Speech Systems aware of any other
13· · · · A· · Okay.                                             13· ·written agreements between Free Speech Systems and PQPR?
14· · · · Q· · I'm trying to wrap it up, if you will?            14· · · · A· · Written agreements, no.· And I did inquire of
15· · · · A· · All right.                                        15· ·Mr. Roe to make sure that those two agreements were the
16· · · · Q· · Let me ask you again:· What does Free Speech      16· ·only written agreements that we have and those were the
17· ·Systems know about my client, Genesis Communication         17· ·only two written agreements.
18· ·Network?                                                    18· · · · Q· · Okay.
19· · · · A· · Aside from the fact that we have --               19· · · · · · ·So, there are no management agreements between
20· · · · Q· · Aside from the platform agreement?                20· ·Free Speech Systems and PQPR; correct?
21· · · · A· · Aside from the platform agreements and that you   21· · · · A· · No.· One of the big problems with, you know,
22· ·provide a platform by which we could broadcast the shows,   22· ·Free Speech, in general, which was being tried to rectify
23· ·the various shows, I don't know very much about it.         23· ·is that a vast majority of the policies are not reduced
24· · · · Q· · That is the sum of it?                            24· ·to writing and had not been reduced to writing.
25· · · · A· · That is the sum of it, yes.                       25· · · · Q· · I'm not talking about Free Speech Systems

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·1· · · · Q· · Okay.                                             ·1· ·policies, I'm talking specifically about the relationship
·2· · · · · · ·Do you know whether Genesis Communication         ·2· ·between two corporate entities?
·3· ·Network, in part of its work, does anything with            ·3· · · · A· · Right.
·4· ·satellites?                                                 ·4· · · · Q· · Free Speech Systems and PQPR.· And the answer
·5· · · · A· · I'm not sure.                                     ·5· ·to the question as to whether or not there's any sort of
·6· · · · Q· · Okay.                                             ·6· ·management agreement between Free Speech Systems and PQPR
·7· · · · A· · And I don't want to guess.                        ·7· ·is no?
·8· · · · Q· · That's fine.                                      ·8· · · · A· · Yes, I don't have anything beside from those
·9· · · · · · ·Do you know anything about -- you don't know,     ·9· ·notes.
10· ·you do not know anything about whether Ted Anderson has     10· · · · Q· · So, Free Speech Systems isn't in possession of
11· ·ever exercised editorial control over any of Free Speech    11· ·any written agreements governing the relationship between
12· ·Systems's content?                                          12· ·Free Speech Systems and PQPR, other than the two
13· · · · A· · I mean, I don't believe, based on any of my       13· ·promissory notes we reviewed today; correct?
14· ·communications that anyone outside of Free Speech           14· · · · A· · Right.
15· ·Systems, had anything to say about the content on -- that   15· · · · Q· · I did look through the text messages and
16· ·was being produced.· Just based on my conversations with    16· ·e-mails that Attorney Reiland produced between you and
17· ·Alex, the other employees and the process by which the      17· ·Free Speech Systems' employees.· You referred to an
18· ·content is produced.· So, I don't think that Mr. Anderson   18· ·individual named Jay in text message with Mr. Jones.· Who
19· ·would have had any say in any of that.                      19· ·is Jay?
20· · · · Q· · Similarly, your response would apply equally to   20· · · · A· · Jay Blott.
21· ·Genesis Communication Network, the company, not just to     21· · · · Q· · Jay is short or Jacqueline Blott?
22· ·Ted.· Genesis also did not have such control or -- ever?    22· · · · A· · She goes by Jay.
23· · · · A· · That's correct, just based on the process by      23· · · · · · · · · MR. MATTEI:· Can you just bring up those
24· ·which they were going about making -- creating this         24· · · · · · ·text messages, Pritika, if you don't mind.
25· ·content on a daily basis, based on my communications with   25· · · · · · · · · My video stopped working.· Let me know


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·1· · · · · · ·when they're up.                                  ·1· · · · Q· · Did you also want to check with Mr. Jones to
·2· ·BY MR. MATTEI:                                              ·2· ·make sure that the information that you had obtained and
·3· · · · Q· · Can you scroll down to the text messages with     ·3· ·intended to testify to was accurate as far as he was
·4· ·Alex Jones, which I believe are on about page 7.· And you   ·4· ·concerned?
·5· ·see, Ms. Paz, that the text message appear to be screen     ·5· · · · A· · I did verify a couple things with him, you
·6· ·grabs which you then e-mailed to Attorney Pattis; is that   ·6· ·know, if I had spoken to one employee and this person
·7· ·right?                                                      ·7· ·said this, is this accurate.· I mean, I did have a
·8· · · · A· · Yes, these are my screen shots.                   ·8· ·conversation with him outside of that phone conversation.
·9· · · · Q· · So you just did the screen grab on your iPhone    ·9· ·I met him in person and we went over a lot of that stuff,
10· ·and sent them as JPEGs to Mr. Pattis?                       10· ·too.
11· · · · A· · Correct.                                          11· · · · Q· · Prior to your deposition?
12· · · · Q· · And on February 13th, Mr. Jones texted you        12· · · · A· · Prior to -- because I was down there for about
13· ·asking to get a late lunch; correct?                        13· ·a week.
14· · · · A· · Yes.· This was the day before I had the Texas     14· · · · Q· · Let's focus though on this particular series of
15· ·deposition scheduled.                                       15· ·text messages on February 13th.· Did you, in fact, then
16· · · · Q· · Okay.                                             16· ·meet with him before your deposition the next day?
17· · · · · · ·And so did you and Mr. Jones go out for           17· · · · A· · No, we had a telephone conference.
18· ·lunch?                                                      18· · · · Q· · If you scroll down further, it has another
19· · · · A· · No.· We ended up having a phone conference, me,   19· ·voice memo that Mr. Jones left you that, at least
20· ·him and Attorney Pattis.                                    20· ·according to this text message screen grab, appears to
21· · · · Q· · If you scroll down to the point in the text       21· ·have been about 15 seconds; correct?
22· ·exchange where you and Mr. Jones are discussing getting     22· · · · A· · That's what it looks like.
23· ·lunch.· Do you see after you say, We can do whatever, I'm   23· · · · · · · · · MR. MATTEI:· We'll need that as well.
24· ·open, just let me know what time and we can meet you?       24· · · · · · · · · MR. REILAND:· What is it?
25· · · · A· · Yes.                                              25· ·BY THE WITNESS:

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·1· · · · Q· · And Mr. Jones then texted you a voice memo;       ·1· · · · A· · Hopefully I can figure out how to get those in
·2· ·correct?                                                    ·2· ·an e-mail.· I'm not very technologically savvy.· I'll
·3· · · · A· · Yes.                                              ·3· ·figure it out.
·4· · · · Q· · That voice memo has not been produced to us.      ·4· · · · Q· · Do you have your phone with you right now?
·5· ·You still have it on your phone; right?                     ·5· · · · A· · Yeah.
·6· · · · A· · Probably.                                         ·6· · · · Q· · Do you want to just play them into the record?
·7· · · · Q· · Okay.                                             ·7· · · · A· · Let's see if I can find them and then we will
·8· · · · · · ·I would ask that you send that to Attorney        ·8· ·see.
·9· ·Reiland for production.                                     ·9· · · · · · ·Yeah, I still have them.
10· · · · · · ·What did the voice mail say essentially; do you   10· · · · Q· · Okay.
11· ·recall.                                                     11· · · · · · ·So, why don't we play the first one, 21 second.
12· · · · A· · I think he was talking about it being a problem   12· ·Do you see the one Ms. Paz, Sunday, February 13th at
13· ·getting to meet for lunch for whatever reason.· I think     13· ·12:08 p.m.?
14· ·he had some personal issues going on.· So, that's why I     14· · · · A· · Yep.
15· ·said do you just want to do a three-way and I want him --   15· · · · Q· · Okay.
16· ·I wanted to make sure that he was comfortable with, you     16· · · · · · ·Is that the one that you intend to play right
17· ·know, where I was before the deposition tomorrow.           17· ·now?
18· · · · Q· · Okay.                                             18· · · · A· · Yes.
19· · · · · · ·Meaning, you wanted to make sure Mr. Jones was    19· · · · Q· · Go ahead.
20· ·comfortable with what you planned to testify about at the   20· · · · · · · · · · · · RECORDING:· Hey, Brittany, maybe we
21· ·deposition the next day?                                    21· · · · · · · · ·can go all go out and get dinner tomorrow
22· · · · A· · Well, comfortable in a sense that, you know, I    22· · · · · · · · ·night.· I have some family stuff that I
23· ·understood the structure of the company, I understood the   23· · · · · · · · ·forgot I have to take care of.· I just
24· ·material, that, you know, that I was prepared.              24· · · · · · · · ·wanted to actually, you know, talk to you a
25· ·Essentially.                                                25· · · · · · · · ·little bit more about some ideas I've got


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·1· · · · · · · · ·but I know you're meeting with Norm coming    ·1· · · · · · · · ·forward to that.· Just find out.· Thanks.
·2· · · · · · · · ·up about an hour and a half.· So, how about   ·2· · · · · · · · · THE WITNESS:· And that's it.
·3· · · · · · · · ·I just call you towards the end of that       ·3· · · · · · · · · MR. MATTEI:· That will be Exhibit 130.
·4· · · · · · · · ·conversation and we can have a discussion     ·4· · · · · · · · · · · · (Plaintiff's Exhibit 130 was
·5· · · · · · · · ·with Norm.· Thank you.· I really appreciate   ·5· · · · · · · · ·marked for identification:· Audio file.)
·6· · · · · · · · ·you coming on down and taking on this         ·6· · · · · · · · · MR. MATTEI:· Okay, that's all I have.
·7· · · · · · · · ·difficult job.                                ·7· · · · · · · · · I want to put something on the record, but
·8· · · · · · · · · · · · We can do it with Norm right up        ·8· · · · · · ·Mario, do you have any re-cross?
·9· · · · · · · · ·front at noon --                              ·9· · · · · · · · · MR. CERAME:· I do, I do.
10· ·BY THE WITNESS:                                             10· ·EXAMINATION BY MR. CERAME:
11· · · · A· · Sorry, that was the second one that just          11· · · · Q· · It's really only one piece that was a
12· ·started playing automatically.· Do you want me to start     12· ·discussion about agreements not being reduced to writing.
13· ·over?                                                       13· ·I would ask if that's -- if your sense is that's very
14· · · · Q· · Yes, I do.· But hold on a second.                 14· ·common for agreements -- business agreements, even
15· · · · · · ·That exhibit we just played will be the next      15· ·substantial business agreements, to not be reduced to
16· ·exhibit in sequence and then we'll just have you provide    16· ·writing --
17· ·us with whatever audio file of it for the record?           17· · · · · · · · · MR. MATTEI:· Objection.
18· · · · · · · · · MR. REILAND:· Do you want me to still send   18· ·BY MR. CERAME:
19· · · · · · ·them to you?                                      19· · · · Q· · -- between Free Speech Systems or between Alex
20· · · · · · · · · MR MATTIE:· Yeah.                            20· ·and someone else?
21· · · · · · · · · MR. REILAND:· Okay.                          21· · · · · · · · · MR. MATTEI:· Objection.
22· · · · · · · · · MR. MATTEI:· And we'll get that from the     22· ·BY THE WITNESS:
23· · · · · · ·court reporter as well.· That will be Exhibit     23· · · · A· · I think it's very common in this particular
24· · · · · · ·number?                                           24· ·situation with this company and with Mr. Jones, in
25· · · · · · · · · MS. SESHADRI:· 129.                          25· ·particular.· And it's what I have kind of seen about the

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·1· · · · · · · · · · · · (Plaintiff's Exhibit 129 was           ·1· ·structure, lack thereof and hierarchy and organization of
·2· · · · · · · · ·marked for identification:· Audio file.)      ·2· ·the business as a whole.· Just based on the time I've
·3· ·BY MR. MATTEI:                                              ·3· ·spent interviewing people and going down there and
·4· · · · Q· · Why don't we play the next one which was sent,    ·4· ·spending time with everybody.
·5· ·according to this screen grab at least, at February --      ·5· · · · · · ·So, I do, in this particular circumstance,
·6· · · · · · · · · · · · RECORDING:· Or we can do it toward     ·6· ·think it's common.
·7· · · · · · · · ·Sandy --                                      ·7· · · · Q· · Okay.
·8· ·BY THE WITNESS:                                             ·8· · · · · · ·And even for a long term business -- Well,
·9· · · · A· · Sorry.· I just -- I can't figure out how to       ·9· ·strike that.
10· ·start it over.                                              10· · · · · · ·You would agree that Genesis Communication
11· · · · Q· · All right.                                        11· ·Network and Free Speech Systems or Genesis Communication
12· · · · · · ·Anyway, what you are trying to do, Ms. Paz, is    12· ·Network and Alex Jones have had a business relationship
13· ·play the 15 second --                                       13· ·for at least two decades, to the best of your knowledge?
14· · · · A· · I might to have to just let it cycle through      14· · · · A· · To the best of my knowledge, they have an
15· ·and start over.                                             15· ·ongoing business relationship, yes.
16· · · · · · · · · · · · RECORDING:· Go get lunch.· Look        16· · · · Q· · You have no reason to doubt that their business
17· · · · · · · · ·forward to that.· Just --                     17· ·relationship has been in excess of 20 years?
18· · · · · · · · · THE WITNESS:· Okay, so I'll play it again    18· · · · A· · I don't have any reason to doubt it, no.
19· · · · · · ·and just tell me when you're ready.               19· · · · Q· · Even so, notwithstanding the fact there's been
20· · · · · · · · · MR. MATTEI:· I am ready.                     20· ·a business relationship for more than two decades to the
21· · · · · · · · · · · · RECORDING:· We can do it with Norm     21· ·best of your knowledge, it's not surprising that there
22· · · · · · · · ·right up front at noon or we can do it        22· ·are almost no agreements that have been reduced to
23· · · · · · · · ·towards the end your call.· I just have to    23· ·writing?
24· · · · · · · · ·take care of some family stuff later today,   24· · · · · · · · · MR. MATTEI:· Objection.
25· · · · · · · · ·so I could go get lunch.· I was looking       25· ·BY THE WITNESS:


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·1· · · · A· · That does not surprise me, no.                    ·1· ·is not very good at the other side of the business
·2· · · · Q· · And can you tell me about why, if you have an     ·2· ·aspect.· Which has caused a lot of issues as we have seen
·3· ·understanding, why is that?· Why are they not reduced to    ·3· ·in this litigation.· There's -- you know, we can't find
·4· ·writing?                                                    ·4· ·material or it doesn't exist or -- and it should in the
·5· · · · · · · · · MR. MATTEI:· Objection.                      ·5· ·normal course of what you think of a big business you
·6· ·BY THE WITNESS:                                             ·6· ·would think it should exist.· But it doesn't exist and
·7· · · · A· · In this -- with, specifically related Free        ·7· ·then when we tell people it doesn't exist, they are kind
·8· ·Speech?· My understanding is just, you know, as I said in   ·8· ·of incredulous that it doesn't exist.
·9· ·prior depositions, Alex is a radio personality.· He         ·9· · · · · · ·So, that's what you've seen working with Free
10· ·doesn't -- he's not very -- he's not a good business        10· ·Speech and working with Mr. Jones.· I just think he
11· ·person.· A lot of the issues with the financial             11· ·doesn't pay much attention to it because he's paying
12· ·entanglements we were talking about, the lack of            12· ·attention to his content.· That's what he cares about,
13· ·hierarchical structure within Free Speech.· They            13· ·truly.
14· ·continued growing and he didn't know how to control it      14· · · · Q· · Okay.
15· ·and he's a very fly-by-the-seat-your-pants kind of person   15· · · · · · · · · MR. CERAME:· That's what I needed to ask
16· ·just based on my interactions with him.· So, it's just,     16· · · · · · ·about.· If you have any re-direct, Chris, I
17· ·to me, and it's his business, he runs it, he is the sole    17· · · · · · ·would ask that your redirect really actually
18· ·person in charge of it and he just never had any need to    18· · · · · · ·follow from the scope at this point.
19· ·reduce these things to writing.· It was functioning okay    19· · · · · · · · · MR. MATTEI:· I definitely have some
20· ·at the time and so he just -- he just went along with it.   20· · · · · · ·redirect.
21· ·And then, along the line and they got bigger and bigger     21· ·EXAMINATION BY MR. MATTEI:
22· ·and bigger it caused more problems.· But the                22· · · · Q· · Ms. Paz, you just testified that it's very
23· ·disorganization and the lack of structure is a very         23· ·common for Free Speech Systems to enter into unwritten
24· ·common theme that I've seen throughout my entire time       24· ·agreements.· Can you give me a single example of an
25· ·representing Free Speech.                                   25· ·unwritten agreement that Free Speech Systems has entered

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·1· · · · Q· · Is it fair to say that Mr. Jones is focused on    ·1· ·into and been bound by?
·2· ·creating content for his programs?                          ·2· · · · A· · So, most of the agreements, like, for example,
·3· · · · · · · · · MR. MATTEI:· Objection.                      ·3· ·I haven't seen any agreements with any of our people that
·4· ·BY THE WITNESS:                                             ·4· ·we provide marketing to.· I don't know if any of them are
·5· · · · A· · I would say that's 100 percent accurate.· He      ·5· ·reduced to writing.· We do bill people for our
·6· ·is -- he has historically been not very involved in the     ·6· ·third-party marketing.· I don't know if they are reduced
·7· ·financial aspect of it.· You know, when I talk to people,   ·7· ·to any form of an agreement.
·8· ·they'll be like oh, well, every once in a while Alex will   ·8· · · · · · ·Aside from having -- from having employees sign
·9· ·look at the accounts, he'll see we need -- we'll see        ·9· ·certain things associated with their on-boarding process,
10· ·we're low on money and he'll go to the warehouse see what   10· ·I don't think that there's any really employment
11· ·we have in stock and then run an ad.· It's very             11· ·agreements or at least in the past.· More recently there
12· ·fly-by-the-seat-of-your-pants.· It's very -- there's very   12· ·probably are.
13· ·little planning.· It's just disorganized.· He's not a       13· · · · Q· · Ms. Paz, I just need to stop you and ask that
14· ·very good business person.                                  14· ·you just answer my question?
15· · · · Q· · Is it fair to say that Mr. Jones's time spent     15· · · · A· · I did answer your question.
16· ·in preparing and in doing -- creating content interferes    16· · · · Q· · You haven't.
17· ·with his ability to make a written business agreement and   17· · · · · · ·The question was:· Can you give me a single
18· ·that is part of why everything's oral?                      18· ·example, specific example of an unwritten agreement that
19· · · · · · · · · MR. MATTEI:· Objection.                      19· ·Free Speech Systems has entered and been bound by?
20· ·BY THE WITNESS:                                             20· · · · · · · · · MR. CERAME:· Objection.
21· · · · A· · I don't know if it's a time thing, but it's       21· ·BY THE WITNESS:
22· ·like a lot of attorneys I know, it's very common you        22· · · · A· · An unwritten agreement that they have been
23· ·know, a lot of attorneys I know are excellent attorneys     23· ·bound by.· I guess I don't know how -- I don't understand
24· ·and very poor business people and Alex is very good at      24· ·the question.
25· ·what he does and what he does is create content.· And he    25· · · · Q· · Okay.


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·1· · · · · · ·Well, you just testified that it is very common   ·1· ·response to Mr. Cerame's questions that it was very
·2· ·for Free Speech Systems to enter unwritten agreements,      ·2· ·common for Free Speech Systems to enter unwritten
·3· ·I'm asking you if you can give me a single specific         ·3· ·agreements.· You testified to that, yes or no?
·4· ·example of such an unwritten agreement?                     ·4· · · · A· · My testimony was that it was common that
·5· · · · · · · · · MR. CERAME:· Objection.                      ·5· ·agreements, in general, or anything regarding the
·6· ·BY THE WITNESS:                                             ·6· ·structure or hierarchy or agreements between parties,
·7· · · · A· · Well, that's a different question.· You asked     ·7· ·there aren't any written agreements at all that I could
·8· ·me unwritten agreement that it has been bound by and then   ·8· ·find between anybody.· So, regardless of whether it's
·9· ·any unwritten agreement at all.                             ·9· ·agreements we're bound by or bound to us, I don't --
10· · · · Q· · Let's start with the first one.· Can you give     10· ·there are no agreements.· There's just nothing in
11· ·me a specific example of any unwritten agreement that       11· ·writing.· Those two notes are the only thing that I could
12· ·Free Speech Systems has entered regardless of whether it    12· ·find that were in writing.
13· ·was bound by it or not?                                     13· · · · Q· · But, Ms. Paz, are you then intuiting from the
14· · · · · · · · · MR. CERAME:· Objection.· I'm going to        14· ·fact that nobody showed you any written agreements that
15· · · · · · ·elaborate on the scope of my objection.· It was   15· ·all agreements that Free Speech Systems enters must be
16· · · · · · ·asked and answered.· She gave several examples.   16· ·unwritten?
17· ·BY THE WITNESS:                                             17· · · · · · · · · MR. CERAME:· Objection.
18· · · · A· · I agree.                                          18· ·BY THE WITNESS:
19· · · · Q· · Give me a specific example that Free Speech       19· · · · A· · No.
20· ·Systems is prepared to testified under oath to today of     20· · · · Q· · Can you identify for me any unwritten
21· ·an unwritten agreement it has entered?                      21· ·agreement, any at all, to which Free Speech Systems is a
22· · · · · · · · · MR. CERAME:· Objection.· Vagueness.· Asked   22· ·party?
23· · · · · · ·and answered.                                     23· · · · · · · · · MR. CERAME:· Objection.
24· ·BY THE WITNESS:                                             24· ·BY THE WITNESS:
25· · · · A· · As I said earlier, I think that none of the       25· · · · A· · I can't --

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·1· ·agreements as far as the structure, who reports to who --   ·1· · · · · · · · · MR. REILAND:· Objection.· Asked and
·2· · · · · · · · · THE WITNESS:· Do you need to do something    ·2· · · · · · ·Answered.
·3· · · · · · ·about that?                                       ·3· ·BY THE WITNESS:
·4· ·BY THE WITNESS:                                             ·4· · · · A· · I can't testify to a negative; but I've given
·5· · · · A· · So, I don't know that any of the -- there are     ·5· ·you --
·6· ·any written agreements regarding the marketing to third     ·6· · · · Q· · No, it isn't.· It's not a negative.
·7· ·parties.· We bill for those --                              ·7· · · · A· · It is a negative.
·8· · · · Q· · You say you don't know.· But I'm asking you       ·8· · · · Q· · Just because something is unwritten doesn't men
·9· ·what you do know.· So, I understand that you're saying, I   ·9· ·mean it doesn't exist; right?
10· ·don't know whether among the unwritten agreements that      10· · · · · · · · · MR. CERAME:· Objection.
11· ·I've referenced are agreements with third-party             11· ·BY THE WITNESS:
12· ·advertisers.· Okay?· I'm asking you what you do know.       12· · · · A· · I don't know how to answer that question.
13· ·Okay?                                                       13· ·There are no written agreements that I could show you.
14· · · · · · · · · MR. CERAME:· Objection.                      14· ·I've asked for written agreements.· They don't exist.
15· ·BY MR. MATTEI:                                              15· · · · Q· · I'm not asking about written agreements.· I'm
16· · · · Q· · I'm asking specifically about unwritten           16· ·asking about unwritten agreements.· That is an agreement
17· ·agreements to which Free Speech Systems is a party?         17· ·that Free Speech Systems made but did not reduce to
18· · · · · · · · · MR. CERAME:· You're asking about something   18· ·writing.· And I'm --
19· · · · · · ·that doesn't exist.                               19· · · · · · · · · MR. CERAME:· Objection.
20· · · · · · · · · MR. MATTEI:· Mario.· Mario.· Can you just    20· ·BY MR. MATTEI:
21· · · · · · ·please can let me ask my question.                21· · · · Q· · -- asking whether you can give me a single
22· · · · · · · · · MR. CERAME:· Sure.                           22· ·example of such an agreement?
23· · · · · · · · · MR. MATTEI:· Thank you.                      23· · · · A· · I've given a couple examples.
24· ·BY MR. MATTEI:                                              24· · · · Q· · I don't believe that you have.· What you've
25· · · · Q· · You agree with me that you testified in           25· ·said is I don't know.· --


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·1· · · · A· · That's --                                         ·1· ·BY MR. MATTEI:
·2· · · · Q· · -- if certain agreements are written.             ·2· · · · Q· · In other words -- simply because there's not a
·3· · · · A· · That's not what I said.                           ·3· ·written agreement doesn't therefore mean that there is an
·4· · · · Q· · Let's just make sure we get it out then.          ·4· ·agreement.· It's just unwritten.· So, what I'm asking you
·5· · · · · · · · · MR. CERAME:· Objection.· Move to strike      ·5· ·is you've given me an example, you said in the past Free
·6· · · · · · ·the colloquy.                                     ·6· ·Speech Systems has unwritten agreements with employees.
·7· ·BY MR. MATTEI:                                              ·7· ·Give me one employee with whom it has entered and
·8· · · · Q· · Can you give me one example that you can          ·8· ·unwritten agreement?
·9· ·testify to under oath of an unwritten agreement that Free   ·9· · · · A· · I can't answer a question.· I don't know the
10· ·Speech Systems has entered?                                 10· ·answer to that question.
11· · · · · · · · · MR. CERAME:· Objection.                      11· · · · Q· · Fair enough.· So, you can't identify --
12· ·BY THE WITNESS:                                             12· · · · A· · Correct.
13· · · · A· · I answered the question already.                  13· · · · Q· · -- specifically, any employment agreement that
14· · · · Q· · You're going to answer it again and you are       14· ·Free Speech Systems has entered that was unwritten;
15· ·going to give me an example.· If you have one.· If you      15· ·correct?
16· ·don't have one, that's fine.                                16· · · · A· · I can't identify a specific person, no.
17· · · · A· · I've given an example.                            17· · · · Q· · Okay.
18· · · · Q· · Tell me what it is?                               18· · · · · · ·And then you talked about marketing agreements.
19· · · · · · · · · MR. CERAME:· Objection.                      19· · · · A· · Mm-hm.
20· ·BY THE WITNESS:                                             20· · · · Q· · Give me one example of a advertiser with whom
21· · · · A· · I've given the example of employment agreements   21· ·Free Speech Systems has entered an unwritten agreement.
22· ·in the context of past practice.· I've given examples in    22· · · · A· · I just did.
23· ·the sense of marketing agreements.· For example, there      23· · · · Q· · Who?
24· ·are payments in the advertising ledger that I asked about   24· · · · A· · As I just testified there was a period of time
25· ·from PQPR to Free Speech and it was just for the year       25· ·in 2015 that I noticed in the advertising ledger that

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·1· ·2015 and I asked why these payments were being made.        ·1· ·PQPR was paying or Free Speech Systems was paying PQPR
·2· ·Nobody could answer me.· I couldn't -- I don't have any     ·2· ·when -- it's usually vice versa.· So, I asked why were we
·3· ·agreement as to why it was that way and it was just for     ·3· ·making these payments and it was only for this one
·4· ·that one year.· So, the agreement, obviously, was not       ·4· ·particular period of time, and the answer was, I don't
·5· ·reduced to writing.· So, those are a couple of examples.    ·5· ·know, but this was the time period that we were making
·6· · · · Q· · Wait a minute.                                    ·6· ·the payments.· But it ended after 2015.
·7· · · · · · ·So, employees -- okay.                            ·7· · · · Q· · Who did you ask that question?
·8· · · · · · ·With what employees does Free Speech Systems      ·8· · · · A· · I asked Blake.
·9· ·have an unwritten agreement?                                ·9· · · · Q· · Okay.
10· · · · · · · · · MR. CERAME:· Objection.                      10· · · · · · ·You asked Blake --
11· ·BY THE WITNESS:                                             11· · · · A· · And I also asked Mark.
12· · · · A· · Do you want me to go through all of the           12· · · · Q· · Mark Schwartz?
13· ·employees.                                                  13· · · · A· · Yes.
14· · · · Q· · No, I just want you to give me one.· With whom    14· · · · Q· · Blake and Mark Schwartz.
15· ·does Free Speech Systems have an unwritten agreement        15· · · · · · ·Why was Free Speech Systems making these
16· ·that -- among it's employees?                               16· ·payments to PQPR in 2015; correct?
17· · · · A· · In past or now?                                   17· · · · A· · Right.
18· · · · Q· · At any time?                                      18· · · · Q· · And the answer was, We don't know?
19· · · · A· · In the past, there were no employment             19· · · · A· · Right.
20· ·agreements.· People were just kind of hired, they filled    20· · · · Q· · The answer was not it was pursuant to an
21· ·out their forms and then that was it.· There were no        21· ·unwritten agreement; correct?
22· ·employment agreements.· But --                              22· · · · A· · That doesn't make any sense.· There would have
23· · · · Q· · But with whom did they have an unwritten          23· ·had to be some kind of agreement why they were paying
24· ·agreement?                                                  24· ·that money, so, it doesn't make sense.
25· · · · · · · · · MR. CERAME:· Objection.                      25· · · · Q· · Nobody told you that there was an unwritten


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·1· ·agreement governing Free Speech Systems' payments to PQPR   ·1· · · · · · · · · MR. REILAND:· That's an answer.
·2· ·in 2015; correct?                                           ·2· ·BY MR. MATTEI:
·3· · · · A· · I think that's common sense.                      ·3· · · · Q· · So, you don't know whether there are any
·4· · · · Q· · Did anybody tell you that?                        ·4· ·others?
·5· · · · A· · I don't think anybody could answer me why.        ·5· · · · A· · How many times do you want me to testify to
·6· · · · Q· · Right.                                            ·6· ·that?
·7· · · · · · ·But if there was an unwritten agreement,          ·7· · · · · · · · · MR. CERAME:· Objection.
·8· ·wouldn't somebody have been able to tell you that the       ·8· ·BY MR. MATTEI:
·9· ·reason these payments were being made is because it was     ·9· · · · Q· · What were the 2015 payments for that you asked
10· ·pursuant to an unwritten agreement?                         10· ·Mr. Roddy and Mr. Schwartz about?
11· · · · · · · · · MR. CERAME:· Objection.                      11· · · · A· · I don't know.· They weren't able to tell me.
12· ·BY THE WITNESS:                                             12· ·They were in the advertising income documents.
13· · · · A· · Not necessarily.                                  13· · · · Q· · They were payments to PQPR or to Free Speech
14· · · · Q· · You don't know whether there was an unwritten     14· ·Systems?
15· ·agreement governing --                                      15· · · · A· · To PQPR.
16· · · · A· · I don't know why those payments were made.        16· · · · Q· · And they were identified as advertising-related
17· · · · · · · · · MR. CERAME:· Objection.                      17· ·payments?
18· ·BY MR. MATTEI:                                              18· · · · A· · They were in the advertising section of the
19· · · · Q· · Would you care to try to give me another          19· ·account.· So, it's broken down by account and so all of
20· ·specific example of an unwritten agreement that Free        20· ·our payments for advertising are in a specific account
21· ·Speech Systems entered?                                     21· ·and that was in that account.· So I asked about those.
22· · · · A· · No, I will rely on my testimony.                  22· · · · Q· · Prior to your involvement in this case, you had
23· · · · Q· · So, there are no others that you're aware of      23· ·no prior experience concerning estimates of radio
24· ·correct?                                                    24· ·audience; correct?
25· · · · A· · That's not what I said.· I just said I don't      25· · · · A· · No.

                                                   Page 754                                                         Page 756
·1· ·care to do any more.                                        ·1· · · · · · · · · MR. CERAME:· Objection.· And I -- this is
·2· · · · Q· · Then I will ask you.· Are there any others that   ·2· · · · · · ·not within the scope of my redirect I would
·3· ·you're aware of?                                            ·3· · · · · · ·note.
·4· · · · · · · · · MR. CERAME:· Objection.                      ·4· ·BY MR. MATTEI:
·5· ·BY THE WITNESS:                                             ·5· · · · Q· · The only information you have concerning radio
·6· · · · A· · I don't know.                                     ·6· ·audience size comes from your conversation with
·7· · · · Q· · You don't know whether you're aware of any        ·7· ·Mr. Jones; correct?
·8· ·others?                                                     ·8· · · · · · · · · MR. CERAME:· Objection.
·9· · · · A· · All I'm --                                        ·9· ·BY THE WITNESS:
10· · · · · · · · · MR. REILAND:· Objection.                     10· · · · A· · And whatever information we've discussed and
11· ·BY THE WITNESS:                                             11· ·read.
12· · · · A· · At this point, my testimony is that this is not   12· · · · Q· · You mean, during our deposition today?
13· ·a company that reduces --                                   13· · · · · · · · · MR. CERAME:· Objection.
14· · · · Q· · Ma'am, you don't get to testify without any       14· ·BY THE WITNESS:
15· ·questions.                                                  15· · · · A· · Not just during our deposition.· I mean, I did
16· · · · A· · You asked me a question and I'm --                16· ·read the transcripts of all of the videos.· So, I did
17· · · · · · · · · MR. REILAND:· She's answering your           17· ·read all of those transcripts.· So --
18· · · · · · ·question.· You made your point.                   18· · · · Q· · I guess it's fair to say you don't consider
19· ·BY THE WITNESS:                                             19· ·yourself qualified to discuss --
20· · · · A· · I've answered the question.                       20· · · · A· · Of course not.
21· · · · Q· · The question I'm asking, Ms. Paz, is do you       21· · · · Q· · -- what the industry standards are in
22· ·know whether there were any other unwritten agreements?     22· ·measuring --
23· · · · A· · And I answered it.                                23· · · · A· · Right.
24· · · · Q· · No.· What you said is I don't know.               24· · · · Q· · -- audience size?
25· · · · A· · And that was my answer.                           25· · · · A· · Right.· Of course not.· No.


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·1· · · · · · · · · MR. CERAME:· Objection.                      ·1· ·decades.
·2· · · · · · · · · MR. MATTEI:· That's all I have.              ·2· · · · A· · Mm-hm.
·3· · · · · · · · · MR. CERAME:· I do have some redirect based   ·3· · · · Q· · That's a yes?
·4· · · · · · ·on some of the questions that were asked.         ·4· · · · A· · Yes.
·5· ·EXAMINATION BY MR. CERAME:                                  ·5· · · · Q· · And you're not aware of any written agreements
·6· · · · Q· · Can you identify any employee with a written      ·6· ·between them prior to 2015?
·7· ·agreement between Free Speech Systems and the employee?     ·7· · · · A· · No.
·8· · · · A· · Currently?                                        ·8· · · · Q· · But you, as corporate representative, believe
·9· · · · Q· · Let's say before 2016.                            ·9· ·there is an agreement or have been business agreements
10· · · · A· · Before 2016, no.                                  10· ·between Genesis Communication Network and Free Speech
11· · · · Q· · So, do you know -- Same thing.· Before 2016,      11· ·Systems?
12· ·can you identify an advertiser with whom Free Speech        12· · · · · · · · · MR. MATTEI:· Objection.
13· ·Systems had a written agreement?                            13· ·BY THE WITNESS:
14· · · · A· · No, because I don't believe that they were        14· · · · A· · Well, I know they've been in business with each
15· ·reduced to writing.                                         15· ·other for a great number of years.· So, you would have to
16· · · · Q· · Okay.                                             16· ·have some form of an agreement.· But as I said, it's just
17· · · · · · ·Aside from -- Do you know about that 2016, 2017   17· ·not in writing.
18· ·memo between Free Speech Systems and Alex Jones and         18· · · · Q· · So, the exchange of services and monies doesn't
19· ·Genesis Communication Network?                              19· ·happen without an agreement as a matter of common sense;
20· · · · · · · · · MR. MATTEI:· Objection.                      20· ·right?
21· ·BY THE WITNESS:                                             21· · · · · · · · · MR. MATTEI:· Objection.
22· · · · A· · No.· I don't think I've seen such a memo.         22· ·BY THE WITNESS:
23· · · · Q· · So, aside from the possibility of such a memo     23· · · · A· · Exactly.
24· ·that may or may not exist, you don't know of any written    24· · · · Q· · Okay.
25· ·documents detailing a written agreement between Genesis     25· · · · · · · · · MR. CERAME:· I have no further question.

                                                   Page 758                                                         Page 760
·1· ·Communication Network and Free Speech Systems prior to      ·1· ·EXAMINATION BY MR. MATTEI:
·2· ·2016?                                                       ·2· · · · Q· · You testified in response to Attorney Cerame's
·3· · · · A· · Correct.                                          ·3· ·questions that you're not aware of any agreements with
·4· · · · Q· · And you would agree that Free Speech Systems      ·4· ·Free Speech Systems' employees prior to 2016?
·5· ·has been in business with advertisers?                      ·5· · · · · · · · · MR. CERAME:· Objection.
·6· · · · A· · Oh, yes.                                          ·6· ·BY THE WITNESS:
·7· · · · Q· · Okay.                                             ·7· · · · A· · Am I aware of any agreements?· Of whether
·8· · · · · · ·And you would agree that there is an agreement    ·8· ·written agreements existed?
·9· ·between Free Speech Systems and the advertisers?            ·9· · · · Q· · Between Free Speech Systems and its employees.
10· · · · · · · · · MR. MATTEI:· Objection.                      10· · · · A· · I don't think there were any written agreements
11· ·BY THE WITNESS:                                             11· ·between their employees prior to 2016.
12· · · · A· · There would have to be some agreement.            12· · · · Q· · Ms. Paz, weren't there non-disclosure
13· · · · Q· · So, let me make sure I understand this:· You      13· ·agreements entered as a regular course of hiring
14· ·don't know the -- you don't know the details of the         14· ·employees at Free Speech Systems?
15· ·agreement, but as you sit here as the representative for    15· · · · · · · · · MR. CERAME:· Objection.
16· ·Free Speech Systems, there is such an agreement you         16· ·BY THE WITNESS:
17· ·believe?                                                    17· · · · A· · Prior to 2016?
18· · · · · · · · · MR. MATTEI:· Objection.                      18· · · · Q· · Yeah.
19· ·BY THE WITNESS:                                             19· · · · A· · I don't know if it was prior to 2016.· I know
20· · · · A· · I would think there would have to be an           20· ·now it is.
21· ·agreement.· It's not in writing.                            21· · · · Q· · Okay, so Free Speech Systems is unaware whether
22· · · · Q· · Okay.                                             22· ·it required non-disclosure agreements to be entered by
23· · · · · · ·And similarly, between Free Speech Systems and    23· ·new hires prior to 2016?
24· ·Genesis Communication Network.· Previously, we discussed    24· · · · A· · Prior to 2016, no, I don't know.
25· ·how they had been working together for at least two         25· · · · · · · · · MR. CERAME:· Objection.


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·1· ·BY THE WITNESS:                                             ·1· · · · · · · ·I, BRITTANY PAZ, have read the foregoing

·2· · · · A· · But now I know it is.                             ·2· ·transcript of the testimony given at my deposition on

·3· · · · Q· · Okay.                                             ·3· ·June 27, 2022, and it is true and accurate to the best of

·4· · · · · · · · · MR. MATTEI:· That's all I got.               ·4· ·my knowledge and belief as originally transcribed and/or

·5· · · · · · · · · MR. CERAME:· I have no questions in          ·5· ·with the changes as noted on the attached Correction

·6· · · · · · ·response.· I suppose I should ask whether         ·6· ·Sheet.

·7· · · · · · ·counsel does have any.                            ·7

·8· · · · · · · · · MR. REILAND:· I have no questions.           ·8

·9· · · · · · · · · MR. MATTEI:· All right.· So, the             ·9· · · · · · · · · _________________________________________

10· · · · · · ·deposition is being kept open pending             10· · · · · · · · · · · · ·BRITTANY PAZ

11· · · · · · ·production of documents that were described       11

12· · · · · · ·here today.· And we'll see if we have to come     12· · · · · · · · · Subscribed and sworn to before me this

13· · · · · · ·back.                                             13· ·this ___________ day of _____________________, 2022.

14· · · · · · · · · MR. CERAME:· I would just ask that any --    14

15· · · · · · ·because those documents have nothing to do with   15· · · · · · · · · _________________________________________

16· · · · · · ·the subject matter of my cross, I would ask       16· · · · · · · · · · · · · · Notary Public

17· · · · · · ·that that be not be the subject -- that it's      17· ·My Commission Expires October 31, 2025.

18· · · · · · ·closed as to that subject of the issues that we   18

19· · · · · · ·raised during my cross.· Except being inasmuch    19

20· · · · · · ·as I suppose the documents might reveal           20

21· · · · · · ·something relevant.                               21

22· · · · · · · · · MR. MATTEI:· I'm not going to --             22

23· · · · · · · · · MR. CERAME:· I'm not going to enter into     23

24· · · · · · ·an agreement as to that.· I'm going to note       24

25· · · · · · ·that then for the record.                         25



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·1· · · · · · · · · MR. MATTEI:· Thank you.· Thank you           ·1· · · · · · · · · · · · · · ·INDEX

·2· · · · · · ·everybody.                                        ·2
                                                                 ·3· · · · · · · · · · · · · EXAMINATION
·3· · · · · · · · · THE VIDEOGRAPHER:· We are off the record
                                                                 ·4· ·Witness Name· · · · · · · · · · · · · · · · · Page· Line
·4· · · · · · ·at 4:19 and this concludes today's deposition
                                                                 ·5· ·BRITTANY PAZ
·5· · · · · · ·given by Brittany Paz.
                                                                 ·6· · · Examination By Mr. Mattei· · · · · · · · · 554· ·6
·6· · · · · · · · · · · · (Whereby, the deposition concluded
                                                                 ·7· · · Examination By Mr. Cerame· · · · · · · · · 714· ·6
·7· · · · · · · · ·at 4:19 p.m.)
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12                                                               13
13                                                               14· · · · · · · · · · ·PLAINTIFF'S EXHIBITS
14                                                               · · · ·(Exhibits 118-125 were pre-marked for this deposition)
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20                                                               20· ·130*· · · · Audio file· · · · · · · · · · · · 739· ·4
21                                                               21
22                                                               22

23                                                               23· · · (*Exhibits 129-130 were retained by Counsel)

24                                                               24

25                                                               25




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·1· · · · · · · · · · ·EXHIBITS REFERRED TO                      ·1· · · · · · · · · ·CORRECTION TO DEPOSITION
                                                                 ·2· ·ERICA LAFFERTY, et al. v. ALEX EMRIC JONES, et al.
·2· ·Exhibit· · · · · · · · · · · · · · · · · · · · · · ·Page    ·3· ·WILLIAM SHERLACH v. ALEX EMRIC JONES, et al.
                                                                 ·4· ·WILLIAM SHERLACH, et al. v. ALEX EMRIC JONES, et al.
·3· ·117, 118 .......................................... 566     ·5· ·BRITTANY PAZ· · · · ·June 27, 2022
                                                                 ·6· ·In order to make this deposition more nearly conform to
·4· ·106 ............................................... 580
                                                                 · · ·the testimony given, the witness wishes to make the
·5· ·117 ............................................... 608     ·7· ·following changes:
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22· ·# 4 ............................................... 735     · · ·____· ____ ___________________ __________________
                                                                 23· ·Subscribed and sworn to before me:
23                                                               · · ·Dated this _____ day of ______________, 20___.
                                                                 24· ·________________________· ______________________
24                                                               · · · · · (Notary Public)· · · ·Deponent (signature)
                                                                 25· ·My Commission Expires:
25                                                               26
                                                                 27


                                                   Page 766
·1· · · · · · · · · · · · · CERTIFICATE
·2
· · ·STATE OF CONNECTICUT· )
·3· · · · · · · · · · · · ·)· · SS· ·SOUTHBURY
· · ·COUNTY OF NEW HAVEN· ·)
·4
·5
· · · · · · · ·I, VIKTORIA V. STOCKMAL, a Notary Public duly
·6· ·commissioned and qualified in and for the county of
· · ·Fairfield, State of Connecticut, do hereby certify that
·7· ·pursuant to the notice of deposition, the said witness
· · ·came before me at the aforementioned time and place and
·8· ·was duly sworn by me to testify to the truth and nothing
· · ·but the truth of his/her knowledge touching and
·9· ·concerning the matters in controversy in this cause; and
· · ·his/her testimony reduced to writing under my
10· ·supervision; and that the deposition is a true record of
· · ·the testimony given by the witness.
11
· · · · · · · ·I further certify that I am neither attorney of
12· ·nor counsel for, nor related to or employed by any of the
· · ·parties to the action in which this deposition is taken,
13· ·and further that I am not a relative or employee of any
· · ·attorney or counsel employed by the parties thereto, or
14· ·financially interested in the action.
15· · · · · · ·IN WITNESS WHEREOF, I have hereunto set my hand
· · ·and affixed my notarial seal this 18th day of July, 2022.
16
17
18
· · · · · · ______________________________________
19· · · · · · · VIKTORIA V. STOCKMAL, RMR, CRR
· · · · · · · · · · · · ·Notary Public
20· · · · · · · · · · CSR License #00251
21· ·My commission expires October 31, 2025
22
23
24
25



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